        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 1 of 221



                  IN THE UNITED STATES DISTRICT COURT FOR THE
                             DISTRICT OF COLUMBIA

DR. STEPHANIE WAGGEL,                                )
                                                     )
               Plaintiff,                            )
                                                     )   Civil Action No.: 1:16-cv-01412-CKK
       v.                                            )   Hon. Colleen Kollar-Kotelly
                                                     )
GEORGE WASHINGTON UNIVERSITY,                        )
                                                     )
               Defendant.                            )

                  DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Defendant George Washington University, by undersigned counsel, pursuant to Fed. R.

Civ. P. 56 and LCvr 7(h), hereby moves this Court for summary judgment as to all claims herein

brought by Plaintiff under the Americans with Disabilities Act, as amended, 42 U.S.C. § 12101

et seq., the Family and Medical Leave Act, 28 U.S.C. § 2601 et seq., the D.C. Human Rights

Act, D.C. Code § 32-501 et seq., and the D.C. Family and Medical Leave Act, D.C. Code § 2-

1401.01 et seq.

       This case essentially involves an allegedly wrongful dismissal from an academic

education training program because the dismissal allegedly was based on a discriminatory

animus forbidden by the statutes Plaintiff invokes. The record, however, shows that Plaintiff’s

performance during her tenure in Defendant’s Psychiatry Residency Training Program was

marked by many instances of substandard and unacceptable performance, including but not

limited to failures of essential didactic courses, multiple instances of unprofessional behavior

(including lying repeatedly to faculty members), failure to show up for clinical duties, frequent

instances of abuse and disrespect directed toward professional colleagues, failure to obtain health

clearance certification required by District of Columbia law, issuance of four Letters of

Deficiency with plans of remediation which Plaintiff failed to address appropriately, issuance of
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 2 of 221



a Notice of Unprofessional Conduct, and a refusal to accept at any time that her substandard

performance required remediation and extension of time in the training program to acquire

medical knowledge essential to the field of psychiatry and to complete clinical training time

required by the national accrediting agency to achieve competency in clinical practice. The

record is filled with many other instances of Plaintiff’s deficiencies, her refusal to acknowledge

them, and thus her failure to remediate them.

       Further, Plaintiff was explicitly directed to the University’s EEO Office on multiple

occasions to pursue any request she might have for a claim of disability or for an accommodation

for any disability, but Plaintiff never pursued the procedure the GW University offered all

residents and other employees for obtaining any reasonable accommodation they might need.

       Based on the entire record, there is no genuine dispute as to any material fact and

Defendant is entitled to summary judgment.

       For further grounds in support of this motion, Defendant respectfully refers the Court to

the attached Statement of Material Facts as to Which There Is No Genuine Issue and

Memorandum of Points and Authorities.

Dated: January 2, 2018                              Respectfully submitted,

                                                    JACKSON & CAMPBELL, P.C.

                                                    _/s/ Nicholas S. McConnell
                                                    Nicholas S. McConnell (# 167742)
                                                    Jackson & Campbell, P.C.
                                                            th
                                                    1120 20 Street, N.W., Suite 300 South
                                                    Washington, D.C. 20036
                                                    (T) (202) 457-1600
                                                    (F) (202) 457-1678
                                                    nmcconnell@jackscamp.com
                                                    Counsel for Defendant




                                                2
     Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 3 of 221



            IN THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF COLUMBIA

DR. STEPHANIE WAGGEL,                  )
                                       )
          Plaintiff,                   )
                                       )   Civil Action No.: 1:16-cv-01412-CKK
     v.                                )   Hon. Colleen Kollar-Kotelly
                                       )
THE GEORGE WASHINGTON UNIVERSITY,      )
                                       )
          Defendant.                   )

           DEFENDANT GEORGE WASHINGTON UNIVERSITY’S
            MEMORANDUM OF POINTS AND AUTHORITIES IN
            SUPPORT OF MOTION FOR SUMMARY JUDGMENT




                                       Respectfully submitted,

                                       JACKSON & CAMPBELL, P.C.

                                       _/s/   Nicholas S. McConnell
                                       Nicholas S. McConnell (# 167742)
                                       Jackson & Campbell, P.C.
                                               th
                                       1120 20 Street, N.W., Suite 300 South
                                       Washington, D.C. 20036
                                       (T) (202) 457-1600
                                       (F) (202) 457-1678
                                       nmcconnell@jackscamp.com

                                       Counsel for Defendant
          Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 4 of 221



                                            TABLE OF AUTHORITIES


Cases 

*Alden v. Georgetown Univ., 734 A.2d 1103 (D.C. 1999) ........................................... 2, 27, 30, 31

Anderson v. Liberty Lobby, Inc., 477 U.S. 242 (1986) ................................................................. 26

Bain v. Howard University, 968 F.Supp.2d 294 (D.D.C. 2013) ................................................... 27

Board of Curators of the Univ. of Mo. v. Horowitz, 435 U.S. 78 (1978) ..................................... 27

Brown v. Brody, 199 F.3d 446 (D.C. Cir. 1999) ........................................................................... 30

Burke v. Emory Univ., 177 Ga.App. 30, 338 Se.E.2d 500 (1985) .................................................. 2

Celotex Corp. v. Catrett, 477 U.S. 317 (1986) ............................................................................. 26

*Chenari v. George Washington University, 847 F.3d 740 (D.C. Cir. 2017) .......................... 3, 30

Clements v. Nassau Cnty., 835 F.2d 1000 (2nd Cir. 1987) ............................................................ 27

Davis v. Mann, 882 F.2d 967 (5th Cir. 1989) .................................................................................. 2

*Hajjar-Nejad v. George Washington University, 37 F. Supp.3d 90 (D.D.C. 2014) ............... 2, 27

Kraft v. William Alanson White Psychiatric Foundation, 498 A.2d 1145 (D.C. 1985) ................. 3

Nichols v. Billington, 402 F. Supp.2d 48 (D.D.C. 2005) ............................................................ 31

*Paulin v. George Washington Univ. School of Medicine & Health Sciences,
   878 F. Supp.2d 241 (D.D.C. 2012) ........................................................................................... 2

Rossomando v. Board of Regents of University of Nebraska,
   2 F. Supp.2d 1223 (D. Neb. 1998) .......................................................................................... 30

Steele v. Schafer, 535 F.3d 689 (D.C. Cir 2008) .......................................................................... 31

Walker v. Children’s National Medical Center, 236 F. Supp.2d 136 (D.D.C. 2017)................... 31



                                                               2
            Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 5 of 221



Statutes

Americans with Disabilities Act, as amended, 42 U.S.C. § 12101................................................. 1

D.C. Family and Medical Leave Act, D.C. Code § 2-1401.01 ....................................................... 1

D.C. Human Rights Act, D.C. Code § 32-501................................................................................ 1

Family and Medical Leave Act, 28 U.S.C. § 2601 ......................................................................... 1


Rules

Fed. R. Civ. P. 56 ...................................................................................................................... 1, 26




                                                                      3
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 6 of 221



                IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF COLUMBIA

DR. STEPHANIE WAGGEL,                              )
                                                   )
              Plaintiff,                           )
                                                   )   Civil Action No.: 1:16-cv-01412-CKK
       v.                                          )   Hon. Colleen Kollar-Kotelly
                                                   )
GEORGE WASHINGTON UNIVERSITY,                      )
                                                   )
              Defendant.                           )

                DEFENDANT GEORGE WASHINGTON UNIVERSITY’S
                 MEMORANDUM OF POINTS AND AUTHORITIES IN
                 SUPPORT OF MOTION FOR SUMMARY JUDGMENT

       Pursuant to Fed. R. Civ. P. 56, Defendant George Washington University (the

“University”) hereby submits this Memorandum of Points and Authorities in support of its

motion for summary judgment.

I.     INTRODUCTION AND SUMMARY OF ARGUMENT

       Plaintiff Dr. Stephanie Waggel brings this suit alleging that her dismissal from the

University’s Psychiatry Residency Training Program (the “Program”) violated the Americans

with Disabilities Act, as amended, 42 U.S.C. § 12101 et seq., the Family and Medical Leave Act,

28 U.S.C. § 2601 et seq., the D.C. Human Rights Act, D.C. Code § 32-501 et seq., and the D.C.

Family and Medical Leave Act, D.C. Code § 2-1401.01 et seq.

       This case essentially involves an allegedly wrongful dismissal from an academic

education training program because the dismissal allegedly was based on a discriminatory

animus forbidden by the statutes Plaintiff invokes. The record, however, shows that Plaintiff’s

performance during her tenure in Defendant’s Psychiatry Residency Training Program was

marked by many instances of substandard and unacceptable performance, including but not

limited to failure of essential didactic courses, multiple instances of unprofessional behavior
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 7 of 221



(including lying repeatedly to faculty members), failure to show up for clinical duties, frequent

instances of abuse and disrespect directed toward professional colleagues, failure to obtain health

clearance certification required by District of Columbia law, issuance of four Letters of

Deficiency with plans of remediation which Plaintiff failed to address appropriately, issuance of

a Notice of Unprofessional Conduct, and a refusal to accept at any time that her substandard

performance required remediation and extension of time in the training program to acquire

medical knowledge essential to the field of psychiatry and to complete clinical training time

required by the national accrediting agency to achieve competency in clinical practice. The

record is filled with many other instances of Plaintiff’s deficiencies, her refusal to acknowledge

them, and her failure to remediate them.

       None of these instances of Plaintiff’s substandard performance and unprofessional

behavior was caused by Plaintiff’s alleged disability or any alleged failure to accommodate for

the disability, and they amply justified the decision to dismiss Plaintiff from the Program.

       Under well established case law, decisions involving academic dismissal merit summary

judgment “[u]nless the plaintiff can provide some evidence from which a fact finder could

conclude that there was no rational basis for the decision or that it was motivated by bad faith or

ill will unrelated to academic performance.” Hajjar-Nejad v. George Washington University, 37

F. Supp.3d 90, 116 (D.D.C. 2014), citing Paulin v. George Washington Univ. School of Medicine

& Health Sciences, 878 F. Supp.2d 241, 247 (D.D.C. 2012) (quoting Alden v. Georgetown Univ.,

734 A.2d 1103, 1109 (D.C. 1999). This rule of judicial non-intervention is “particularly

appropriate in the health care field” where students who receive a medical credential will provide

care to the public. Burke v. Emory Univ., 177 Ga. App. 30, 338 S.E.2d 500 (1985), including

post-medical school residency training programs, Davis v. Mann, 882 F.2d 967 (5th Cir. 1989), or



                                                 2
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 8 of 221



other advanced medical training. Kraft v. William Alanson White Psychiatric Foundation, 498

A.2d 1145 (D.C. 1985).

       Further, Plaintiff was explicitly directed to the University’s EEO Office on multiple

occasions to pursue any request she might have for a claim of disability or for an accommodation

for any disability. Plaintiff never went to the EEO Office to pursue the procedure the University

offered to all of its residents and other employees to present a claim of disability and a request

for any reasonable accommodation they might need. The statutes relied upon by Plaintiff

required nothing more. Chenari v. George Washington University, 847 F.3d 740 (D.C. Cir.

2017). In the course of her residency training, Plaintiff did request leave time of Program

personnel to attend medical appointments, take vacations, or other personal leave as all residents

must do so the Program can coordinate coverage for residents to be available for important

ongoing clinical care in hospitals and other sites where their presence is essential to delivery of

care. All of Plaintiff’s requests for this leave were granted. None of those requests was a

substitute for presenting any claim of disability or need for disability accommodation to the

University’s EEO Office.

       On this record and the applicable law, Defendant is entitled to summary judgment.

II.    FACTUAL BACKGROUND

       A.      The University’s Psychiatry Residency Training Program

       Residency training is the process by which medical school graduates are transformed to

the level of being able to practice a medical specialty safely and effectively across generally

encountered health care settings. (Defendant’s Statement of Material Facts as to Which There Is

No Genuine Dispute [“SOF”] ¶ 3). The University’s Program is conducted under the auspices of

the Accreditation Council for Graduate Medical Education (“ACGME”) (SOF ¶ 5), and is a four-



                                                3
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 9 of 221



year program (SOF ¶ 8)1 with approximately 26 – 28 trainees (SOF ¶ 9). The University receives

payment from Medicare for some of the administrative components and other indirect costs of

conducting residency training as part of a national commitment to assure a supply of

appropriately trained physician specialists. (SOF ¶¶ 4, 15.) The University’s payment for resident

training is fixed by formulas such that an extension of a resident’s time in a training program

results in the cost of the additional training time being absorbed by the University. (SOF ¶ 4.)

Medicare also pays residents a salary, generally about $50,000 per year, as part of the

commitment to physician specialty training. (SOF ¶ 15.)

       Each residency program is required to have a Program Director whose duties are to

administer and maintain an educational environment conducive to educating the residents in each

of 22 ACGME designated competency and subcompetency areas such as Patient Care, Medical

Knowledge, Interpersonal and Communications Skills, Professionalism, and Systems-Based

Practice. (SOF ¶¶ 16-17.) Lisa A. Catapano, M.D., served as the Program Director during Dr.

Waggel’s tenure in the Program and had completed a two-year training program specifically for

that purpose. (SOF ¶ 17 and Exhibit A, Catapano Decl. ¶¶ 2 -3, 5.) Other key personnel in the

administration of the Program include the Program Administrator (responsible for general

administrative duties and coordination of communications within the Program) (SOF ¶ 18) and

the Chief Residents (who are residents who have shown particular aptitude and leadership skills

and are appointed by the Program Director to take a lead role in reviewing resident performance

and evaluation, serving as a liaison between the residents and faculty, developing on-call

schedules for clinical training assignments, teaching more junior residents, and serving as a

1
  The first year of residency training is denominated as the Intern Year or PGY1 with trainees
thereafter designated as second-year (PGY2), third-year (PGY3), and fourth-year (PGY4) (SOF
¶ 23), although the documents also variously refer to these as PGY-I, PGY-II, PGY-III, and
PGY-IV.
                                                4
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 10 of 221



sounding board when a resident raises a concern about the program or his or her own

performance). (SOF ¶¶ 24 – 27.)

       The Program Director conducted weekly meetings with the administrative team,

including the Associate Program Director, the Program Administrator, and the Chief Residents to

review all aspects of the Program including a review of the residents and any problems or issues

that needed to be addressed. (SOF ¶ 21.)

       The Program Director is also responsible to appoint a Clinical Competency Committee

(the “CCC”) consisting of no fewer than three Program faculty members which is responsible for

conducting and preparing Milestones evaluations (measurements of each resident’s progress in

training in the ACGME psychiatry competencies and subcompetencies for all residents at least

semi-annually and reporting the evaluations to ACGME. (SOF ¶¶ 16, 20.) The CCC also advises

the Program Director on decisions regarding resident progress, including promotion,

remediation, and dismissal. (SOF ¶ 20.)

        The University’s Office of Graduate Medical Education, headed by the Dean of

Graduate Medical Education, Dr. Jeffrey Berger, conducts most of the institutional

administrative responsibility for the Program but is not responsible for day-to-day management

and operation of each residency program or for creating individual training plans and/or

curriculum for each residency program. (SOF ¶¶ 10, 12, 14). The GME Office assists residents in

navigating administrative procedures and meeting their responsibilities within their programs.

(SOF ¶ 13.)

       The Chair of the Department of Psychiatry, Dr. James L. Griffith, had ultimate

responsibility for the clinical activities of the Department, the quality of clinical practice by the

Department, and especially matters related to patient safety. (SOF ¶ 22.) As Chair, Dr. Griffith



                                                 5
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 11 of 221



had a responsibility to promote clinical excellence and training pursuant to which he meets every

week with the Program Director to review the status of the Program. (SOF ¶¶ 22 and Exh. N,

Griffith Decl., ¶¶ 4, 11.)

        ACGME sets the standards which must be met both by the training program and by each

resident within the program in order for each resident to be recognized as trained and qualified to

practice in the particular medical specialty and thus become eligible for Board certification.

(SOF ¶¶ 7-8.) The standards include both didactic and clinical training. (SOF ¶ 8.) Residents

must spend a stated minimum number of actual clinical days on rotations in specific medical

specialty services, although Program Directors have some minimal leeway to grant waivers from

the minimum training time standards for residents who have shown exceptional ability. (SOF ¶

28.)

        ACGME also requires each resident to attend a minimum of 70 percent of regularly

scheduled didactic sessions, but the standard of the GW Program for resident attendance in

didactics classes is even higher. (SOF ¶ 29.) The Program sets aside one full day each week for

didactics which all PGY2 – PGY4 residents must attend – more time than most psychiatry

residency programs – and appointments scheduled as vacation or sick time off during didactics

require the same process of notification to faculty as is required for clinical duties. (SOF ¶ 30-

31.) The Program Director reminds residents of this requirement and notes that residents must

participate in at least 70% of all didactics or they can be required to repeat the seminar which

could delay graduation. (SOF ¶ 33.)

        The Clinical Neurosciences Seminar taught by Department Chair Dr. Griffith is the

centerpiece around which the rest of the Program’s curriculum is organized, and mastery of the

material is necessary to be able to learn the material in subsequent courses and seminars in the



                                                6
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 12 of 221



Program. (SOF ¶ 34.) The course is taught over the entire PGY2 academic year (July 1 – June

30) in six segments, each ending with an exam to assess mastery of the material in the segment

before students move onto the next segment. (SOF ¶ 35.) The seminar has three components,

each consisting of a series of lectures (Cognitive and Social Neuroscience – a basic

understanding of the structure and physiology of the human nervous system required to

understand the psychopathology of psychiatric disorders and their treatments; Neurobiology of

Major Psychiatric Disorders – current research on the neurobiology of psychotic, mood, and

anxiety disorders as major psychiatric illnesses, and Psychopharmacology for Major Psychiatric

Disorders – residents study clinical psychopharmacology for psychotic, mood, and anxiety

disorders). The approximately 35 lectures span all the major psychiatric illnesses and their

treatment and each has a detailed handout with learning objectives. (SOF ¶ 38.) The course is the

most comprehensive and intensive component of the PGY-II residency year. (SOF ¶ 39.)

Verification of adequate mastery of medical knowledge lends itself to testing by written

examinations, and as such, Dr. Griffith has given regular written examinations in the course for

the past 23 years. (SOF ¶ 314.) Residents who fail to demonstrate mastery of the information on

exams are required to repeat the seminar. (SOF ¶¶ 667 – 670.)

       B.     The Resident Physician Agreement, Resident Manual and University and
              Program Policies

       Each resident signs a Resident Physician Agreement (“Resident Agreement”) regarding

his or her appointment for training. (SOF ¶ 41.) The Resident Agreement incorporates the

policies, terms, and conditions of the Resident Manual into the agreement with which the

resident further agrees to abide. (SOF ¶ 44.) The Resident Agreement and the Resident Manual

set forth in detail the physician’s obligations (SOF ¶¶ 51 – 93.) The Resident Manual includes




                                               7
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 13 of 221



the policy as to persons with a disability per the GW Office of Equal Employment Opportunity

(the “EEO Office”) as follows:

              Residents Requesting an Accommodation
              The George Washington University’s commitment to equal employment
              opportunity and affirmative action includes a commitment to provide
              reasonable accommodations for residents’ religious obligations and for
              residents who are qualified individuals with disabilities pursuant to the
              Americans with Disabilities Act. Should a resident need an
              accommodation, he or she should contact the Office of Equal Employment
              Opportunity at (202) 994-9656 or fax (202) 994-9658. All requests for
              accommodations are kept in confidence to the extent feasible by law and
              practice.

       Among the policies is the University Policy on Equal Opportunity which specifically

notes that “[T]o request disability accommodations, students should contact the Office of

Disability . . . . Employees and other members of the university community should contact the

Office of Equal Employment Opportunity and Affirmative Action at (202) 994-9656 or

eeo@gwu.edu.” (SOF ¶¶ 59-60.)

       The major function of the EEO Office is the handling of all requests for reasonable

accommodation under the Americans with Disabilities Act for all University employees and

faculty. (SOF ¶ 64.) There are three ways that a GW employee can request an accommodation:

(1) Directly apply through the GW EEO website, (2) referral from the Human Resources Office

of the employee’s department, or (3) referral from the University’s Benefits Administration

department in the event that the employee is ineligible for or has exhausted FMLA leave. The

directions for requesting an accommodation under the ADA are located on the EEO Office

homepage. The EEO Office homepage is easily accessible from the GW Faculty and Staff

homepage. (SOF ¶ 63.) Once an employee has applied for an accommodation directly or has

been referred through one of the Human Resources department, the EEO Office handles the

processing and granting of that request. The employee’s supervisors, managers, and/or

                                              8
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 14 of 221



departmental Human Resources directors are not responsible for the decision to grant or deny

requested accommodations. Once the EEO Office has determined that an employee has a

qualifying disability requiring accommodation, the Office works with the employee’s department

to facilitate whatever accommodation has been requested. (SOF ¶ 65.)

       The policies also include a Code of Conduct in the Learning Environment (the “Code”)

which sets forth norms to serve as guidelines for conduct in the GW community, the first three of

which are: Honesty, Promise-Keeping, and Respect for Institution, Profession, and Patients.

(SOF ¶ 85). The Appendix to the Code lists examples of “inappropriate” behavior as follows:

                     Making belittling or berating statements
                     Name calling
                     Using profanity or disrespectful language
                     Making degrading or demeaning comments regarding patients and
              their families, hospital personnel, other health professionals, other health
              professions and discipline specialties and/or the hospital
                     Making threats of retribution
                     Failing to return phone call, pages, or other messages
                     Being unavailable while on call or on duty without arranging for
              appropriate coverage
                     Being under the influence of alcohol or drugs or being otherwise
              unfit for participation in inpatient/client care, at work, or on call.
(SOF ¶ 86.)

       C.     Dr. Waggel’s Tenure in the Program

       1.     Dr. Waggel entered training in the GW Psychiatry Residency training program on

July 1, 2014. (SOF ¶ 94.) Despite having been informed of the requirement to obtain a medical

clearance before beginning clinical duties on that day, Dr. Waggel failed to obtain the necessary

clearance, and, as a result, was removed from clinical duty on July 3 and could not return to

clinical training until sometime after July 9, when she submitted TB test results to complete the

processing of her medical clearance. (SOF ¶¶ 95 -97.) Issues with sub-standard performance by



                                               9
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 15 of 221



Dr. Waggel surfaced when she returned to her first rotation as set forth in a report to Department

faculty member, Dr. Lorenzo Norris, by Chief Resident, Stephanie H. Cho, M.D., as follows:

               o Major lack of awareness of level of own abilities
               o Significant resistance to feedback and shows little improvement
                 following constructive criticism
               o Significant deficits in Patient care:
               o Fails to recognize severity of threat to patient safety with specific
                 errors
                  Pt was to be given >50 units Lantus due to out of control blood
                     sugars, but home oral diabetic medications had not been ordered
                     (as had been communicated and written in signout)
                  Fails to complete orders/documentation prior to leaving work and
                     does not ensure that it will be done by someone else
               o Does not foster productive collaboration in team environment
               o Demonstrates frequent unprofessional behaviors:
               o Cites specific residents as more enjoyable to work with compared to
                 other specific residents
               o Does not take responsibility for errors/near misses that are significant
                 safety patient issues
               o When asked to help or to complete some patient care task (ie,
                 prescriptions for a planned discharge) expresses open displeasure
               o Is openly disrespectful to other team members
                  Told staff to “think really hard” and “really try to not ask stupid
                     questions” (I told Shemika [Anthony, a Physician Assistant] I
                     would let you know about this. Though Shemika thought it was
                     funny, I think it is completely inappropriate even in jest.)

(SOF ¶ 98) (original emphasis).

       In clear violation of Program policy, Dr. Waggel failed to report for duty on Monday

December 15, 2014, and failed to notify the attending physician. (SOF ¶ 99.)

       The problems identified by Dr. Cho during Dr. Waggel’s first rotation in July 2014

continued. Exh. A (Catapano Dec), ¶ 101.

       Dr. Waggel’s attending physician for her rotation in November – December at INOVA

Fairfax Hospital, Aditi Malik, M.D., contacted Chief Resident Elizabeth L. Greene, M.D., to

share the following concerns about Dr. Waggel’s performance on the rotation:




                                               10
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 16 of 221



               o       [Dr. Waggel] shows a lack of motivation, initiative, and interest in
               the care of her patients.
               o       She has been seen using her phone during meetings or
               conversations with patients and staff.
               o       She has been caught rolling her eyes during meetings or
               conversations with patients and staff.
               o       She comes to work wearing provocative clothing, such as tight
               pants. This has made staff uncomfortable to the point that they have had to
               ask you [Dr. Malik] to talk to Dr. Waggle about it.
               o       She sits in the resident room and doesn’t check in with you for
               rounds or meetings. There is a lack of communication from Stephanie, so
               that you’ve felt the need to track her down to see what she’s doing.
               o       She shows up late daily.
               o       She leaves a note at the nurses’ station with patient assignments, as
               if she were the attending.
               o       She walks out of meetings without permission.

(SOF ¶ 101.) Dr. Malik noted that another attending, Dr. [Cynthia L.] Gauss, was “having the

exact same issues with [Dr. Waggel] at this time” and stated further that “[Dr. Waggel’s]

outpatient supervisor Dr. [Cynthia G.] Cohen has also expressed concern to Dr. Gauss.” (SOF ¶

102.)

        On Tuesday, March 3, 2015, Gary L. Little, M.D., Medical Director, George Washington

University Hospital, emailed to James M. Gehring, M.D., Internal Medicine supervising

attending for the Green Team, raising concerns about patient care and safety issues on the March

2 night shift including, among others, coordination between the Green Team and the ER, failure

to carry out clinically significant orders, and inappropriate and unprofessional communication.

(SOF ¶ 108.) Dr. Little specifically noted: “Staphanie [sic] Waggel, MD placed an order for PO

Tylenol which clearly would not help a patient who needed a Dilaudid PCA. Multiple return

phone calls were unanswered.” (SOF ¶ 109.) Dr. Little’s email further noted several complaints

including one which involved Dr. Waggel “giving nurses information on the phone that clearly

wasn’t true (‘medicine doesn’t come to the ED’)” and others involving her “being disrespectful,

lack of responsiveness, etc.” (SOF ¶ 110.)

                                                11
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 17 of 221



       Dr. Gehring asked Jason M. Prior, M.D., another IM attending who was on duty during

the night shift on March 2 to help look into the matter and Dr. Prior subsequently reported to Dr.

Little and to Dr. Gehring as follows:

                   A couple of things were likely coming into play. First, the team was
                   getting absolutely crushed and at one point was up to 30 patients while
                   discharging another 6. Obviously that doesn’t excuse any lack of
                   response from anyone on the team but they were definitely just trying
                   to stay afloat with a lot of sick people.

                   A larger part of the issue likely had to do with a brand new psychiatry
                   intern (Dr. Waggel noted below) who’s first day on medicine was
                   Monday. It became quickly apparent that she was not at the level one
                   would anticipate of an intern in March and I already pulled the
                   residents aside on Tuesday and asked them to essentially treat her as
                   an A1. She has a very odd affect, I’ve already had to diffuse some
                   patient complaints and her medical knowledge is pretty poor. With
                   time and education she may get there but for right now I’ll also ask the
                   residents to not let her have sole control of the RF phone either. I think
                   beyond her lack of knowledge, she just doesn’t know the details of
                   medicine. The combination of it being her first day, extremely busy
                   and a bit odd with all of her interactions with people probably didn’t
                   help.

(SOF ¶ 111.)

       Dr. Prior’s efforts at improving Dr. Waggel’s performance, however, were unsuccessful.

On Friday, March 6, 2015, the end of Dr. Waggel’s first week on the Internal Medicine rotation,

Dr. Prior sent an email report to Jillian S. Catalanotti, M.D., Program Director for the Internal

Medicine Residency Training Program, and others, to say:

                   I’m writing to everyone because the current situation on green team
                   cannot safely continue, in my opinion. The current construct of the
                   team started Monday 3/2. Since that time, I’ve fielded complaints from
                   patients, nursing, consulting services, the ED and received an email
                   from Gary Little regarding issues with the team. I know many of you
                   have already received some of these complaints as well. I’ve spoke
                   [sic] to the residents and the primary offending intern in question all
                   week but last night was the last straw. It’s gone beyond personal
                   interactions and a lack of knowledge and affected patient safety.
                   Fortunately, nothing happened, but I wanted to alert everyone to the

                                                12
          Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 18 of 221



                    issues, outline some performance plans I’ve put in place on the team as
                    well as strategize how to possibly move forward.

          Dr. Prior’s email (nearly three pages of single-space text) recounted a series of events

involving Dr. Waggel documenting in detail serious deficiencies in professionalism, interactions

with nursing and consulting services, medical knowledge, and patient safety. (SOF ¶113.) On

the first day of the rotation, Dr. Prior fielded complaints from nursing and patients regarding Dr.

Waggel’s interactions with them and “patients were upset stating she didn’t know what she was

talking about.” (SOF ¶ 114.) On the second day, it became apparent that Dr. Waggel “had a hard

time evaluating patients, presenting, knowing what medications did, etc. She didn’t know the

basics of medicine.” (SOF ¶ 115.) On the third day, Dr. Prior received the aforementioned email

from Dr. Little. (SOF ¶ 116.). The next day was initially uneventful, but at 5:00 p.m., several

incidents occurred involving potentially disastrous outcomes for patients as to which it was clear

Dr. Waggle was totally ignorant as to the medical issues. (SOF ¶ 117.)

          On Friday night, Associate Program Director, Dr. Eindra Khin Khin, spoke with Dr.

Waggel regarding the concerns on the Medicine Team and reported that “[I]nterestingly enough,

[Dr. Waggel] had no idea there were concerns.” (SOF ¶¶ 121-122.) Dr. Khin Khin summarized

Dr. Waggel’s comments as follows:

                    1) The residents on the team have “gone out of their way” to tell her
                       that she has been doing a great job.
                    2) From the conversation with the attending, Dr. Prior, the main point
                       she took was that he told her she could ask for help whenever she
                       needs it from the team and himself.

          (SOF ¶ 123.) Dr. Khin Khin further reported that when she told Dr. Waggel the concerns

that the attending (Dr. Prior) had laid out briefly, “[Dr. Waggel] was completely in shock.” (SOF

¶ 124.)




                                                 13
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 19 of 221



       The next attending to work with Dr. Waggel, Nupur Mehta, M.D., reported some

improvement in Dr. Waggel’s performance, but noted that he continued “to be worried about her

ability to function autonomously, especially with complicated medical patients.” (SOF ¶ 135.)

Dr. Mehta also stated there were matters of “ongoing concern” that he intended to address

directly with Dr. Waggel, including:

                  1) she makes questionable decisions (choice of antibiotics, route)
                  2) her documentation is spotty and often inaccurate (e.g., carrying
                     over previous plans from many days ago
                  3) she lacks attention to detail (does not order follow-up tests/labs
                     when instructed)
                  4) she is at times very defensive and passive-aggressive. While the
                     latter is understandable as I feel she is trying hard and wants to
                     improve, she can respond to feedback in a more mature way.

(SOF ¶ 136.)

       On March 26, 2015, Dr. Khin Khin had a follow-up meeting with Dr. Waggel who

reported that she had met with Dr. Mehta on Friday, March 20, and that she had received the

following feedback from Dr. Mehta:

                  1) That she is fine and doing well.
                  2) That the only thing [Dr. Mehta] recommended that she
                     change/improve is that, when she puts in an order for I&Os, she
                     should tell the nurse directly instead of putting it in the computer,
                     as the computer order will disappear once a particular nurse views
                     it and won’t stay in the system.

(SOF ¶ 140.) Dr. Mehta responded to this email with surprise, stating “I must admit, I am very

taken aback by this. Hard for me to believe she didn’t catch the four things I listed, which I

outlined to her very clearly.” (SOF ¶ 141.)

       In late April or early May, 2015, Dr. Waggel’s colleagues became aware that she was

having difficulty on the Internal Medicine rotation apparently as a result of pain she was having

and that she was having some imaging studies done related to a kidney cyst that was being



                                               14
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 20 of 221



evaluated. (SOF ¶ 152) Dr. Waggel reportedly began discussing her workup and diagnosis with

members of the Internal Medicine team and actually brought copies of her imaging of a left

kidney cyst to the hospital with a request that a resident or other physician review them for a

second opinion. (SOF ¶ 153-155.) On May 1, 2015, Dr. Catalanotti contacted Dr. Catapano to

report that she and Dr. Waggel’s supervising attending physician were concerned that Dr.

Waggel’s own health problems were causing her not to be able to focus on work and requested

that someone close to Dr. Waggel check in on how she was doing. (SOF ¶ 159.) Dr. Catalanotti

also commented that the clinical attending planned to give Dr. Waggel direct feedback “about

avoiding inappropriate language on rounds (calling a patient an asshole in front of students and

the team)” but perhaps not that very day. (SOF ¶ 160.)

       When another attending reported similar concerns, Dr. Catapano called Dr. Waggel in for

a meeting and discussed with Dr. Waggel that it is part of a physician’s obligation to be aware of

their own health status and to refrain from presenting themselves for clinical duties if there are

any concerns that they are not safe to do so – this is a key element of Professionalism. (SOF ¶¶

163-164.) Dr. Catapano also explained that physicians do become sick or get ill and need to alert

others in advance and withdraw from clinical duties until they are safe to return – there is no

shame, stigma, or penalty attached because it is the right thing to do. (SOF ¶ 165.) In the

meeting, Dr. Catapano also specifically recommended that Dr. Waggel take leave at least briefly

to address her medical issues and be prepared to come back to work healthy and safe. (SOF ¶

166.) One of the attendings had raised the issue of a fitness for duty exam for Dr. Waggel, and

Dr. Catapano discouraged that as it would not be helpful to be declared unfit for duty when

regular leave would be the better and usual option. (SOF ¶¶ 167-168.) Dr. Waggel insisted that




                                               15
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 21 of 221



she was fine and that she would be able to continue to perform the duties of her training, and she

rejected the suggestion that she should take leave. (SOF ¶ 169.)

       During the month of May on the Internal Medicine rotation, Dr. Suzanne Chang served as

Dr. Waggel’s attending physician, and she noted several red flags regarding Dr. Waggel’s well

being and professionalism soon after Dr. Waggel’s return from a brief medical leave at the

beginning of the month. (SOF ¶¶ 170-171.) Dr. Chang reported receiving at least three

complaints from patients who said Dr. Waggel had been unprofessional or “mean” and the

patients had become very angry or offended by her interaction with them. (SOF ¶ 172.) On at

least one occasion, Dr. Waggel presented herself for duty dressed inappropriately (wearing a

very form-fitting and high-cut skirt), and Dr. Chang received several comments from other staff

and patients about Dr. Waggel’s attire. (SOF ¶ 173.)

       Dr. Chang also received reports from Dr. Waggel’s team members that she seemed angry,

was cursing loudly in the team room in front of the students and within earshot of patients, and

her overall behavior seemed to be escalating. (SOF ¶ 174.) On May 14, Dr. Waggel appeared for

pre-rounds, but was apparently sleepy and behaving strangely. When it came time for rounds, Dr.

Waggel was not present and Dr. Chang, aware that Dr. Waggel was having medical

appointments and related difficulties, became concerned that perhaps she had gotten sick or

collapsed. (SOF ¶ 175.) For an hour or so, various members of the medical team searched

everywhere for Dr. Waggel, and she was eventually found by the Chief Resident asleep in a call

room. (SOF ¶¶ 176-177.) Dr. Waggel subsequently stated that she had been out drinking late the

night before and that morning had confused her Ativan and Ritalin and taken benzodiazepines

accidentally before coming to work. (SOF ¶ 178.) Dr. Waggel was sent home for the day because




                                               16
          Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 22 of 221



she was not safe to be participating in patient care and was asked not to return to the Internal

Medicine service. (SOF ¶ 179.)

          Later that afternoon, Dr. Catalanotti called Dr. Catapano to inform her that because of the

recent issues related to Dr. Waggel’s performance on the Internal Medicine service, which had

culminated in the event of that morning, the medicine team had determined that Dr. Waggel

could no longer practice safely and had asked her to no longer work on the service. (SOF ¶ 180.)

          Later that evening, Dr. Waggel emailed Dr. Catapano regarding the morning incident and

stated:

                     I mistook my Ritalin pills for Ativan. It didn’t kick in until about an
                     hour into work when I got so sleepy. That’s why I never take Ativan
                     during work. I take them when I get anxious about my kidney or when
                     I have to get a procedure done. It also didn’t help that I didn’t have my
                     ADHD meds on board either. I feel so stupid and awful about the
                     whole thing.

(SOF ¶ 181.)

          Later that evening, Dr. Catapano emailed the administrative team and stated in part:

                     [I] think by far her best option is to take a medical leave, as was
                     recommend [sic] to her two weeks ago. Looking forward, this will
                     impact her promotion date (she’ll need to make up 1+ weeks of
                     medicine) and when she can start her pgyii rotations – once we get a
                     scope for the duration of leave [Dr. Greene] and [Dr. Emejuru] will
                     have to work on that.

(SOF ¶¶ 182 – 183.)

          On May 15, 2015, Dr. Catapano met with Dr. Waggel about these events and again

recommended to her that she should take leave to address whatever issues she was having that

were affecting her performance in the residency program and resulting in her dismissal from the

Internal Medicine rotation. (SOF ¶185.) Dr. Waggel agreed to accept the recommendation and

arranged for either leave or personal vacation time to be away from the Program from May 18 to



                                                  17
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 23 of 221



June 7, 2015. (SOF ¶ 186.) As a result of communications between Ms. Kimberly Vanlewen, the

Administrator of the University’s Leave of Absence Program, Ms. Vanlewen advised Dr.

Waggel that she did not have sufficient length of service to qualify for FMLA leave but further

advised Dr. Waggel if she believed she had a qualifying disability, she could request a

reasonable accommodation such as medical leave under the Americans with Disabilities Act

(“ADA”). (SOF ¶¶ 187-191.) Ms. Vanlewen provided Dr. Waggel with a phone number and

email address for the EEO Office and actually recommended that she apply for ADA leave

through that office. (SOF ¶ 192.) Ms. Tucker also provided the same information to Dr. Waggel.

(SOF ¶ 193.) Dr. Waggel never pursued an accommodation through the EEO Office for medical

leave related to a disability as recommended by both Ms. Vanlewen and Ms. Tucker. (SOF ¶

194.)

        In a report to Dr. Catapano about Dr. Waggel’s rotation in May, Dr. Chang noted that

when she first came on duty, Dr. Waggel had been given an opportunity to take a longer leave of

absence but told the chiefs she felt ready to be back. (SOF ¶ 196.) Dr. Chang also recounted in

detail the events of the morning of May 14 noting that when the Chief Resident found Dr.

Waggel she was apparently impaired or intoxicated and that Dr. Waggel had since stated she was

“out drinking late the night before, and that morning had confused her Ativan and Ritalin and

taken benzos accidentally prior to coming to work.” (SOF ¶ 197.) Dr. Chang also prepared a

formal evaluation of Dr. Waggel’s May 2015 Internal Medicine rotation and had scored Dr.

Waggel at Level 1 (“Resident cannot perform this skill even with assistance”) in three

fundamental skill sets – patient interviews, shared decision-making with patients, and stabilizing

patients with urgent or emergent medical conditions. (SOF ¶ 201.) The rating for Dr. Waggel’s

Overall Clinical Performance on the rotation was “Lowest – Inadequate performance/Significant



                                               18
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 24 of 221



Deficiencies.” (SOF ¶ 202.) Dr. Waggel was granted leave from May 18 to June 7, 2015, and

went on a vacation to Italy and then visited her family in Pennsylvania. (SOF ¶¶ 203 – 205.)

       On Dr. Waggel’s return, her next rotation was on Emergency Medicine where the ED

Residency Training Program Director, Colleen Roche, M.D., noted that as soon as Dr. Waggel

began the rotation, it became clear that she had significant deficits in her medical knowledge and

was far behind where she should have been. (SOF ¶¶ 209-211.) The ED rotation was at the end

of Dr. Waggel’s intern year but at best she exhibited the level of medical knowledge of a

beginning intern. (SOF ¶ 212.)

       On June 10, 2015, Dr. Waggel was a no show for her ED shift at 7:00 a.m., had not

contacted anyone to alert them she would not be there, could not be reached during multiple

attempts for several hours, and when she was finally reached by phone, she stated that she was

not feeling well that day and had decided not to come to work. (SOF ¶¶ 213-217.) After further

conversation, Dr. Waggel agreed to come to work for the remainder of her shift. (SOF ¶ 218.)

According to Dr. Roche, Dr. Waggel had been made aware of the protocol for requesting time

off in advance for scheduled appointments and for finding coverage for unexpected absences

such that her actions on June 10 were a clear violation of the ED protocol. (SOF ¶ 219.)

       As it turns out, Dr. Waggel had an appointment at 2:45 p.m. that day (which she also had

not discussed with anyone and for which she had not sought leave or other authorized absence

from duty) with a consulting urologist, Dr. Thomas W. Jarrett. (SOF ¶ 220.) She met with Dr.

Jarrett whose review of the imaging studies led him to conclude that her left kidney cyst was a

higher grade than her attending urologist had diagnosed with an increased risk of becoming

malignant (30-50%). (SOF ¶ 221.) While Dr. Jarrett recommended to Dr. Waggel that she have

the cyst surgically removed, he said it was not urgent and it would not be unreasonable to follow



                                               19
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 25 of 221



the cyst via standard surveillance with repeat imaging in six months to a year. (SOF ¶¶ 222-223.)

Dr. Waggel preferred surgical removal and given her age, overall healthy status, and the small

size and peripheral nature of the cyst, Dr. Jarrett recommended a laparoscopic partial

nephrectomy. (SOF ¶ 225.) Dr. Jarrett further advised that Dr. Waggel would likely be out of

work for two weeks with a return to full duty in about a month. (SOF ¶ 226.) He also said that

because this was not emergent, Dr. Waggel could coordinate with her residency program to

schedule the surgery over the next three months. (SOF ¶ 227.)

        Dr. Waggel emailed Dr. Catapano the next day stating she needed “a nephrectomy sooner

rather than later. Dr. Jarrett (chair of urology) said I should only need about two weeks off.”

(SOF ¶ 228.) Dr. Catapano replied that she would have the full support of the Program with

leave based on whatever date her surgeon selected for the surgery and the recovery time

indicated by her surgeon of two weeks which she should coordinate through Chief Resident Dr.

Emejuru. (SOF ¶¶ 229-230.) Over the ensuing weeks, Chief Resident Emejuru coordinated Dr.

Waggel’s schedule to match the date selected by her surgeon and the recovery time and also

work her into rotations Dr. Waggel wanted to complete before the surgery and also schedule her

for a night call rotation on her return to duty because that was usually lighter duty. (SOF ¶¶ 231-

240.)

        On June 24, 2015, Dr. Roche emailed Dr. Catapano to report further that Dr. Waggel “is

struggling a lot clinically in the ED . . . her clinical knowledge is not up to par with what we

would expect from an intern. * * * I have received multiple comments about her poor clinical

performance. * * * [m]y sense is that she was so far behind because she was limited by her

clinical knowledge.” (SOF ¶ 241). Dr. Catapano also received a report from Dr. Cathy Crone, a

faculty member sited at Inova Fairfax Hospital, regarding Dr. Waggel’s lack of professionalism



                                                20
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 26 of 221



during an inpatient psychiatry rotation there, including disrespectful attitude toward her

supervising attending physician. (SOF ¶ 243.)

       Dr. Waggel’s PGY2 year began on July 1. On July 9, she missed the first meeting of a

didactic curriculum course, Psychodynamic Thought, taught by Dr. Cheryl Collins, a volunteer

faculty member, after Dr. Waggel had told Dr. Collins she would attend and then had provided

Dr. Collins no notice of a change in plans. (SOF ¶ 245-248.) On August 2, Dr. Waggel emailed

an apology to Dr. Collins for missing class for an undisclosed “emergency” claiming she thought

the Program Administrator had reported that to Dr. Collins (SOF ¶ 248), ignoring the fact that

she had been told by many people following the June 10 ED no show that such notification was

an important, personal, non-delegable professional obligation.

       On July 9, 2015, Dr. Catapano emailed Dr. Waggel on several matters including that she

would be receiving a Letter of Deficiency for the June 10 ED no show and explaining that the

letter was non-reportable. (SOF ¶¶ 249-250.) Dr. Waggel sent a reply email saying she had a

doctor’s excuse for that day (SOF ¶ 252), again ignoring the fact that having a doctor’s excuse

(after the fact) was no explanation of or justification for this clear departure from professional

standards regarding proper notice.

       On July 13, 2015, when Dr. Emejuru learned of the missed class with Dr. Collins, he

emailed Dr. Waggel to remind her of the strict policy protecting didactics days and noted if

appointments were necessary, she still needed to alert attending physicians and faculty members.

(SOF ¶¶ 253-254.) Dr. Waggel responded that she was “actually very upset [she] was given such

a hard time about going to this appointment.” (SOF ¶ 255.) According to Dr. Emejuru, no one

gave Dr. Waggel a hard time about her going to the appointment – no one knew she had the




                                                21
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 27 of 221



appointment, she just went and no-showed Dr. Collins after saying she would be there. (SOF ¶

256.) People had reminded her that that was unprofessional and unacceptable.

       On July 18, 2015, Dr. Waggel had a “Kidney Party” at her apartment (SOF ¶ 257), and

on July 20 underwent a robotic-assisted laparoscopic partial nephrectomy performed by Dr.

Jarrett at GW Hospital to remove the entire 1.4 x 1.4 x 1.6 cm left kidney cyst later determined

on pathology to be clear cell renal cell carcinoma. (SOF ¶ 258-260.) On July 22, Dr. Waggel was

discharged from the hospital and on July 24 emailed Dr. Catapano to state that Dr. Jarrett had

called to advise that he was pretty sure the cancer was all gone (SOF ¶¶ 263-264), and she

emailed Dr. Emejuru, “Guess who had cancer but probably does not anymore. This gal!” (SOF ¶

265.) On July 28, Dr. Waggel responded to an email from Dr. Griffith that he was sorry she had

gone through this event but understood that there had been no surgical complications “and that

this is expected to be curative.” (SOF ¶ 266. Dr. Waggel responded, “I was very glad to receive

your well wishes. Everything points to a good prognosis.” (SOF ¶ 267.)

       On July 29, 2015, Dr. Waggel emailed Dr. Catapano and stated, “I’m really lucky that I

am at GW and in the psych program which I imagine is particularly good at getting residents

time off. I can’t imagine what may have happened if I were in a program like surgery somewhere

and pushed off my work up like I was initially planning to do.” (SOF ¶ 268.)

       On July 30, 2015, Dr. Waggel was seen at the GW Department of Hematology/Oncology

in consultation with Robert S. Siegel, M.D., who advised that based on all the medical

information and the low stage of the tumor, the surgery should be “curative.” (SOF ¶¶ 269-271.)

He advised a genetic screening for a specific syndrome (which was done and was negative) (SOF

¶¶ 422-426) with a plan of care for Dr. Waggel to follow up with Dr. Jarrett and for a return visit




                                                22
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 28 of 221



with Dr. Siegel on November 11, one week after a repeat kidney CT scan he would order. (SOF

¶¶ 272-273.)

       On August 5, 2015, Dr. Waggel saw Dr. Jarrett for a post-op visit when he confirmed that

there was “an excellent prognosis from this” and reviewed “the imaging follow-up recommended

by the AUA” which was “yearly imaging of the chest and abdomen.” (SOF ¶ 276.) On the same

day, Dr. Waggel met with Dr. Catapano for her semi-annual review who advised Dr. Waggel that

she was above Milestones in teaching but she was far below Program requirements in Patient

Care and Professionalism and then reviewed specific instances regarding these evaluations. (SOF

¶ 277.) Dr. Catapano also presented Dr. Waggel with the Letter of Deficiency regarding the June

10 ED no show and advised her that the letter was not intended as a punitive measure but was

remediation with formal written presentation of the issue and the opportunity and expectation for

resolving the issue and moving on without any further consequences. (SOF ¶ 279.) Dr. Catapano

also noted, however, that the issue did need to be remediated or there could be further action

taken including termination from training. (SOF ¶¶ 280-282.)

       The next day, August 6, Dr. Catapano received a lengthy email from Chief Resident

Elizabeth Greene outlining a number of instances of very unprofessional communications and

conduct directed by Dr. Waggel towards other members of the health care team who had been

treated with disrespect – this took place the same afternoon Dr. Catapano had spoken with Dr.

Waggel about issues related to Professionalism reflected in the Letter of Deficiency. (SOF ¶¶

285-290).

       The unacceptable behaviors and substandard performance continued over the next several

months of Dr. Waggel’s tenure: Dr. Waggel displayed very concerning deficiencies in

Professionalism, Inter-Personal Communications, Medical Knowledge and Systems-Based



                                               23
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 29 of 221



Practice on an overnight shift on August 25 where, although there were clear system based

issues, Dr. Waggel’s own performance was remarkably sub-standard both in the way she spoke

to a patient (she told a very disturbed, combative patient with escalating aggression that she was

going to call DC MPD and have the patient taken to another facility), the way she spoke to staff,

her claim of having personally physically restrained the patient (which was unacceptable for a

physician on the service and put the patient, herself, and others at risk), her inability to make

cogent, well-structured patient presentations to two different faculty attendings who

communicated with her in the middle of the night, and her own statements that she had failed to

attend to minimum standards of self-care (not eating in four days) in order to present herself for

duty adequately rested and nourished to provide safe and appropriate patient care. (SOF ¶¶ 347.)

Dr. Waggel failed the second exam in Dr. Griffith’s foundational course with a grade of 33 –

lower than pure guessing would be expected to produce (SOF 449) (and she had already failed

the first exam with a grade of 33, which was 30 points lower than anybody else in the class).

(SOF ¶ 318.) When she attended Dr. Griffith’s classes, she often distracted the class with

irrelevant and tangential personal remarks. (SOF ¶¶ 453-454.) Dr. Waggel was “routinely

absent” from Dr. Collins’s course (SOF ¶ 480), failed to attend any group feedback sessions

(SOF ¶ 482), was unprepared and unable to lead a class discussion on an assigned article even

though she had seen other residents’ presentations, and completely lacked understanding of the

psychodynamic concepts in Dr. Collins’s course (SOF ¶¶ 557-559), which she failed. (SOF ¶¶

561, 673.)

       Dr. Waggel continued her pattern of no show for both clinical and didactic commitments

(SOF ¶¶ 490-491; 641-645; 647-649; 671-672). She failed to obtain mandated annual health

clearance on time (SOF ¶ 462-464), or even to make an extended deadline. (SOF ¶¶ 465-467.)



                                               24
         Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 30 of 221



She failed to comply with the requirement to enter her supervisors in MedHub so evaluations

could be completed. (SOF ¶ 468.) She continued to claim that she did not understand the

ACGME requirements for didactics and clinical training time. (SOF ¶¶ 537-539.) She continued

to engage in inappropriate communication in violation of the Code. (SOF ¶ 653.) When placed

on “buddy call” to provide her with more senior resident supervision to assist in transitioning

back to independent call, she abused the call by insisting the more senior residents were there to

do her work for her. (SOF ¶¶ 447, 456-457.) She continued to engage in disrespectful

communications with faculty and colleagues. (SOF ¶¶ 500-501.) As a result of a number of these

events, she received an unprecedented four Letters of Deficiency within an approximately 6-

month period (First LOD, July 15, 2015 – SOF ¶ 279; Second LOD, October 28, 2015 – SOF ¶

545; Third LOD – November 11 – SOF ¶ 602, and revised November 19 to provide higher levels

of supervision and support – SOF ¶¶ 654-657, and Fourth LOD, December 10, 2015 – SOF ¶

710.).

         But perhaps most disconcerting was a continuing, even spiraling, pattern of dishonesty

and outright lies to faculty (SOF ¶¶ 497-461; 605-609; 675; 659-668) which also lead to Dr.

Catapano’s issuance of the Notice of Concerns of Unprofessional Conduct (SOF ¶ 798-799), an

instance of remarkably unprofessional behavior in holding onto a pager from Children’s National

Medical Center for use as a social lever (SOF Exhibit A, Catapano Decl., ¶ 709, Exhibit 172.),

and an episode on March 1, 2016, involving Dr. Chappelle, a very experienced and respected

psychotherapist who was consulting on a complicated case in which Dr. Waggel barged into the

patient’s room speaking in an elevated and abrasive voice thus upsetting the patient’s mother.

(SOF ¶¶ 831-835.) There are limits to what can be remediated.




                                               25
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 31 of 221



        The CCC properly took this entire record into consideration during its meeting on April

8, 2016, and, as is shown in the minutes of the meeting, conducted a careful review of significant

events justifying its unanimous vote to recommend to the Program Director that Dr. Waggel be

dismissed from the Program. (SOF ¶ 912-917, and Exhibit M, Dyer Decl., ¶ 112, and Exhibit 15

thereto (minutes)). That decision was accepted by Dr. Catapano who issued a letter of dismissal

on May 2, 2016. (SOF ¶ 936.) Dr. Waggel appealed and Raymond Lucas, M.D., was appointed

as the independent medical reviewer. (SOF ¶ 953.) Dr. Lucas conducted a full review (SOF ¶¶

955-963), including an interview of Dr. Waggel (SOF ¶¶ 960-963), and issued his letter report on

July 6, 2016. (SOF ¶ 964 and Exhibit S, Lucas Decl., ¶ 15 and Exhibit 1 thereto (letter report,

dated July 6, 2016.) Dr. Waggel took a final appeal to Dr. Simons (SOF ¶ 967), conducted his

own review (SOF ¶¶ 969-974), and concluded that both the Program and the GME Office had

followed appropriate procedures outlined by the Academic Improvement Policy for the dismissal

of Dr. Waggel from the Program and, therefore, determined to uphold the decision. (SOF ¶ 975,

and Exhibit R, Simons Decl., ¶ 32 and Exhibit 5 thereto (dismissal letter).)

       This lawsuit followed.

       STANDARD OF REVIEW

       Summary judgment is warranted “if the movant shows that there is no genuine dispute as

to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a); Celotex Corp. v. Catrett, 477 U.S. 317 (1986). While all reasonable inferences that may

be drawn from the facts are to be drawn in favor of the nonmoving party, the non-movant “may

not rest upon the mere allegations or denials of his pleading, but . . . must set forth specific facts

showing that there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

248, 255 (1986).



                                                 26
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 32 of 221



       Courts are particularly deferential to universities when considering motions for summary

judgment in academic dismissal cases. “[I]n cases involving academic dismissal, educational

institutions will be entitled to summary judgment unless the plaintiff can provide some evidence

from which a fact finder could conclude that there was no rational basis for the decision or that it

was motivated by bad faith or ill will unrelated to academic performance.” Alden v. Georgetown,

734 A.2d 1103, 1109 (D.C. 1999) (quoting Clements v. Nassau Cnty., 835 F.2d 1000, 1004 (2nd

Cir. 1987). Courts do not interfere in the academic judgment of educational institutions and limit

their review to determining whether action was taken in bad faith or in an arbitrary or capricious

manner. Id. at 1008 (“judgment by school officials that a student has not performed adequately

to meet the school’s academic standards is a determination that usually calls for judicial

deference.”).

       The United States Supreme Court has spoken on the subject: “like the decision of an

individual professor as to the proper grade for a student in his course, the determination whether

to dismiss a student for academic reasons requires an expert evaluation of cumulative

information and is not readily adapted to the procedural tools of judicial or administrative

decision making.” Board of Curators of the Univ. of Mo. v. Horowitz, 435 U.S. 78, 90 (1978).

And the analysis applies with special force in cases, such as this, raising claims of improper

discriminatory treatment in employment in a medical training program. Hajjar-Nejad v. George

Washington University, supra, 37 F. Supp.3d at 116; Bain v. Howard University, 968 F.Supp.2d

294, 298 (D.D.C. 2013). To avoid summary judgment, Plaintiff must establish that there was no

rational basis for her dismissal or that it was motivated by bad faith unrelated to academic

performance, i.e., that academic considerations were unrelated to the decision for dismissal.




                                                27
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 33 of 221



III.   ARGUMENT

       A.      The Evidence Is Overwhelming That the Decision for Dismissal Was Based
               on Considerations of Academic Performance

       It would be difficult to conjure a record more filled with reasons for an academic medical

training program to dismiss a student or trainee than the one invented by Dr. Waggel during her

tenure in the GW Psychiatry Residency Training Program. Even before she began the Program,

she failed to comply with a simple but important prerequisite to safe clinical practice –

universally recognized – of a medical health clearance. Barely after stepping into the Program

she had to be removed from duty. And upon her return to duty, it became apparent in her first

rotation that there were significant deficiencies in multiple domains – lack of awareness of her

limitations, resistance to feedback (the path forward in any training program), deficits in patient

care, knowledge deficits directly impacting severity of threat to patient safety with specific

errors, failure to complete documentation for continuity of care, failure to foster collaboration in

an inherently inter-dependent and collaborative environment, interpersonal relationships skills

that an adult would be expected to have, including behaviors to avoid (picking – and then

announcing – favorites to work with among team members), not helping others when asked, and

being “openly disrespectful” to other team members. (SOF ¶ 98.) This was a broadside assault on

the Code of Conduct in the Learning Environment in the first month. And it was remarkably

revealing since these behaviors persisted.

       Limitations on brief space prevent a full account of the multiple people, in multiple

venues, under myriad circumstances who reported unprofessional behavior by Dr. Waggel.

According to the report from Dr. Prior on March 6, 2015, during an Internal Medicine rotation –

long before any discriminatory animus is said to have crept into GW’s evaluation of Dr. Waggel

– he had fielded complaints “from patients, nursing, consulting services” about Dr. Waggel.

                                                28
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 34 of 221



(SOF ¶ 112.) When patients are reported to be complaining in March 2015, there can be no claim

that the record is tainted by discrimination. Plaintiff’s contention is that the problems started on

June 10, 2015, when she received her diagnosis from Dr. Jarrett that her left kidney cyst was

probably a higher grade than previously thought with an increased risk of potential cancer. The

same would be true of the complaints Dr. Chang received in May 2015 involving “at least three

complaints from patients” who reported that they had become “angry or offended by her [Dr.

Waggel’s] interaction with them.” (SOF ¶ 172.)

       The attached Declarations of Drs. Catapano, Emejuru, Griffith, Collins, and Dyer do

establish the record in detail tied to contemporaneous accounts of events. The picture that

emerges is one of Dr. Waggel’s manipulation, abuse, deceitfulness, and remarkable unfairness to

colleagues. Dr. Waggel even accused more senior residents, who had agreed to take buddy call

as part of an effort to assist her back to independent call, of abandoning her in the middle of the

night and then fabricating email reports to cover their tracks. There is absolutely no evidence Dr.

Waggel has offered to support those allegations, and great reason to believe those statements

were false. Defaming one’s colleagues under any circumstances appears to run afoul of the Code.

       The fact is that the thorough review of Dr. Waggel’s tenure in the program conducted by

the CCC during its meeting on April 8, 2016, and documented in the minutes, shows a focus on

longstanding, thoroughly documented, objectively framed failures of performance on Dr.

Waggel’s part, her refusal to acknowledge the deficiencies, and her refusal to attempt to

remediate them. As Dr. Catapano notes in her declaration, and as Dr. Gandhi documented at the

time, the December 10 Letter of Deficiency essay was “a striking example of Dr. Waggel’s lack

of self-observation, failure to acknowledge her deficits, and accept the need for remediation.”

(SOF ¶¶ 785-788 and Catapano Decl., ¶¶ 701-705 and Exhibit #169.)



                                                29
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 35 of 221



       There is no basis in this record on which a reasonable juror could reasonably believe that

the physicians who deliberated on the CCC and made the recommendation for dismissal, or Dr.

Catapano who agreed with the recommendation and decided for dismissal, or Dr. Lucas, the

independent physician reviewer who reviewed the matter and rendered his report (SOF ¶¶ 955-

964, and Exhibit S, Lucas Decl., Exhibit 1, Letter report dated July 6, 2016) made a decision for

which there was no rational basis or that was motivated by bad faith or ill will unrelated to

academic performance. Alden v. Georgetown, 734 A.2d at 1109.

       Defendant is entitled to summary judgment.

       B.      The Statutes Relied Upon Do Not Produce a Different Result

       In addition to the reasons already noted, Plaintiff faces a further threshold barrier to the

claims set forth in Counts I and II of the Complaint (ADA and DC HRA failure to accommodate

and disability discrimination). Here the record shows that Plaintiff was told on multiple

occasions how to apply for ADA disability relief if she believed herself entitled, or possibly

entitled, to disability status and accommodation. The notice to Plaintiff came to her attention in

the Resident Agreement (SOF ¶¶ 43-44), in the Resident Manual (SOF ¶¶ 55-57), and in the

related University EEO Policy (SOF ¶¶ 59-66). In addition, Plaintiff was actually directly told

how to apply and was encouraged to apply (SOF ¶¶ 189-193), but she chose never to follow up.

There was nothing further the University was required to do. Chenari v. George Washington

University, 847 F.3d 740 (D.C. Cir. 2017). See also Rossomando v. Board of Regents of

University of Nebraska, 2 F. Supp.2d 1223 (D. Neb. 1998).

       The D.C. Circuit has noted that courts “routinely apply the same standards to evaluate

Title VII claims as they do ADA claims, ADEA claims, and even ERISA claims.” Brown v.

Brody, 199 F.3d 446, 456 n.10 (D.C. Cir. 1999), abrogated on other grounds by Steele v.



                                               30
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 36 of 221



Schafer, 535 F.3d 689 (D.C. Cir 2008). See also Walker v. Children’s National Medical Center,

236 F. Supp.2d 136 (D.D.C. 2017) (when the employer in an ADA retaliation action asserts a

legitimate, nondiscriminatory reason for adverse employment action, the district court then

considers whether the plaintiff produced sufficient evidence for a reasonable jury to find that the

employer’s asserted non-discriminatory reason was not the actual reason and that the employer

intentionally discriminated against the plaintiff in a prohibited basis).

       Plaintiff’s claims in this case that the University made it difficult for her to schedule or

keep medical appointments and “punished” Plaintiff for attending the appointments, without in

any way showing what the alleged “punishment” was or how it proximately caused the behaviors

on her part that led to the decision to terminate her, is insufficient to overcome the overwhelming

evidence that the decision is entitled to judicial deference under Alden v. Georgetown. There is

no evidence that the physician reviewers did not have a reasonable basis to reasonably believe

that Dr. Waggel’s dismissal from the Program was justified for academic reasons.

       Furthermore, the allegedly retaliatory acts of the Defendant, such as interfering with

Plaintiff’s ability to get to medical appointments on time or missing appointments, do not

constitute an “adverse personnel action” related to employment, proof of which is the second

prong of the three-prong showing Dr. Waggel must make for a prima facie claim of retaliation.

Nichols v. Billington, 402 F. Supp.2d 48, 71 (D.D.C. 2005).

IV.    CONCLUSION

       For all of the foregoing reasons and based on the entire record, Defendant George

Washington University is entitled to summary judgment on all claims herein and this action

should be dismissed with prejudice.




                                                  31
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 37 of 221



Dated: January 2, 2018                     Respectfully submitted,

                                           JACKSON & CAMPBELL, P.C.

                                           _/s/ Nicholas S. McConnell
                                           Nicholas S. McConnell (# 167742)
                                           Jackson & Campbell, P.C.
                                                   th
                                           1120 20 Street, N.W., Suite 300 South
                                           Washington, D.C. 20036
                                           (T) (202) 457-1600
                                           (F) (202) 457-1678
                                           nmcconnell@jackscamp.com
                                           Counsel for Defendant




                                      32
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 38 of 221



             IN THE UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF COLUMBIA

DR. STEPHANIE WAGGEL,         )
                              )
         Plaintiff,           )
                              ) Civil Action No.: 1:16-cv01412-CKK
    v.                        ) Hon. Colleen Kollar-Kotelly
                              )
GEORGE WASHINGTON UNIVERSITY, )
                              )
         Defendant.           )

              DEFENDANT’S STATEMENT OF MATERIAL FACTS
               AS TO WHICH THERE IS NO GENUINE DISPUTE

       Defendant George Washington University, by undersigned counsel, pursuant to Rule 56,

Fed. R. Civ. P., and Local Rule 7(h)(1), LCvR, hereby sets forth its Statement of Material Facts

as to Which There Is No Genuine Dispute.

                                           The Parties

       1.      Plaintiff Stephanie Waggel is a former resident in the Psychiatry Residency

Training Program at the George Washington University School of Medicine and Health Sciences

(hereinafter the “Program”). Plaintiff’s Complaint. ¶ 5.

       2.      Defendant George Washington University (the “University”) is a private

University operating in Washington, D.C. Compl. ¶ 4.

            Structure and Organization of the GW Residency Training Program

       3.      Residency training is the process by which medical school graduates are

transformed to the level of being able to practice a medical specialty safely and effectively across

generally encountered health care settings. A full description of the residency training process as

provided by the Accreditation Council for Graduate Medical Education (“ACGME”) is set forth

in the Declaration of Dr. James Griffith, attached hereto as Exhibit N, at ¶ 6.


                                             1
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 39 of 221



       4.      Under the Medicare residency training program, the University receives payment

for some of the administrative components and other indirect costs of conducting residency

training. The payment for resident training is fixed by formulas such that an extension of a

resident’s time in a training program results in the cost of the additional training time being

absorbed by the University. See Exhibit A, Declaration of Lisa A. Catapano, M.D., ¶ 12.

       5.      The GW Psychiatry Residence Training Program, like all other post-medical

school medical specialty training programs, is conducted under the auspices of the ACGME.

Exh. A (Catapano Decl.) ¶ 13.

       6.      ACGME is is an independent, not-for-profit, physician-led organization that sets

and monitors the professional educational standards for residency training programs which

provide specialty medical training essential in preparing physicians to deliver safe, high-quality

medical care to all Americans. Exh. A (Catapano Decl.) ¶ 14.

       7.      The ACGME standards must be met both by the training program and by each

resident within the program in order for each resident to be recognized as trained and qualified to

practice in the particular medical specialty. Exh. A (Catapano Decl.) ¶ 15.

       8.      ACGME sets standards and requirements for both didactic and clinical training

which trainees must successfully complete over a four-year training program in order to become

eligible for Board certification by the American Board of Psychiatry and Neurology which is a

Member Board of the American Board of Medical Specialties. Exh. N (Griffith Decl.) ¶ 8.

       9.      GW’s Psychiatry Residency Training Program generally enrolls 26 to 28 students

(6 to 7 students per enrolled “class”) and has an attending faculty of 21 physicians based in the

GW Medical Faculty Associates physician practice group. In addition, there are a number of

other physicians specializing in psychiatry who hold GW faculty appointments and are based at



                                             2
           Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 40 of 221



off-site training facilities such as INOVA Fairfax Hospital and Children’s National Medical

Center. GW psychiatry residents perform clinical training rotations at these sites to obtain

exposure to a broad spectrum of psychiatric patients in a variety of clinical settings. Exh. A

(Catapano Decl.) ¶ 10.

           10.   Most of the institutional administrative responsibility for the Program, as well as

that of the other residency programs operated by the University, is handled by the Office of

Graduate Medical Education (“GME”). See Exhibit B, Declaration of Jeffrey Berger, M.D., ¶ 5.

           11.   From November 2012 until July 2016, Dr. Lisa Catapano served as the Program

Director for the GW Psychiatry Residency Training Program. Exh. A (Catapano Decl.) ¶ 3.

           12.   Dr. Jeffrey Berger is the Dean for Graduate Medical Education and was in the

role during the time of Dr. Waggel’s tenure as a resident in the Program. Exh. B (Berger Decl.)

¶¶ 3, 8.

           13.   The purpose of the GME Office is to assist residents in navigating administrative

procedures within their programs and to assure that residents’ responsibilities are met. It also

works with program directors for each program to ensure that all University residency programs

meet or exceed ACGME Institutional, Common, and Program Requirements. Id.

           14.   The GME Office is not responsible for the day-to-day management and operation

of each residency program. Likewise, the GME Office is not responsible for creating the

individual training plans and/or curriculum for each residency program. Exh. B (Berger Decl.) ¶

6.

           15.   Resident physicians are paid a salary, generally about $50,000 per year, which is

funded by the United States government through the Medicare program as part of a national




                                              3
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 41 of 221



commitment to assure a supply of appropriately trained physician medical specialists to meet the

nation’s health care needs. Exh. A (Catapano Decl.) ¶ 11.

       16.     Each resident’s progress in training is tracked through Milestones which are

descriptors and targets for resident performance as a resident progresses from entry into

residency through graduation based on the resident’s progress on all 22 psychiatry

subcompetencies, such as Patient Care, Medical Knowledge, Interpersonal and Communications

Skills, Professionalism, and Systems-Based Practice. Exh. A (Catapano Decl.) ¶ 16.

       17.     Each residency training program is required to have a Program Director, the role

Dr. Catapano filled during Dr. Waggel’s tenure in the Program, whose duties, among others, are

to administer and maintain an educational environment conducive to educating the residents in

each of the ACGME competency areas and to oversee and ensure the quality of didactic and

clinical education in all sites that participate in the Program. The GW Program also had an

Associate Director to assist in carrying out these duties. Exh. A (Catapano Decl.) ¶ 17.

       18.     Another key role in the Program is that of Program Administrator. During the

time Dr. Waggel was in the Program, Victoria H. Anderson was the Program Administrator. As

such, Ms. Anderson’s general administrative responsibility for the Program and her duties

included organizing and tracking the residents’ didactic and clinical schedules, coordinating

clinical rotations through off-site facilities, monitoring the residents’ attendance for matters on

their schedules, obtaining the residents’ completion of forms and reports to meet administrative

and ACGME requirements, and serving as a general administrative resource for the residents and

a channel of communications among the residents, faculty members, and off-site faculty or other

personnel. Exh. A (Catapano Decl.) ¶ 18.




                                             4
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 42 of 221



        19.    The Program Administrator functions as the communications center and

coordinator for residents and has frequent contact with residents, faculty, and off-site program

personnel. Exh. A (Catapano Decl.) ¶ 18.

        20.    As the Program Director, it was also Dr. Catapano’s responsibility to appoint a

group known as the Clinical Competency Committee (“CCC”) which under ACGME guidelines

must consist of no fewer than three members of the Program faculty and is responsible for

reviewing all resident evaluations at least semi-annually, preparing and assuring the reporting of

Milestones evaluations of each resident semi-annually to ACGME, and advising the Program

Director regarding resident progress, including promotion, remediation, and dismissal. Exh. A

(Catapano Decl.) ¶ 19.

        21.    As Program Director, Dr. Catapano conducted weekly meetings, generally on

Mondays, with a group including the Assistant Program Director, the Chief Residents, and the

Program Administrator to review all aspects of the Program including a review of the residents

in the Program and any problems or issues that needed to be addressed. Exh. A (Catapano Decl.)

¶ 20.

        22.    Dr. Catapano also met weekly with the Chairman of the Department of Psychiatry

and Behavioral Sciences, James L. Griffith, M.D., for a similar review with a focus on clinical

practice and safety issues as Dr. Griffith, in his role as Department Chair, had ultimate

responsibility for the clinical activities of the Department of Psychiatry and Behavioral Sciences,

the quality of clinical practice by the Department, and especially matters related to patient safety.

Exh. A (Catapano Decl.) ¶ 22.

        23.    Per ACGME standards, psychiatry residency training is designated as a four-year

program, the first year denominated as the intern year or PGY1, with trainees thereafter



                                             5
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 43 of 221



designated as second-year (PGY2), third-year (PGY3), and fourth-year (PGY4) residents. Exh.

A (Catapano Decl.) ¶ 23.

       24.     Third-year residents who have shown particular aptitude and leadership skills are

selected to serve in their fourth year as Chief Residents. Exh. A (Catapano Decl.) ¶ 24.

       25.     The role and duties of a Chief Resident include maintaining regular contact with

the Program Director and Associate Director to review the residency Program including resident

performance and evaluation, serving as an advocate for the resident body and as a liaison

between the residents and the faculty, developing on-call schedules for the residents and

providing or assigning back up for on-call residents, participating in teaching junior residents,

and being available as a sounding board when a resident raises concerns about the Program or his

or her own performance. Exh. A (Catapano Decl.) ¶ 25.

       26.     The overall role of a Chief Resident is to assist the faculty and resident trainees to

assure a well functioning Program and the success of each resident within the Program. Exh. A

(Catapano Decl.) ¶ 26.

       27.     During Dr. Waggel’s intern year, Dr. Elizabeth Greene served as the Chief

Resident with oversight of Dr. Waggel, and during her PGY2 year, Dr. Jason Emejuru served as

the Chief Resident. See Exhibit C Declaration of Jason Emejuru, M.D. ¶ 2, 8.

       28.     As part of their training, each psychiatry resident must spend a stated minimum

amount of actual clinical days on rotations in specific medical specialty services. Program

Directors have some minimal leeway to grant waivers from the minimum training time standards

in the case of residents who have shown exceptional ability. Exh. A (Catapano Decl.) ¶ 27.




                                             6
          Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 44 of 221



          29.   ACGME further requires each resident to attend a minimum of 70 percent of

regularly scheduled didactic sessions. The standard at the GW Program for resident attendance in

didactics classes is higher than the ACGME standard. Exh. A (Catapano Decl.) ¶ 28.

          30.   On July 21, 2015, shortly after the beginning of PGY2 for Dr. Waggel, Dr.

Catapano sent an email reminding residents of the Program requirements regarding didactics.

Exh. A (Catapano Decl.), Exhibit 2 (Plaintiff Bates 695). In the email, Dr. Catapano noted that:

                In our Psychiatry Residency, we protect one full day per week for all
                PGYIIs, IIIs, and IVs to be excused from clinical duties in order to
                participate in program didactics and Grand Rounds. This is more protected
                educational time then most psychiatry residency programs dedicate for
                their residents. This comes at the cost of clinical coverage for our sites,
                and relies on the volunteer efforts of full-time and part-time faculty.

Id. at p. 1 (Plaintiff Bates 695) (emphasis added).

          31.   The email further stated that “PGYII, III and IV residents are required to be

available for didactics, Grand Rounds, or program-related meetings (including class meetings,

RTC, Journal Club, and M&Ms) every Thursday from 8:00 a.m. to 5:30 p.m.” Id. (emphasis

added).

          32.   The email further instructed residents that:

                Residents may not schedule patients or supervision during this time.
                Personal time off or medical appointments scheduled on Thursdays are
                treated as vacation or sick time off, respectively, and require the same
                process of alerting attending/instructors and administration as required on
                any other day of the week.

Id. (emphasis added).

          33.   Finally, the email reinforced the ACGME didactics requirement and alerted

residents that the Program set an even higher standard for compliance with didactics training:

                Residents are expected to be present for all didactics unless they are sick,
                post-call, or on vacation. The ACGME requires that residents participate
                in at least 70% of all didactics, meaning that if a resident attends less than

                                              7
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 45 of 221



               70% of the classes in a particular seminar, they can be required to repeat
               the seminar (which could delay graduation). In our program we believe the
               standard should be higher than 70% attendance, and any resident with
               enough absences to significantly interfere with their learning may be asked
               to repeat the course.

Id. at pp. 1 – 2 (Plaintiff Bates 695 – 96) (emphasis added).

       34.     The Clinical Neurosciences Seminar is the centerpiece around which the rest of

our curriculum is organized. Mastery of the material in the Clinical Neurosciences Seminar is

necessary in order to learn the material in subsequent courses and seminars in the Program. See

Exhibit N, Declaration of James L. Griffith, M.D., ¶ 17.

       35.     The course is taught over the entire PGY2 academic year (July 1 – June 30) in six

segments, each ending with an exam to assess mastery of the material in the segment before

students move onto the next segment. Exh. N (Griffith Decl.) ¶ 19.

       36.     The seminar has three components, each consisting of a series of lectures:

               (a)     Cognitive and Social Neuroscience: A basic understanding of the

               structure and physiology of the human nervous system as is required to

               understand the psychopathology of our psychiatric disorders and their

               treatments;

               (b)     Neurobiology of Major Psychiatric Disorders: Current research on

               the neurobiology of psychotic, mood, and anxiety disorders as major

               psychiatric illnesses, and

               (c)     Psychopharmacology        for    Major   Psychiatric    Disorders:

               Residents study clinical psychopharmacology for psychotic, mood, and

               anxiety disorders.

Exh. N (Griffith Decl.) ¶ 12.



                                             8
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 46 of 221



       37.     Residents are told at the beginning of the 35 session, ten-month long

seminar that they are expected by the end of this seminar to be able to pass the

psychopharmacology section of their American Board of Psychiatry and Neurology

certification exam. Exh. N (Griffith Decl.) ¶ 13.

       38.     The approximately 35 lectures span all the major psychiatric illnesses and

their treatment and each has a detailed handout with learning objectives. Exh. N (Griffith

Decl.) ¶ 14.

       39.     This seminar is the most comprehensive and intensive component of their

PGY2 residency year. Exh. N (Griffith Decl.) ¶15

       40.     The course has three objectives:

               (a)    Assuring that the residents will have sufficient knowledge of

               psychopharmacology for patient care during PGY2 rotations,

               (b)    Providing the residents a sufficient knowledge base to enable them

               to score in the 50th percentile or higher on the Somatic Treatments

               subscale of the nationally-standardized PRITE In-Service Examination,

               and

               (c)    Teaching a neurobiological model for the psychopathology of

               major psychiatric disorders that can guide psychopharmacological,

               psychotherapeutic, and psychoeducational therapies with outpatients

Exh. N (Griffith Decl.) ¶ 16.




                                             9
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 47 of 221



                           The Resident Physician Agreement

       41.     Physicians accepted into GW SMHS residency training programs sign a Resident

Physician Agreement (“Resident Agreement”) regarding their appointment for training. Exh. A

(Catapano Decl.) ¶ 33.

       42.     Dr. Waggel’s signed a Resident Agreement for her first year beginning July 1,

2014, and her second year beginning July 1, 2015. Exh. A (Catapano Decl.), Exhibit 3 (GWU

000620 – 000625) and Exhibit 4 (GWU 000614 – 000619).

       43.     Under the Resident Agreement, residents are notified that the Resident Manual

“provides detailed information about the benefits and obligations of Resident Physicians who

participate in the Program” and notes that the manual is posted to the GW SMHS GME website

(giving the link to the website) and also notes that the GME Policies are posted to the GME

website (again noting the link). Exh. A (Catapano Decl.) ¶ 35.

       44.     The Resident Agreement further incorporates the policies, terms and conditions of

the Resident Manual into the agreement with which the resident further agrees to abide. Exh. A

(Catapano Decl.), Exhibit 3, p. 2 (GWU 000621) and Exhibit 4, p. 2 (GWU 000615).

       45.     The Resident Agreement further sets forth the resident physician’s obligations

including a requirement that the resident “use his/her best efforts, judgment and diligence in

fulfilling the duties, tasks, responsibilities and any other clinical and educational requirements . .

. in a professional and appropriate manner . . . .” and further states that the resident

“acknowledges that a failure to fulfill such requirements may result in disciplinary action,

including but not limited to termination, as outlined in the Resident Manual. Exh. A (Catapano

Decl.), Exhibit 3, p. 3 (GWU 000622) and Exhibit 4, p. 3 (GWU 000616).




                                             10
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 48 of 221



       46.       The Resident Agreement further requires the resident to “comply with duty hour

requirements of the . . . . (ACGME) . . .” and “with reporting duty hours as required by the

program and/or the GME Office.” Exh. A (Catapano Decl.), Exhibit 3, pp. 3-4 (GWU 000622 –

000623) and Exhibit 4, p. 4 (GWU 000617).

       47.       The Resident Agreement further states that the resident “shall obtain medical

clearance from a physician prior to participating in any clinical activities . . . .” Exh. A

(Catapano Decl.), Exhibit 3, p. 4 (GWU 000623) and Exhibit 4, p. 4 (GWU 000617).

       48.       The Resident Agreement further provides that GW SMHS may terminate the

agreement and the resident physician’s appointment for the following reasons: “(a) upon the

failure of the Resident Physician to comply with any of the terms and conditions of this

Agreement . . . or (c) as the result of disciplinary action conducted pursuant to the Resident

Manual. Resident Physician shall have no right to cure any violations of this Agreement.” Exh.

A (Catapano Decl.), Exhibit 3, p. 5 (GWU 000624) and Exhibit 4, p. 5 (GWU 000618).

                                       The Resident Manual

       49.       As noted herein, a copy of the Resident Manual was incorporated into the

Resident Agreements signed by Dr. Waggel. Exh. A (Catapano Decl.) ¶ 40.

       50.       Relevant portions of the Resident Manual are included with Exhibit A hereto,

(Catapano Decl.), as Exhibit 5 (GWU 000070 – 000117) dated July 1, 2014, and Exhibit 6

(GWU 000143 – 000190), dated July 1, 2015.

       51.       The Resident Manual sets forth the obligations of each resident physician stating

in relevant part that each physician is required:

                Clinical and Educational Requirements. To use his/her best efforts,
                 judgment and diligence in fulfilling the duties, tasks, responsibilities and
                 any other clinical and educational requirements, of whatever nature, in a
                 professional and appropriate manner, as assigned to the Resident

                                              11
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 49 of 221



                 Physician during the duration of the Program. Exh. A (Catapano Decl.),
                 Exhibit 5, p. 4 (GWU 000077) and Exhibit 6, p. 4 (GWU 000150).

                Policies and Procedures. To comply with all policies and procedures set
                 forth in the Manual, as well as the policies and procedures of all hospitals
                 or facilities at which he or she rotates. Id.

                Duty Hours. To comply with duty hour requirements of the Accreditation
                 Council for Graduate Medical Education (ACGME) and in accordance
                 with the institutional policy outlined in the Manual. Resident Physician
                 shall comply with reporting duty hours as required by the program director
                 and/or the GME Office. Exh. A (Catapano Decl.), Exhibit 5, p. 5 (GWU
                 00007) and Exhibit 6, p. 5 (GWU 000151).

                Dress code. To comply with the dress code set forth in the Manual. Id.

       52.       The Manual further reiterates that “[A]ll residents and programs must

comply with the ACGME duty hour requirements as outlined in the policy of Resident

Duty Hours and Work Environment in Section IX.,” Exhibit 5, p. 13 (GWU 000086);

Exhibit 6, p. 13 (GWU 000159), and notes that “[A] Duty Hour Hotline has been

established for anonymous reporting of resident duty hour violations. The hotline number

is 202-994-9760.” Id.

       53.       The Manual sets forth the requirement for residents to obtain medical

clearance before performing any clinical duties and states: “We must be strict about

compliance with this regulation in order to comply with D.C. law. It is the responsibility

of each Resident to ensure that this medical clearance is completed within the requisite

timeframes.” Exh. A (Catapano Decl.), Exhibit 5, p. 19 (GWU 000092) and Exhibit 6, p.

19 (GWU 000165).

       54.       The Manual further sets forth the employment benefits program, Exhibit 5,

pp. 28 - 31 (GWU 000101 – 104); Exhibit 6, pp. 29 - 32 (GWU 000175 – 178), including

a “Confidential Counseling” service as follows:


                                              12
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 50 of 221



               This no-cost counseling service helps you address stress, relationship and
               other personal issues you and your family may face. It is staffed by highly
               trained master’s and doctoral level clinicians who will listen to your
               concerns and quickly refer you to in-person counseling and other
               resources for stress, anxiety and depression, relationship/marital conflicts,
               problems with children, job pressures, grief and loss, and substance abuse.

                                        * * *

               Take advantage of these programs and much more by calling toll-free 855-
               705-2471 or visiting http://hr.gwu.edu/colonial-community.

Exh. A (Catapano Decl.), Exhibit 5, p. 29 (GWU 000102) and Exhibit 6, p. 30 (GWU 000176).

       55.     The Manual sets forth in detail the policies governing leave, including but not

limited to, sick leave, family and medical leave, temporary disability leave, and leave of absence.

Exh. A (Catapano Decl.), Exhibit 5, pp. 32 - 33 (GWU 000105 – 106) and Exhibit 6, p. 4 (GWU

000150).

       56.     The Manual further notes that temporary disability leave or other extended leave

may place a resident “out of cycle in completing the requirements of the training program” and

that funding for such residents must be made in advance of the academic year in which the time

will be made up. Exh. A (Catapano Decl.), Exhibit 5, p. 37 (GWU 000110) and Exhibit 6, p. 37

(GWU 000184).

       57.     The Manual further sets forth the policy as to persons with a disability per the

GW Office of Equal Employment Opportunity (the “EEO Office”) including the following:

               Residents Requesting an Accommodation
               The George Washington University’s commitment to equal employment
               opportunity and affirmative action includes a commitment to provide
               reasonable accommodations for residents’ religious obligations and for
               residents who are qualified individuals with disabilities pursuant to the
               Americans with Disabilities Act. Should a resident need an
               accommodation, he or she should contact the Office of Equal Employment
               Opportunity at (202) 994-9656 or fax (202) 994-9658. All requests for
               accommodations are kept in confidence to the extent feasible by law and
               practice.

                                            13
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 51 of 221




Exh. A (Catapano Decl.) ¶ 47; see also Exhibit 5 thereto, p. 43 (GWU 000116) and

Exhibit 6 thereto, p. 43 (GWU 000190). The 2015 Manual substituted an email link

(eeo@gwu.edu) for the fax telephone number. Id.

        58.   Reasonable accommodation under the Americans with Disabilities Act (the

“ADA”) encompasses a wide variety of things such as equipment modifications, job duty

restructuring, work site modification, or reassignment. Modification of employee work schedule

and flexible leave is also available as an accommodation under the ADA. Under the ADA an

employee may be provided flexible leave in instances where an employee with a qualifying

disability requires periodic time off for medical treatment. See Exhibit P, Declaration of Vickie

Fair, ¶ 4.

                Residency Training Program Policies and Procedures

        59.   The University Policy on Equal Opportunity protects all faculty, staff and students

against unlawful discrimination on a number of grounds, including disability. Exh. A (Catapano

Decl.), Exhibit 7 (GWU 000366 - 000368).

        60.   The policy specifically notes that “[T]o request disability accommodations,

students should contact the Office of Disability . . . . Employees and other members of the

university community should contact the Office of Equal Employment Opportunity and

Affirmative Action at (202) 994-9656 or eeo@gwu.edu.” Exh. A (Catapano Decl.), Exhibit 7, p.

2 (GWU 000367).

        61.   The University Disabilities Policy notes that in accordance with the ADA, Section

504 of the Rehabilitation Act, and other applicable federal, state, and local laws, and as

articulated in the University’s Equal Opportunity Statement, the University does not discriminate




                                           14
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 52 of 221



against any qualified individuals with a disability. Exh. A (Catapano Decl.), Exhibit 8, p. 2

(GWU 000067 – 000069).

        62.     The policy further specifically directs any faculty or staff seeking additional

information, “including a request for a reasonable accommodation on the basis of disability,” to

“refer to the Department of Equal Employment Opportunity website at http://hr.gwu.edu/eeo-

statement, or contact EEO at (202) 994-9656.” Id.

        63.     There are three ways that an employee at GW can request an accommodation: (1)

Directly apply through the GW EEO website, (2) referral from the Human Resources Office of

the employee’s department, or (3) referral from the University’s Benefits Administration

department in the event that the employee is ineligible for or has exhausted FMLA leave. The

directions for requesting an accommodation under the ADA are located on the EEO Office

homepage. The EEO Office homepage is easily accessible from the GW Faculty and Staff

homepage. Exh. P (Fair Decl.) ¶ 5.

        64.     The major function of the EEO Office is the handling of all requests for

reasonable accommodation under the ADA for all University employees and faculty. Exh. P

(Fair Decl.) ¶ 3.

        65.     Once an employee has applied for an accommodation directly or has been referred

through one of the Human Resources departments, the EEO Office handles the processing and

granting of that request. The employee’s supervisors, managers, and/or departmental Human

Resources directors are not responsible for the decision to grant or deny requested

accommodations. Once the EEO Office has determined that an employee has a qualifying

disability requiring accommodation, it works with the employee’s department to facilitate

whatever accommodation has been requested. Exh. P (Fair Decl.) ¶ 6.



                                           15
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 53 of 221



       66.     The GW Psychiatry Residency Program Policy on Resident Time Off and Leave

sets forth the terms and conditions for vacation, sick leave, educational/meeting leave, and

personal/family leave. Exh. A (Catapano Decl.), Exhibit 9 (GWU 000413 – 000419).

       67.      The policy states with particularity the requirements for notification for absence

on a regular work day, a didactic day, or a call day/night shift. Exh. A (Catapano Decl.), Exhibit

9, p. 3 (GWU 00415).

      68.      The policy further specifically advises with respect to personal/family leave, that

regardless of the length of leave involving missed call, i.e., clinical service and training, all such

time “must be made up in the course of the academic year to assure that the education provided

by on-call experience is not compromised.” Exh. A (Catapano Decl.), Exhibit 9, p. 4 (GWU

000416).

       69.     The leave policy further notifies residents that “[T]ime away from the residency

program for extended vacation leave, extended sick leave, FMLA, disability or any other reason

may result in a resident having to spend additional time in the program beyond the anticipated

date of completion. RRC [Residency Review Committee] and medical board requirements must

be met before a resident can be certified as having completed a training program.” Exh. A

(Catapano Decl.), Exhibit 9, p. 5 (GWU 000417).

       70.     The Resident Dismissal/Non-Renewal Policy grants the authority to the Program

Director consistent with the Academic Improvement Policy and the Resident Misconduct Policy

to dismiss a resident or not renew a resident’s contract prior to completion of training. Exh. A

(Catapano Decl.), Exhibit 10 (GWU 000441 – 000442).

       71.     The policy states that “[T]he program director may elect to dismiss a Resident or

not renew the Resident’s contract prior to completion of training due to: a. Failure to



                                             16
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 54 of 221



satisfactorily cure academic deficiencies, b. Misconduct, c. Failure to comply with any of the

terms and conditions of the Resident contract, GME policies, or code of conduct” and sets forth

the procedural and notice requirements for dismissal or non-renewal. Exh. A (Catapano Decl.),

Exhibit 10, p. 2 (GWU 000442).

        72.     The Resident Promotion Policy provides that “the decision to promote a Resident

to the next level of post-graduate training will be the decision of the residency program director

after review of the respective criteria outlined in the residency program’s policy on Resident

promotion.” Exh. A (Catapano Decl.), Exhibit 11, p. 2 (GWU 00507 – 000508).

        73.     The policy notes that the decision not to promote a resident “must be made in

compliance with the GMEC institutional policy for Academic Improvement” and sets forth the

procedure to be followed and the resident’s due process rights. Id.

        74.     The GME Academic Improvement Policy notes that residents should be provided

routine feedback, including “verbal feedback, rotational evaluations, summative evaluations, and

recommendations of a program’s Clinical Competency Committee.” Exh. A (Catapano Decl.),

Exhibit 12, p. 2 (GWU 000446 – 000451).

        75.     The policy provides for issuance of a “Letter of Deficiency” (“LOD”) where

routine structured feedback “is not resulting in a necessary improvement or that a deficiency is

significant enough to warrant something more than routine feedback . . . .” Id.

        76.     The purpose of an LOD is that it “provides the Resident with (a) notice of the

deficiency and (b) an opportunity to cure the deficiency.” Id.

        77.     The issuance of an LOD “does not trigger a report to any outside agencies such as

credentialing organizations, hospitals, or licensing boards . . . .” and if the resident “satisfactorily

resolves the deficiency and continues to perform acceptably thereafter, the period of



                                              17
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 55 of 221



unacceptable academic performance should not affect the Resident’s progress in the program.”

Id.

       78.     If, however, a resident “fails to satisfactorily cure the deficiency and/or improve

his/her overall performance to an acceptable level, the Program Director may elect to take further

action” consisting of a range of responses including non-promotion to the next PGY [post-

graduate year] level, repetition of a rotation, extension of the defined training period, denial or

credit for previous rotations, and dismissal from the residency program. Exh. A (Catapano

Decl.), Exhibit 12, p. 3 (GWU 000448).

       79.     The Academic Improvement Policy further sets forth the procedures to be

followed and the rights of review available to the resident in the event the Program Director

decides that a “reportable action” is to be taken, i.e., non-promotion to the next PGY level,

extension of the resident’s contract or training period, denial of credit for a previously completed

rotation, and/or termination of the resident’s participation in the Program. Id.

       80.     The Resident Misconduct Policy describes the behaviors constituting misconduct

and sets forth the procedure to be followed, and the resident’s due process rights, if an allegation

of misconduct is made. Examples of misconduct include dishonesty and abusive or disruptive

behavior. Exh. A (Catapano Decl.), Exhibit 13, p. 2 (GWU 000452 – 00456).

       81.     The Policy on Medical Clearance notes that under District of Columbia law each

individual involved in direct patient care “must have an occupational health clearance prior to the

starting date of clinical care, and then annually thereafter.” Exh. A (Catapano Decl.), Exhibit 14,

p. 1 (GWU 000474 – 000476).




                                             18
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 56 of 221



       82.     The policy specifically instructs that “[I]t is the responsibility of each Resident to

ensure that this health clearance is completed within the requisite timeframe” and then further

provides:

               New Residents who do not have their health clearance completed will not
               be permitted to begin their training program. All returning Residents are
               required to renew their health clearance annually. All returning Residents
               must complete the requisite annual health clearance at the GWUH
               Occupational Health Office by August 31 of the academic year or they
               will be suspended from clinical duties until medical clearance is obtained.
Id. (original emphasis).
       83.     The Code of Conduct in the Learning Environment (the “Code”) states that all

members of the academic medical community are “committed to promoting and maintaining the

highest standards of behavior in order to provide a healthy and safe learning environment and to

better serve society.” Exh. A (Catapano Decl.), Exhibit 15 (GWU 000429 – 000433).

       84.     The Code sets forth norms “intended to serve as guidelines for conduct for this

community” and states that failure to adhere to them “may result in disciplinary action under

applicable institutional policies.” Exh. A (Catapano Decl.), Exhibit 15, p. 1.

       85.     The first three norms set forth in the Code, each of which Plaintiff violated during

her tenure in the Program, are:

                       1.     HONESTY

               Honesty and integrity will be practiced by GW Professionals during all
               aspects of educational, research and clinical activities. GW Professionals
               will conduct themselves in an ethical and courteous manner.

                       2.     PROMISE-KEEPING

               Promise-keeping requires GW Professionals to fulfill commitments made
               at the beginning of any educational, research, and clinical activities. This
               includes attending required learning sessions, arriving on time, dressing
               appropriately and completing assigned tasks.



                                            19
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 57 of 221



                       3.   RESPECT FOR INSTITUTION, PROFESSION,
                       AND PATIENTS

                     In order to foster an environment of civility, GW Professionals will
               approach the educational, research, and clinical environments with mutual
               respect and respect for patients. This includes respect for race, religion,
               sexual orientation, disability, gender, age marital status cultural difference,
               political convictions and roles with the institution.

                    It is expected that GW Professionals will show respect and common
               courtesy for each other and patients in an environment free from
               harassment and discrimination, exploitation, verbal abuse, physical
               violence and intimidation in any form.

                     GW Professionals will strive to create a culture of safety and are
               committed to implementing changes that will promote a safe environment
               for patients and GW Professionals.

Exh. A (Catapano Decl.), Exhibit 15, p. 2.

       86.     In the Appendix to the Code, examples of “inappropriate” behavior are listed and

include, as to those violated by Plaintiff during her tenure in the Program, the following:

                      Making belittling or berating statements
                      Name calling
                      Using profanity or disrespectful language
                      Making degrading or demeaning comments regarding patients and
               their families, hospital personnel, other health professionals, other health
               professions and discipline specialties and/or the hospital
                      Making threats of retribution
                      Failing to return phone call, pages, or other messages
                      Being unavailable while on call or on duty without arranging for
               appropriate coverage
                      Being under the influence of alcohol or drugs or being otherwise
               unfit for participation in inpatient/client care, at work, or on call.
               Id. at p. 4 (GWU 000432).
       87.     The Dress Code Policy for Residents states that “[P]ersonal appearance is an

important component of professional demeanor. Each resident shall be expected to dress in a

manner which conveys a professional image and inspires confidence in patients and colleagues.”

Exh. A (Catapano Decl.), Exhibit 16 (GWU 000443).

                                             20
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 58 of 221



        88.     The policy notes that the GW medical community and affiliated institutions

“provide clinical service to a multi-cultural patient population, where clothing choices may

convey different meanings for different populations.” Id.

        89.     The policy sets forth “Specific Standards” including a statement that “[J]eans,

sport shirts, tee shirts, excessively short skirts . . . are inconsistent with a professional image.” Id.

        90.     The Social Media and Email Policy for School of Medicine and Health Sciences

notes that there is widespread use of social media by faculty, residents, students and staff and a

right to use them “as a medium of self-expression.” Exh. A (Catapano Decl.), Exhibit 17, p. 1

(GWU 000523 – 000527).

        91.     The policy further states, however, that “SMHS wishes to ensure that you

understand that you may be held accountable personally for your electronic statements and

representations.” Id.

        92.     The policy advises that individuals “are solely responsible for what you email or

post online,” id. at p. 2 (GWU 000524), and provides specific guidelines with which “faculty,

residents, students, and staff must comply” when engaged in social media or other online activity

including:

                6. Do not defame or otherwise discredit the products or services of GW,
                its physicians, affiliates or vendors.
Exh. A (Catapano Decl.), Exhibit 17, p. 3.
        93.     The policy further notes that [S]uspected violations of this Policy may be subject

to disciplinary action.” Exh. A (Catapano Decl.), Exhibit 17, p. 5 (GWU 000527).

                           Dr. Waggel’s Tenure in the Program

        94.     Dr. Waggel entered training in the GW Psychiatry Residency Training Program

on July 1, 2014. Exh. A (Catapano Decl.) ¶ 94.


                                               21
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 59 of 221



       95.    Despite being informed of the requirement to obtain a medical clearance before

beginning clinical duties on that day, however, Dr. Waggel failed to obtain the necessary

clearance. Exh. A (Catapano Decl.) ¶ 96.

       96.    As a result, she was removed from clinical duty on July 3, 2014. Exh. A

(Catapano Decl.) ¶ 97; see also Exhibit 18 thereto (GWU 0003419), Email dated July 3, 2014 at

8:42 a.m., Dr. Eindra Khin Khin to Mary Tucker.

       97.    Dr. Waggel could not return to her clinical training until sometime after July 9,

2014, when she submitted TB test results to complete the processing of her medical clearance.

Exh. A (Catapano Decl.) ¶ 98; see also Exhibit 19 thereto (GWU 003456), Email dated July 9,

2014 at 3:52 p.m., Dr. Waggel to Dr. Greene.

       98.    Issues with Dr. Waggel’s performance surfaced within her very first rotation in

the Program in July 2014. In a report to Department faculty member, Dr. Lorenzo Norris,

another Chief Resident, Stephanie H. Cho, M.D. reported that while she had some general

concerns about the intern class, she had the following detailed specific concerns about Dr.

Waggel:

              o Major lack of awareness of level of own abilities
              o Significant resistance to feedback and shows little improvement
                following constructive criticism
              o Significant deficits in Patient care:
              o Fails to recognize severity of threat to patient safety with specific
                errors
                 Pt was to be given >50 units Lantus due to out of control blood
                    sugars, but home oral diabetic medications had not been ordered
                    (as had been communicated and written in signout)
                 Fails to complete orders/documentation prior to leaving work and
                    does not ensure that it will be done by someone else
              o Does not foster productive collaboration in team environment
              o Demonstrates frequent unprofessional behaviors:
              o Cites specific residents as more enjoyable to work with compared to
                other specific residents



                                           22
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 60 of 221



              o Does not take responsibility for errors/near misses that are significant
                safety patient issues
              o When asked to help or to complete some patient care task (ie,
                prescriptions for a planned discharge) expresses open displeasure
              o Is openly disrespectful to other team members
                 Told staff to “think really hard” and “really try to not ask stupid
                    questions” (I told Shemika I would let you know about this.
                    Though Shemika thought it was funny, I think it is completely
                    inappropriate even in jest.)

Exh. A (Catapano Decl.), Exhibit 20 (GWU 000164 – 000165), Email dated July 31, 2014 at

11:29 p.m., Dr. Cho to Dr. Norris.

       99.    In clear violation of Program policy, Dr. Waggel failed to report for duty on

Monday, December 15, 2014, and failed to notify the attending physician, Aditi Malik, M.D.

Exh. A (Catapano Decl.) ¶ 100; see also Exhibit 21 thereto (GWU 003420 – 003421), Email

dated December 23, 2014 at 10:44 a.m., Ms. Crawford to Dr. Crone et al. and related emails.

       100.   The problems identified by Dr. Cho during Dr. Waggel’s first rotation in July

2014 continued. Exh. A (Catapano Decl.) ¶ 101.

       101.   Dr. Waggel’s attending physician for her rotation in November – December at

INOVA Fairfax Hospital, Aditi Malik, M.D., contacted Chief Resident Elizabeth L. Greene,

M.D., in late December to share the following concerns about Dr. Waggel’s performance on the

rotation:

              o       [Dr. Waggel] shows a lack of motivation, initiative, and interest in
              the care of her patients.
              o       She has been seen using her phone during meetings or
              conversations with patients and staff.
              o       She has been caught rolling her eyes during meetings or
              conversations with patients and staff.
              o       She comes to work wearing provocative clothing, such as tight
              pants. This has made staff uncomfortable to the point that they have had to
              ask you [Dr. Malik] to talk to Dr. Waggle about it.
              o       She sits in the resident room and doesn’t check in with you for
              rounds or meetings. There is a lack of communication from Stephanie, so
              that you’ve felt the need to track her down to see what she’s doing.

                                           23
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 61 of 221



              o       She shows up late daily.
              o       She leaves a note at the nurses’ station with patient assignments, as
              if she were the attending.
              o       She walks out of meetings without permission.

Exh. A (Catapano Decl.) ¶ 103; see also Exhibit 22 thereto (GWU 03426 – 003427), Emails

dated January 2, 2015 at 11:51 a.m., Dr. Levine on behalf of Dr. Greene to Dr. Aditi, and dated

January 16, 2015 at 1:00 p.m., Dr. Aditi to Dr. Greene (cc’s to Dr. Khin Khin, Dr. Catapano, Ms.

Anderson).

       102.   In her response, Dr. Malik noted that Dr. Cynthia L. Gauss was “having the exact

same issues with [Dr. Waggel] at this time” and stated further that “[Dr. Waggel’s] outpatient

supervisor Dr. [Cynthia G.] Cohen has also expressed concern to Dr. Gauss.” Id.

       103.   There were also favorable reports on Dr. Waggel from some of the attendings

with whom she interacted during the INOVA Fairfax rotation, such as the Neurology Chief, Dr.

Alissa Romano, and Dr. Saeed Alqahtani, Vascular Neurology. Exh. A (Catapano Decl.) ¶ 104.

       104.   Dr. Alqahtani stated, “I worked with her, she is very hard worker, team player,

and taking care of her patients.” Exh. A. (Catapano Decl.) ¶ 105; see also Exhibit 23 thereto

(GWU 001649), Email dated January 6, 2015 at 1:57 p.m., Dr. Alqahtani to Dr. Greene.

       105.   Dr. Romano commented “on record, prompt, no problem with her work.” Exh. A

(Catapano Decl.) ¶ 106; see also Exhibit 24 thereto (GWU 003422), Email dated January 6, 2015

at 8:33 p.m., Dr. Romano to Dr. Greene.

       106.   In a further conversation with Dr. Greene, however, Dr. Romano reported the

following regarding Dr. Waggel:

                   Great, excellent in terms of her clinical work with patients.
                   On time to work.
                   Did her work.
                   At times, she was “too comfortable.” [Dr. Romano] gave
                  me 2 examples of this:

                                           24
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 62 of 221



                      1. [Dr. Waggel] came to a party that was explicitly a
                         “Neurology only” party.
                      2. [Dr. Waggel] asked a Neurology attending to teach her
                         how to Instagram.

Exh. A. (Catapano Decl.) ¶ 107; see also Exhibit 25 thereto (GWU 001648), Email dated

January 13, 2015 at 5:16 p.m., Dr. Levine on behalf of Dr. Greene to Dr. Khin Khin, Dr.

Catapano, Ms. Anderson.

       107.   On Monday, March 2, 2015, Dr. Waggel started a rotation on the Internal

Medicine Unit (the “Green Team”). Exh. A. (Catapano Decl.) ¶ 109.

       108.   On Tuesday, March 3, 2015, Gary L. Little, M.D., Medical Director, George

Washington University Hospital, emailed to James M. Gehring, M.D., Internal Medicine

supervising attending for the Green Team, raising concerns about patient care and safety issues

on the March 2 night shift including, among others, coordination between the Green Team and

the ER, failure to carry out clinically significant orders, and inappropriate and unprofessional

communication. Exh. A. (Catapano Decl.) ¶ 110; see also Exhibit 26 thereto (GWU 003461),

Email dated March 3, 2015 at 6:39 p.m., Dr. Little to Dr. Gehring.

       109.   The email specifically noted: “Staphanie [sic] Waggel, MD placed an order for

PO Tylenol which clearly would not help a patient who needed a Dilaudid PCA. Multiple return

phone calls were unanswered.” Exh. A. (Catapano Decl.) ¶ 111; see also Exhibit 26 thereto.

       110.   Dr. Little’s email further noted several complaints including one which involved

Dr. Waggel “giving nurses information on the phone that clearly wasn’t true (‘medicine doesn’t

come to the ED’)” and others involving her “being disrespectful, lack of responsiveness, etc.”

Exh. A (Catapano Decl.) ¶ 119; see also Exhibit 28 thereto, pp. 1 – 2 (GWU 000957 – 000958).




                                           25
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 63 of 221



       111.    Dr. Gehring asked Jason M. Prior, M.D., another IM attending who was on duty

during the night shift on March 2 to help look into the matter, and Dr. Prior subsequently

reported to Dr. Little and to Dr. Gehring as follows:

                   A couple of things were likely coming into play. First, the team
                   was getting absolutely crushed and at one point was up to 30
                   patients while discharging another 6. Obviously that doesn’t
                   excuse any lack of response from anyone on the team but they
                   were definitely just trying to stay afloat with a lot of sick
                   people.

                   A larger part of the issue likely had to do with a brand new
                   psychiatry intern (Dr. Waggel noted below) who’s first day on
                   medicine was Monday. It became quickly apparent that she
                   was not at the level one would anticipate of an intern in March
                   and I already pulled the residents aside on Tuesday and asked
                   them to essentially treat her as an A1. She has a very odd
                   affect, I’ve already had to diffuse some patient complaints and
                   her medical knowledge is pretty poor. With time and education
                   she may get there but for right now I’ll also ask the residents to
                   not let her have sole control of the RF phone either. I think
                   beyond her lack of knowledge, she just doesn’t know the
                   details of medicine. The combination of it being her first day,
                   extremely busy and a bit odd with all of her interactions with
                   people probably didn’t help.

                                               * * *
                   Please let me know if I can help any further. We’re already
                   trying to institute some performance plans for Stephanie to
                   try to het her up to speed on medicine.

Exh. A (Catapano Decl.) ¶ 113; see also Exhibit 27 thereto (GWU 003460), Email dated March

4, 2015 at 3:20 p.m., Dr. Prior to Dr. Gehring, Dr. Little.

       112.    Dr. Prior’s efforts at improving Dr. Waggel’s performance were

unsuccessful, however. On Friday, March 6, 2015, the end of Dr. Waggel’s first week on

the Internal Medicine rotation, Dr. Prior reported to Jillian S. Catalanotti, M.D., Program

Director for the Internal Medicine Residency Training Program, and others, to say:




                                             26
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 64 of 221



                    I’m writing to everyone because the current situation on green
                    team cannot safely continue, in my opinion. The current
                    construct of the team started Monday 3/2. Since that time, I’ve
                    fielded complaints form patients, nursing, consulting services,
                    the ED and received an email from Gary Little regarding issues
                    with the team. I know many of you have already received some
                    of these complaints as well. I’ve spoke to the residents and the
                    primary offending intern in question all week but last night was
                    the last straw. It’s gone beyond personal interactions and a lack
                    of knowledge and affected patient safety. Fortunately, nothing
                    happened, but I wanted to alert everyone to the issues, outline
                    some performance plans I’ve put in place on the team as well
                    as strategize how to possibly move forward.

Exh. A. (Catapano Decl.) ¶¶ 114 – 115; see also Exhibit 28 thereto (GWU 000957 – 000959),

Email dated Friday, March 6, 2015 at 1:42 p.m., Dr. Prior to Dr. Catalanotti (cc: Dr. Gehring, Dr.

Fiser, Dr. Zweig, Ms. Anderson, Dr. Mehta).

       113.    Dr. Prior’s email (nearly three pages of single-space text) recounted a series of

events regarding Dr. Waggel, documenting in detail serious deficiencies in professionalism,

interactions with nursing and consulting services, medical knowledge, and patient safety. Exh. A

(Catapano Decl.) ¶ 116.

       114.    On the first day of the rotation, Dr. Prior fielded complaints from nursing and

patients regarding Dr. Waggel’s interactions with them and “patients were upset stating she

didn’t know what she was talking about.” Exh. A (Catapano Decl.), Exhibit 28, p. 1 (GWU

000957 – 000959).

       115.    On the second day, it became apparent that Dr. Waggel “had a hard time

evaluating patients, presenting, knowing what medications did, etc. She didn’t know the basics

of medicine.” Id.

       116.    On Wednesday, Dr. Prior received the aforementioned email from Dr. Little. Exh.

A (Catapano Decl.) ¶ 119.



                                             27
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 65 of 221



        117.     Thursday was initially uneventful, but at 5:00 p.m., several incidents occurred

involving potentially disastrous outcomes for patients as to which it was clear Dr. Waggel was

totally ignorant as to the medical issues. Exh. A (Catapano Decl.) ¶ 120; see also Exhibit 28

thereto, p. 2.

        118.     Dr. Prior continued in the March 6 email to set forth remediation and safety plans

he had implemented immediately to address Dr. Waggel’s deficiencies and proposed other

alternatives to try to assure both ongoing training for Dr. Waggel and patient safety. Exh. A

(Catapano Decl.), Exhibit 28, p. 2.

        119.     The final option Dr. Prior presented was to “[C]onsider removing Stephanie from

medicine and have her complete her medicine months at a later date, to be determined based on

re-evaluation.” Id.

        120.     Dr. Prior concluded the email stating, “I’m happy to discuss this further with

anyone. I want [Dr. Waggel] to learn and experience medicine as part of her psychiatry

curriculum while ensuring the safety and care of patients.” Exh. A (Catapano Decl.), Exhibit 28,

p. 3.

        121.     On Friday night, Assistant Program Director, Dr. Eindra Khin Khin, spoke with

Dr. Waggel regarding the concerns on the Green Team. Exh. A (Catapano Decl.) ¶ 127.

        122.     Dr. Khin Khin reported that “[I]nterestingly enough, [Dr. Waggel] had no idea

there were concerns.” Exh. A (Catapano Decl.) ¶ 129; see also Exhibit 31 thereto (GWU

001639), Email dated Sunday, March 8, 2015 at 10:28 a.m.

        123.     Dr. Khin Khin summarized Dr. Waggel’s comments as follows:

               1) The residents on the team have “gone out of their way” to tell her
                  that she has been doing a great job.




                                             28
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 66 of 221



              2) From the conversation with the attending, Dr. Prior, the main
                 point she took was that he told her she could ask for help
                 whenever she needs it from the team and himself.

Exh. A (Catapano Decl.), Exhibit 31.

       124.     Dr. Khin Khin further reported that when she told Dr. Waggel the concerns that

the attending (Dr. Prior) had laid out briefly, “[Dr. Waggel] was completely in shock.” Id.

       125.     Dr. Khin Khin then discussed the issues of Dr. Waggel not being self-aware, the

need to assist her to work on fixing the problem, other structural aspects of the Program that

might have contributed to Dr. Waggel’s problems, and then proposed to bring Dr. Waggel in

early the following week to address these matters in a timely manner. Id.

       126.     Dr. Khin Khin closed the email with the observation:

                   Solution-wise, the option of pulling her from medicine service is quite
                   premature to me. Especially if she doesn’t even have any idea that she
                   is underperforming that much. I think the first step is coming up with a
                   remediation-like plan to help her improve (reading, oversight, etc).
                   Stephanie not doing medicine is not going to make her become better
                   at medicine.

Id.

       127.     On Sunday, March 8, 2015, Dr. Catalanotti wrote to Dr. Khin Khin concerning

Dr. Waggel noting that she was “concerned about the professionalism deficits [Dr. Prior] has

mentioned” and suggesting that a “serious conversation about professionalism should come from

her own program directors” and inquiring if this were something Dr. Catapano and Dr. Khin

Khin could do. Exh. A (Catapano Decl.) ¶ 135; see also Exhibit 33 thereto (GWU 1595), Email

dated Sunday, March 8, 2015 at 11:13 p.m.

       128.     Dr. Catapano and Dr. Khin Khin met with Dr. Waggel on Monday, March 9,

2015, to further review Dr. Prior’s concerns and his plan of remediation to allow Dr. Waggel to

continue training while still ensuring patient safety. Exh. A (Catapano Decl.) ¶ 136.

                                            29
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 67 of 221



       129.    Dr. Catapano reported back to Dr. Catalanotti about the meeting, noting that Dr.

Waggel had generally received positive evaluations through the rotations up to that point, but Dr.

Catapano had received vague negative feedback about her through other means. Exh. A

(Catapano Decl.) ¶ 138; see also Exhibit 34 thereto (GWU 001630), Email dated March 9, 2015

at 4:06 p.m., Dr. Catapano to Dr. Catalanotti.

       130.    Dr. Catapano went on to note that Dr. Waggel reported getting “nothing but

positive feedback from her team and attendings, including in the current instance, where she

states that the senior residents of her team have told her she is functioning on-par, and she did

not receive any negative feedback from Dr. Prior.” Exh. A (Catapano Decl.), Exhibit 34 thereto.

       131.    She also noted that Dr. Waggel’s lack of insight into issues might be the result of

“indirect or vague” criticism which she “misses” and that people generally “like [Dr. Waggel]

and are reluctant to give her hard feedback.” Id.

       132.    Dr. Catapano went on to state that she believed the best course of action would be

for Dr. Waggel “to stay on the team, get concrete feedback and explicit goals, and see how she is

able to respond to that” and that she would be meeting regularly with Dr. Waggel in the coming

weeks to keep an eye on her. Exh. A (Catapano Decl.) ¶¶ 143 – 144; see also Exhibit 34 thereto.

Dr. Catalanotti responded stating that she would pass this information on to the oncoming new

attending, Nupur Mehta, M.D., “so he knows to be very concrete with [Dr. Waggel] and to

contact you with any concerns about her hearing feedback.” Exh. A (Catapano Decl.) ¶ 147; see

also Exhibit 35 thereto (GWU 001611), Email dated March 9, 2015 at 6:35 p.m., Dr. Catalanotti

to Dr. Catapano, Dr. Khin Khin.

       133.    Approximately a week later Dr. Catapano emailed Dr. Catalanotti to inquire about

Dr. Waggel’s progress on the rotation. Exh. A (Catapano Decl.) ¶ 148; see also Exhibit 36



                                            30
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 68 of 221



thereto (GWU 001593), Email dated March 17, 2015 at 12:35 p.m., Dr. Catapano to Dr.

Catalanotti.

        134.    Dr. Catalanotti responded by cc’ing Dr. Mehta who then responded by email

stating that “[W]e have a good remediation plan in place and things are fairly stable.” He also

said that he had been providing Dr. Waggel direct feedback 1-2 times per week. Exh. A

(Catapano Decl.) ¶¶ 149 – 150; see also Exhibit 37 thereto (GWU 001592 – 001593), Email

dated March 19, 2015 at 12:36 p.m., Dr. Mehta to Dr. Catalanotti (cc: Dr. Catapano).

        135.    Dr. Mehta noted, however, that he continued “to be worried about her ability to

function autonomously, especially with complicated medical patients.” Exh. A (Catapano Decl.),

Exhibit 37 thereto, p. 1.

        136.    Dr. Mehta also stated there were matters of “ongoing concern” that he asked Drs.

Catalanotti and Catapano not to share with Dr. Waggel as he would do so directly, including:

                    1) she makes questionable decisions (choice of antibiotics, route)
                    2) her documentation is spotty and often inaccurate (e.g., carrying
                       over previous plans from many days ago
                    3) she lacks attention to detail (does not order follow-up tests/labs
                       when instructed)
                    4) she is at times very defensive and passive-aggressive. While then
                       latter is understandable as I feel she is trying hard and wants to
                       improve, she can respond to feedback in a more mature way.

Id. at pp. 1 – 2.

        137.    By email about two hours later, Dr. Waggel responded to an email from Dr. Khin

Khin that morning requesting a meeting within the next day or so. In the email, Dr. Waggel said

that she could meet the next day and reported: “The past two weeks have been much better. Dr.

Mehta said that I am much different than the email [Dr. Prior’s email report of Friday March 6,

2015 at 1:42 p.m. to Dr. Catalanotti et al.] portrayed me to be. He said that if I continue this way

he will let everyone know that I am not as described in the email.” Exh. A (Catapano Decl.) ¶

                                            31
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 69 of 221



153; see also Exhibit 38 thereto (GWU 001617), Email dated March 19, 2015 at 2:28 p.m., Dr.

Waggel to Dr. Khin Khin (cc: Dr. Catapano).

       138.    Following Dr. Waggel’s response to Dr. Khin Khin, Dr. Catapano reached back

out to Dr. Mehta noting that “[M]y sense from [Dr. Waggel] is that she believes she’s doing

much better, and that sounds like it is true, but a pattern I have noticed with her is that she tends

to be very ‘all-or-nothing’ in hearing feedback . . . .” Exh. A (Catapano Decl.) ¶ 154; see also

Exhibit 39 thereto (GWU 001609), Email dated March 20, 2015 at 8:16 a.m., Dr. Catapano to

Dr. Mehta.

       139.    Dr. Catapano also encouraged Dr. Mehta to be explicit in his feedback about his

continued reservations. Exh. A (Catapano Decl.) ¶ 155.

       140.    On March 26, 2015, Dr. Khin Khin had a follow-up meeting with Dr. Waggel

who reported that she had met with Dr. Mehta on Friday, March 20, and that she had received

the following feedback from Dr. Mehta:

                   1) That she is fine and doing well.
                   2) That the only thing [Dr. Mehta] recommended that she
                      change/improve is that, when she puts in an order for I&Os, she
                      should tell the nurse directly instead of putting it in the computer,
                      as the computer order will disappear once a particular nurse views
                      it and won’t stay in the system.

Exh. A (Catapano Decl.) ¶ 157; see also Exhibit 40 thereto (GWU 001591 – 001592), Email

dated March 30, 2015 at 5:35 p.m., Dr. Khin Khin to Dr. Catapano, Dr. Catalanotti, Dr. Mehta.

       141.    Dr. Mehta responded to this email with surprise, stating “I must admit, I am very

taken aback by this. Hard for me to believe she didn’t catch the four things I listed, which I

outlined to her very clearly.” Exh. A (Catapano Decl.) ¶ 158; see also Exhibit 40 thereto, p. 1,

Email dated March 30, 2015 at 7:50 p.m.




                                             32
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 70 of 221



       142.     Dr. Mehta went on to say that another Internal Medicine attending, Shant

Ayanian, M.D., had also provider Dr. Waggel with “very direct feedback” the prior week, and

speculated that verbal feedback might “not be the best way to provide her with constructive and

actionable feedback.” Exh. A (Catapano Decl.) ¶¶ 159 - 160; see also Exhibit 40 thereto, p. 1.

       143.     Dr. Mehta concluded his reply by stating, “She’s right in that she is doing better

but frankly came from a very poor baseline. It’s interesting to note that she is only hearing the

positive aspects (i.e., the improvement), but is missing the significant gaps and tactical guidance

I (and I’m sure [Dr. Ayanian]) provided her. Please stay tuned.” Exh. A (Catapano Decl.) ¶ 161;

see also Exhibit 40 thereto, p. 1

       144.     On March 31, 2015, Dr. Mehta submitted a further report based on a conversation

with Dr. Ayanian. He said that it appeared that while Dr. Waggel was not able to verbalize

feedback, she was actually acting on what had been discussed and appeared to be significantly

improved in her performance although her “main weakness continues to be medical fund of

knowledge” as to which Dr. Ayanian thought she was also improving somewhat. Exh. A

(Catapano Decl.) ¶ 162; see also Exhibit 41 thereto (GWU 001590), Email dated March 31, 2015

at 1:11 p.m., Dr. Mehta to Drs. Catapano, Khin Khin, and Catalanotti.

       145.     On April 3, 2015, just days after the email from Dr. Mehta, Dr. Waggel reported

to Drs. Catapano and Khin Khin on a meeting she had with Dr. Ayanian, stating:

              I just wanted to update you that I had feedback with my new
              attending Dr. Ayanian said [sic] he did not notice any deficits in my
              medical knowledge. His feedback was to be more confident. This is
              similar to the feedback from Dr. Mehta. Please let me know if/when
              you want to meet in the future.

Exh. A (Catapano Decl.) ¶ 164; see also Exhibit 42 thereto (GWU 001589), Email dated April 3,

2015 at 12:46 p.m.



                                            33
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 71 of 221



       146.    On April 13, 2015, Dr. Waggel was seen by Dr. Marc Shepard, M.D. for a

complaint of left lower quadrant abdominal pain. See Exhibit D, MedStar Health Records

(000005 – 000007).

       147.    Dr. Shepard ordered “CT Scan Abdomen & Pelvis w/ and w/o Contrast.” Id. at p.

000006.

       148.    On April 14, 2015, Dr. Ayanian submitted a favorable report regarding Dr.

Waggel’s performance during the preceding three weeks to Dr. Mehta and Dr. Catapano. Exh. A

(Catapano Decl.) ¶ 165.

       149.    On April 15, 2015, Dr. Waggel presented to Washington Radiology Associates

for the CT ordered by Dr. Shepard. The imaging revealed a “complex cystic lesion in the

midportion of the left kidney measuring 1.5 cm.” See Exhibit E, George Washington University

Hospital Records (GWUH 000071 – 000072). A MRI was recommended for better evaluation.

Id. at p. 000072.

       150.    On April 24, 2015, Dr. Waggel presented to Washington Radiology Associates

for the recommended “MRI Abdomen Without and With Contrast.” Exh. E, George Washington

University Hospital Records (GWUH 000073).

       151.    The results of the imaging were:

               1. 1.3 cm left renal mid pole mildly complex cyst classified as Bosniak
                  type 2F. Short term follow-up by CT or MRI in 6 months is
                  recommended.
               2. 0.5 cm hepatic cyst.

Id.

       152.    In late April or early May, 2015, Dr. Waggel’s colleagues became aware that she

was having difficulty on the Internal Medicine rotation apparently as a result of pain she was




                                           34
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 72 of 221



having and was having some imaging studies done related to a kidney cyst that was being further

worked up. Exh. A (Catapano Decl.) ¶ 166; see also Exh. C (Emejuru Decl.) ¶ 11.

       153.     Dr. Waggel reportedly began discussing her workup and diagnosis with members

of the Internal Medicine team and actually brought copies of her imaging to the hospital with a

request that a resident or other physician review them for a second opinion. Exh. A (Catapano

Decl.) ¶ 168.

       154.     Dr. Waggel was seen by a urologic surgeon, Dr. Jason Engel, on May 1, 2015,

with a chief complaint of “complex renal cyst.” See Exhibit F, Urologic Surgeons of

Washington Records (USOW 000001 – 000003).

       155.     Dr. Engel noted her history as follows:

                Mr. [sic] Waggel is a 28-year-old woman who is apparently a doctor who will
                [sic] looking into being a psychiatrist. She was having some vague abdominal
                pain and Dr. Shepard obtained a CT scan which showed her to have a left sided
                mildly complex cyst. An MRI was asked for and gotten. It is only 1.3 cm. It is in
                the mid pole when I see it. It is read as Bosniak IIF. This type of cyst carries with
                it perhaps a risk of malignancy of 3% - 5%. There is separation in the middle.

Id. at p. USOW 000001.

       156.     Dr. Engel also noted that urinalysis showed heavy microscopic hematuria and

ordered cytology. Id.

       157.     Dr. Engel also noted the following:

                As for the cyst, although she would be in favor of me removing it, that really
                would be overly aggressive even [sic] it would give her a piece of mind. A lesion
                this small is actually difficult to remove and a cystic lesion may pop. I see no
                indication for a biopsy.

Id.

       158.     The results of the cytology came back on May 5, 2015, and were normal. Dr.

Engel determined that Dr. Waggel’s hematuria was a likely a chronic problem unrelated to the



                                             35
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 73 of 221



cyst and provided her with antibiotics and instructed her to return in three months for a repeat

scan. Id. at p. USOW 000002.

       159.   On May 1, 2015, Dr. Catalanotti reached out to Dr. Catapano to report that she

and Dr. Waggel’s supervising attending physician were concerned that Dr. Waggel’s own health

problems were causing her not to be able to focus as much on work and to be flustered and

requested that someone close to Dr. Waggel check in on how she was doing. Exh. A (Catapano

Decl.) ¶ 170; see also Exhibit 44 thereto, Email dated May 1, 2015 at 2:33 p.m., Dr. Catalanotti

to Drs. Catapano and Khin Khin.

       160.   Dr. Catalanotti also commented that the clinical attending also hoped to give Dr.

Waggel direct feedback “about avoiding inappropriate language on rounds (calling a patient an

asshole in front of students and the team)” but perhaps not that very day. Exh. A (Catapano

Decl.) ¶ 171; see also Exhibit 44 thereto (GWU 001586), Email dated May 1, 2015 at 2:33 p.m.,

Dr. Catalanotti to Drs. Catapano and Khin Khin.

       161.   Another Internal Medicine physician, Dr. Chad Henson, reported similar concerns

to Dr. Catapano that same evening, stating that Dr. Waggel was being worked up for a renal

mass requiring a number of appointments as well as procedures, was in a great deal of pain

requiring narcotic medications, and had recently reportedly been unable to admit a patient while

on call stating she was in too much pain. Exh. A (Catapano Decl.) ¶ 172; see also Exhibit 45

thereto (GWU 001587), Email dated May 1, 2015 at 8:16 p.m.

       162.   Dr. Henson felt it might be prudent to have Dr. Waggel take a few days off work

to have a medical evaluation for fitness for duty, noting that his main concern was Dr. Waggel’s

physical and mental health and a desire to make sure she felt supported from both programs.

Exh. A (Catapano Decl.), Exhibit 45.



                                           36
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 74 of 221



       163.    In the days immediately thereafter, Dr. Catapano met with Dr. Waggel to review

her circumstances and discuss the concerns of the Chief Resident and attending faculty that her

ongoing pain and pain medication during her workup as well as apparent lack of focus raised

issues of the quality of her work and patient safety. Exh. A (Catapano Decl.) ¶ 179.

       164.    Dr. Catapano discussed with Dr. Waggel that it is part of a physician’s obligation

to be aware of their own health status and to refrain from presenting themselves for clinical

duties if there are any concerns that they are not safe to do so – this is a key element of

professionalism. Exh. A (Catapano Decl.) ¶ 180.

       165.    Dr. Catapano also explained that physicians do become sick or get ill and need to

alert others in advance and withdraw from clinical duties until they are safe to return – there is no

shame, stigma, or penalty attached because it is the right thing to do. Exh. A (Catapano Decl.) ¶

181.

       166.    In the meeting, Dr. Catapano also specifically recommended that Dr. Waggel take

leave at least briefly to address her medical issues and be prepared to come back to work healthy

and safe. Exh. A (Catapano Decl.) ¶ 182.

       167.    Dr. Catapano further specifically discussed with Dr. Waggel whether she should

submit to a fitness for duty examination and discouraged her from doing that because the process

is somewhat adversarial in that it is better not to have a formal medical evaluation declaring that

one is medically unfit for duty. Exh. A (Catapano Decl.) ¶ 183.

       168.    Dr. Catapano reiterated to Dr. Waggel that the far better route would be to take

leave which was the ordinary, reasonable thing to do and would not have any negative

consequences for her record. Exh. A (Catapano Decl.) ¶ 184.




                                             37
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 75 of 221



       169.    Dr. Waggel insisted that she was fine, that she would be able to continue to

perform the duties of her training, and rejected the suggestion that she should take leave. Exh. A

(Catapano Decl.) ¶ 185.

       170.    During the month of May on the Internal Medicine rotation, Dr. Suzanne Chang

served as Dr. Waggel’s attending physician. See Exhibit K, Declaration of Suzanne W. Chang,

M.D., ¶ 7.

       171.    Dr. Chang noted that several red flags regarding Dr. Waggel’s well being and

professionalism were raised soon after her return from a brief medical leave at the beginning of

the month. Exh. K (Chang Decl.) ¶ 9.

       172.    Dr. Chang reported receiving at least three complaints from patients who reported

she had been unprofessional or “mean” and the patients had become very angry or offended by

her interaction with them. While Dr. Waggel’s behavior did not result in any objectively bad

outcomes, the poor communication resulted in delays in care, delays in discharges, and overall

loss of trust of the medical team which took significant extra work for the rest of the team to

correct. Exh. K (Chang Decl.) ¶ 10.

       173.    On at least one occasion, Dr. Waggel presented herself for duty dressed

inappropriately (wearing a very form-fitting and high-cut skirt) and Dr. Chang received several

comments from other staff and patients about her attire. Exh. K (Chang Decl.) ¶ 11.

       174.    Dr. Chang also received reports from Dr. Waggel’s team members that she

seemed angry, was cursing loudly in the team room in front of the students and within earshot of

patients, and her overall behavior seemed to be escalating. Exh. K (Chang Decl.) ¶ 12.

       175.    On May 14, 2015, while on the Internal Medicine rotation, Dr. Waggel appeared

for pre-rounds, but was apparently sleepy and behaving strangely. When it came time for rounds,



                                           38
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 76 of 221



Dr. Waggel was not present and Dr. Chang, aware that Dr. Waggel was having medical

appointments and related difficulties, became concerned that perhaps she had gotten sick or

collapsed. Exh. K (Chang Decl.) ¶ 13.

       176.     For an hour or so, various members of the medical team searched everywhere for

Dr. Waggel. Exh. K (Chang Decl.) ¶ 14.

       177.     Dr. Waggel was eventually found by the Chief Resident asleep in a call room. Id.

       178.     Dr. Waggel subsequently stated that she had been out drinking late the night

before and that morning had confused her Ativan and Ritalin and taken benzodiazepines

accidentally before coming to work. Id.

       179.     Dr. Waggel was sent home for the day because she was not safe to be

participating in patient care and was asked not to return to the Internal Medicine service. Exh. K

(Chang Decl.) ¶ 15.

       180.     Later that afternoon, Dr. Catalanotti called Dr. Catapano to inform her that

because of the recent issues related to Dr. Waggel’s performance on the Internal Medicine

service, which had culminated in the event of that morning, the medicine team had determined

that Dr. Waggel could no longer practice safely and they had asked her to no longer work on the

service. Exh. A (Catapano Decl.) ¶ 186.

       181.     Later that evening, Dr. Waggel emailed Dr. Catapano regarding the morning

incident. She alleged:

              I mistook my Ritalin pills for Ativan. It didn’t kick in until about an hour into
              work when I got so sleepy. That’s why I never take Ativan during work. I
              take them when I get anxious about my kidney or when I have to get a
              procedure done. It also didn’t help that I didn’t have my ADHD meds on
              board either. I feel so stupid and awful about the whole thing.

Exh. A (Catapano Decl.) ¶¶ 192 – 193; see also Exhibit 48 thereto (GWU 001582).



                                              39
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 77 of 221



       182.   Later in the evening on May 14, 2015, Dr. Catapano emailed the Associate

Program Director, the Chief Residents, and the Program Coordinator to notify them that the

Internal Medicine team considered Dr. Waggel unfit to work and had asked her not to return to

the team, and that she would be discussing options with Dr. Waggel the following day. Exh. A

(Catapano Decl.) ¶ 194; see also Exhibit 49 thereto (GWU 001582).

       183.   Dr. Catapano’s email continued:

              [I] think by far her best option is to take a medical leave, as was
              recommend [sic] to her two weeks ago. Looking forward, this will impact
              her promotion date (she’ll need to make up 1+ weeks of medicine) and
              when she can start her pgyii rotations – once we get a scope for the
              duration of leave [Dr. Greene] and [Dr. Emejuru] will have to work on
              that.

Exh. A (Catapano Decl.), Exhibit 49.

       184.   The following morning, May 15, 2015, Dr. Catapano also asked Ms. Anderson,

the Program Coordinator, to figure out the necessary paperwork to be completed to put Dr.

Waggel on medical leave starting either that day (a Friday) or the following Monday. Exh. A

(Catapano Decl.), Exhibit 50 (GWU 001583), Email dated May 15, 2015 at 9:49 a.m., Dr.

Catapano to Ms. Anderson.

       185.   On May 15, 2015, Dr. Catapano met with Dr. Waggel about these events and

again recommended to her that she should take leave to address whatever issues she was having

that were affecting her performance in the residency Program and resulting in her dismissal from

the Internal Medicine rotation. Exh. A (Catapano Decl.) ¶ 197.

       186.   Dr. Waggel agreed to accept the recommendation and arranged for either leave or

personal vacation time to be away from the Program from May 18 to June 7, 2015. Exh. A

(Catapano Decl.) ¶ 198.




                                           40
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 78 of 221



       187.   On May 18, 2015, the GME Director, Ms. Mary Tucker, emailed the Ms.

Kimberly Vanlewen, the administrator of the George Washington University Leave of Absence

Program (the “LOA Program”), with notice that Dr. Waggel had requested three weeks of

temporary disability leave for medical reasons for the period May 18 to June 8, 2015. See

Exhibit O, Declaration of Kimberly Vanlewen, ¶¶ 2, 11.

       188.   The LOA Program is a division within the University’s Employee Benefits Office

that handles requests for leaves of absence by University employees, including but not limited to

requests made under the Family and Medical Leave Act (“FMLA”). Exh. O (Vanlewen Decl.) ¶

3.

       189.   After reviewing Dr. Waggel’s employment information, however, Ms. Vanlewen

discovered that due to her date of hire, she was ineligible for FMLA leave. FMLA requires that

an employee have 12 months of service before being eligible for leave, which Dr. Waggel had

not accomplished at that point. Exh. O (Vanlewen Decl.) ¶ 12.

       190.   Later on May 18, 2015, Ms. Vanlewen sent Dr. Waggel an email notifying her

that her request for FMLA leave had been received, but that she had not been employed long

enough to qualify for leave and would not be eligible until June 16, 2015. Exh. O (Vanlewen

Decl.) ¶ 13; see also Exhibit 2 thereto, Email dated May 18, 2015, Ms. Vanlewen to Dr. Waggel.

       191.   Ms. Vanlewen also advised Dr. Waggel that if she believed she had a qualifying

disability, she could request a reasonable accommodation such as medical leave under the ADA.

Exh. O (Vanlewen Decl.) ¶ 14.

       192.   Ms. Vanlewen further provided Dr. Waggel with a phone number and email for

the EEO Office and actually recommended that she apply for ADA leave through that office.

Exh. O (Vanlewen Decl.) ¶ 15.



                                           41
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 79 of 221



       193.    Ms. Tucker also provided the same information to Dr. Waggel. Exh. O

(Vanlewen Decl.) ¶ 16.

       194.    Dr. Waggel elected not to pursue an accommodation through the EEO Office for

medical leave related to a disability as recommended by Ms. Tucker and Ms. Vanlewen. Exh. P

(Fair Decl.) ¶ 12.

       195.    On May 18, 2015, Dr. Catalanotti forwarded to Dr. Catapano an email report from

Dr. Chang regarding Dr. Waggel’s performance on the rotation in May 2015. Exh. A (Catapano

Decl.) ¶ 200; see also Exhibit 52 thereto, (GWU 001580 – 001581), Email dated May 18, 2015 at

9:17 a.m., Dr. Catalanotti to Dr. Catapano.

       196.    Dr. Chang reported that when she first arrived on service, Dr. Waggel had been

away for two days of medical leave, had been given an opportunity to take a longer leave of

absence but told the chiefs she felt ready to be back, and arrived back on service the third day Dr.

Chang was on duty. Exh. A (Catapano Decl.), Exhibit 52, p. 1.

       197.    Dr. Chang then recounted in detail the events on the morning of May 14 noting

that when the Chief Resident found Dr. Waggel she was apparently impaired or intoxicated and

that Dr. Waggel had since stated she was “out drinking late the night before, and that morning

had confused her Ativan and Ritalin and taken benzos accidentally prior to coming to work.” Id.

       198.    Dr. Chang commented that Dr. Waggel “was clearly not fit/safe to be

participating in patient care,” was sent home after promising to see her therapist that afternoon,

and was asked not to return to the medicine service. Id.

       199.    Dr. Chang concluded:

                     Overall my concerns are a) that Stephanie is not emotionally or
                     physically fit to be working and needs to take a leave of absence for
                     her own safety and well-being, and b) that Stephanie is not currently
                     fit to take care of patients and poses a significant risk to patient safety.

                                               42
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 80 of 221



                  I understand she has been going through a challenging time and this
                  should be taken into consideration, but ultimately, if she is not safe to
                  be taking care of patients right now she needs to be removed from the
                  hospital until she gets treatment or counseling and is re-evaluated
                  carefully and deemed safe. At this point I don’t feel this has happened.

Id. at p. 2 (GWU 001581).

       200.   Dr. Chang also prepared a formal evaluation of Dr. Waggel’s May 2015

performance on the Internal Medicine rotation. Exh. K (Chang Decl.), Exhibit 2.

       201.   At that point in her training, Dr. Waggel should have been performing at least at

Level 2 in all categories as well as in Level 3 in one or more of the categories. Dr. Waggel did

not score at Level 3 in any of the categories and was scored Level 1 (“Resident cannot perform

this skill even with assistance”) in three fundamental skill sets – patient interviews to obtain

pertinent facts, shared decision-making with patients, and stabilizing patients with urgent or

emergent medical conditions followed by transfer to a higher level of care when necessary. Exh.

K (Chang Decl.) ¶ 27.

       202.   The rating for Dr. Waggel’s Overall Clinical Performance on the rotation was

“Lowest – Inadequate performance/Significant Deficiencies.” Exh. K (Chang Decl.) ¶ 28.

       203.   Dr. Waggel was eventually granted leave from May 18 to June 7, 2015. Exh. A

(Catapano Decl.) ¶ 208.

       204.   On June 1, 2015, while still on leave, Dr. Waggel emailed Dr. Catapano to clarify

her leave and confirm that she would be on medical leave May 18 to June 7 and that Dr. Waggel

was voluntarily giving up her vacation days at the end of June. Dr. Catapano responded advising

that she would inform Dr. Waggel of the number of Internal Medicine rotation days she would

need to make up from her recently discontinued rotation. Exh. A. (Catapano Decl.) ¶ 209; see

also Exhibit 53 thereto (Plaintiff Bates 409), Email dated May 26, 2015 at 10:12 a.m.



                                           43
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 81 of 221



       205.     On June 1, Dr. Waggel emailed Dr. Catapano a second time stating:

              Dear Dr. Catapano,

              I just wanted to check in. I went on a vacation to Italy with my friend from
              medicine Faryal and I am going to visit my family. My grandfather is having
              his 89th birthday party so I will be seeing many of my relatives. I am doing
              well. Have a nice day!

              Stephanie

Exh. A (Catapano Decl.), Exhibit 54 (GWU 001393), Email dated June 1, 2015 at 1:51

p.m., Dr. Waggel to Dr. Catapano.

       206.     During Dr. Waggel’s leave, Dr. Catapano worked to re-schedule her Internal

Medicine makeup week with Dr. Catalanotti and her Chief Residents, Dr. Wesley Fiser and Dr.

Jessica Davis, and was able to get Dr. Waggel to be slotted to work with Dr. Ayanian, the

attending with whom she had previously had good rapport. Exh. A (Catapano Decl.) ¶ 212; see

also Exhibit 55 thereto (GWU 001579, 001573 – 001574).

       207.     When Dr. Waggel returned from leave, she began her Emergency Medicine

Rotation at the George Washington University Hospital Emergency Department (the ED) on

June 8, 2015, which lasted until June 30, 2015. See Exhibit G, Declaration of Colleen Roche,

M.D., ¶ 4.

       208.     The Emergency Medicine team had been made aware of Dr. Waggel’s health

issues, and the Chief Resident, Dr. Katie Byrd, reached out to Dr. Waggel prior to her beginning

the rotation to inquire about dates for medical appointments in order to properly modify her

schedule. Exh. G (Roche Decl.) ¶¶ 6 – 7.

       209.     Dr. Waggel was scheduled for 14 shifts over her three weeks in the Emergency

Medicine rotation, which was less than the normal rotation of 20 shifts over four weeks that

other non-ED residents are generally assigned. Exh. G (Roche Decl.) ¶ 5.

                                            44
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 82 of 221



       210.    10 of Dr. Waggel’s 14 shifts were scheduled for overnight such that she had time

during the day to attend medical appointments. Exh. G (Roche Decl.) ¶ 8.

       211.    The Emergency Medicine Residency Training Program Director, Dr. Colleen

Roche, noted that as soon as Dr. Waggel began the rotation, it became clear that she had

significant deficits in her medical knowledge and was far behind where she should have been in

that regard compared to other non-ED residents. Exh. G (Roche Decl.) ¶ 14.

       212.    The ED rotation was at the end of Dr. Waggel’s intern year, but at best she

exhibited the level of medical knowledge that would have been expected from a beginning

intern. Exh. G (Roche Decl.) ¶ 15.

       213.    On June 10, 2015, Dr. Waggel was scheduled to work a shift in the ED beginning

at 7:00 a.m., but she did not appear for work at the scheduled time. Exh. G (Roche Decl.) ¶ 20.

       214.    When Dr. Waggel did not arrive, Dr. Roche and other members of the team on

shift in the ED that day began calling, texting, and emailing her with no response. They

attempted to contact her numerous times over the following hours to no avail. Exh. G (Roche

Decl.) ¶21.

       215.    Dr. Roche then checked with all member of the team to determine whether Dr.

Waggel had alerted anyone that she would not be at work that day and discovered that she had

not, nor had she contacted any of her colleagues in an attempt to find coverage for the shift. Exh.

G (Roche Decl.) ¶ 25.

       216.    Dr. Roche reached out to Mary Tucker, Director of Graduate Medical Education,

for help in locating Dr. Waggel. Exh. G (Roche Decl.) ¶ 22.

       217.    After several hours, Dr. Waggel was reached by phone and stated that she was not

feeling well that day and decided not to come to work. Exh. G (Roche Decl.) ¶ 23.



                                            45
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 83 of 221



       218.    Finally, after further conversation, Dr. Waggel agreed to come to work for the rest

of her shift. Exh. G (Roche Decl.) ¶ 24.

       219.    According to Dr. Roche, Dr. Waggel had been made aware of the protocol for

requesting off in advance for scheduled appointments and for finding coverage for an unexpected

need for an absence, such that her actions on June 10 were a clear violation of the protocol

established in the ED. Exh. G (Roche Decl.) ¶¶ 26 – 27.

       220.     On June 10, 2015, Dr. Waggel was seen by Dr. Thomas Jarrett, urologist at

George Washington University Medical Faculty Associates, for a second opinion on her cyst.

See Exhibit H, Declaration of Thomas Jarrett, M.D., ¶ 3; see also Exhibit 1 thereto (MFA 0001

– 0003), Jarrett Office Note.

       221.    From his review of the imaging, Dr. Jarrett discerned features of the cyst that

pushed it closer to a classification of a Bosniak III cyst, which had an increased risk of becoming

malignant (30-50%). Exh. H (Jarrett Decl.) ¶ 4.

       222.    Based on that classification, Dr. Jarrett recommended to Dr. Waggel that, while it

was not emergent, she should have the cyst surgically removed. Exh. H (Jarrett Decl.) ¶ 5.

       223.    Dr. Jarrett also told Dr. Waggel that it would not be unreasonable to follow the

cyst via standard surveillance protocol via repeat imaging to see if changes in the size or

character occurred over the following six months to one year. Id.

       224.    Dr. Waggel stated that she did not like the idea of any small chance of cancer and

expressed the desire for surgery to remove the cyst. Id.

       225.    In accordance with Dr. Waggel’s wishes, based on Dr. Waggel’s young age,

overall healthy state, and the small size and peripheral nature of the cyst, Dr. Jarrett

recommended a laparoscopic partial nephrectomy. Exh. H (Jarrett Decl.) ¶ 6.



                                            46
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 84 of 221



        226.    Dr. Jarrett further advised Dr. Waggel that she would likely be out of work for

about two weeks with a return to full duty in about a month after the surgery if all went well.

Exh. H (Jarrett Decl.) ¶ 8.

        227.    Dr. Jarrett advised Dr. Waggel that because the surgery did not need to be done

emergently, she could have time to think about it and to coordinate with her residency program

as to when she could take time off from residency over the following three months. Exh. H

(Jarrett Decl.) ¶ 7.

        228.    The following day, June 11, Dr. Waggel emailed Dr. Catapano stating “[she]

need[ed] a nephrectomy sooner rather than later. Dr. Jarrett (chair of urology) said I should only

need about two weeks off.” Exh. A (Catapano Decl.) ¶ 221; see also, Exhibit 60 thereto (Plaintiff

Bates 418), Email dated June 11, 2015 at 7:23 a.m., Dr. Waggel to Dr. Catapano.

        229.    Dr. Catapano assured Dr. Waggel that she would have the full support of the

Program with respect to her request for leave based on whatever date her surgeon selected for the

surgery and her recovery time, which Dr. Waggel had already indicated would be about two

weeks.” Exh. A (Catapano Decl.) ¶ 223.

        230.    Dr. Catapano also advised Dr. Waggel to communicate her schedule needs with

Dr. Emejuru so that he could coordinate her schedule with that of the other PGY2s regarding her

upcoming sick leave. Exh. A (Catapano Decl.) ¶ 224.

        231.    On June 12, 2015, Dr. Waggel texted Dr. Emejuru the following at 5:16 p.m.:

                I’m in bed. Have to get my kidney taken out soon. Dr. Catapano said I can
                go to second year and make up the week of medicine later but she told me
                to talk to you about the week I have left about emed.

Exh. C (Emejuru Decl.) ¶ 13; see also Exhibit 1 thereto (Plaintiff Bates 1111), Screen shot of

text messages starting June 12, 2015 at 5:16 p.m.



                                           47
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 85 of 221



       232.    On June 15, 2015, Dr. Emejuru spoke to Dr. Waggel on the telephone and she

stated that she would like to plan to take medical leave for the surgery in mid-July, to make up

her required week of Emergency Medicine (“EM”) rotation the first week of July, and to make

up her Internal Medicine (“IM”) rotation the first week in August. Exh. C (Emejuru Decl.) ¶ 14.

       233.    On June 16, 2015 at 5:34 p.m., Dr. Waggel sent an email to the Chief Residents

on the EM service (with a cc to Dr. Emejuru and Dr. Catapano) stating that she was “getting a

nephrectomy the second week of July” and inquired if she could perform the one week of EM

rotation that she needed to make up during the first week of July before her surgery. Exh. C

(Emejuru Decl.) ¶ 15; see also Exhibit 2, thereto (Plaintiff Bates 424), Email dated June 16, 2015

at 5:34 p.m., Dr. Waggel to EM Chiefs.

       234.    Dr. Catapano responded to Dr. Waggel’s email stating the EM Chiefs should

disregard the email and again requested that Dr. Waggel contact Dr. Emejuru to work out her

schedule, noting that they would need to make arrangements for Dr. Waggel’s medical leave and

then determine the rest of her schedule. Exh. C (Emejuru Decl.) ¶ 16.

       235.    Dr. Emejuru followed up with Dr. Waggel requesting specific information for her

surgery, including the actual dates she needed leave as well as the date of surgery and the

expected recovery time so that he could work with her to develop an appropriate schedule. Exh.

C (Emejuru Decl.) ¶ 18; see also Exhibit 4 thereto (GWU 001385), Email dated June 17, 2015 at

10:52 a.m., Dr. Emejuru to Dr. Waggel.

       236.    On June 19, 2015, Dr. Waggel emailed Dr. Emejuru providing the information

requested including the actual dates of the leave (Monday, July 20 to Monday, August 3), the

date of the surgery (July 20) and the expected recovery time out of work (two weeks), and also

attached a portion of her urology surgeon’s office note explaining the need for the procedure



                                           48
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 86 of 221



(removal of Bosniak III cyst). Exh. C (Emejuru Decl.) ¶ 20; see also Exhibit 5 thereto (GWU

001386 – 001387), Email dated June 19, 2015 at 2:03 p.m. and attachment.

       237.   With the information about the surgery, Dr. Emejuru arranged for Dr. Waggel to

complete her Internal Medicine rotation the week of July 13 – 19, with July 19 as an off day, and

Dr. Ayanian as the supervising attending. Exh. C (Emejuru Decl.) ¶¶ 23 – 24; see also Exhibit 6

thereto (GWU 03567), Email dated June 22, 2015 at 1:34 p.m., Dr. Emejuru to Dr. Jessica Davis.

       238.   Dr. Emejuru next arranged for Dr. Waggel to make up the time for her ED

rotation July 1 – 7, 2015, before the surgery. Exh. C (Emejuru Decl.) ¶¶ 26 – 27; see also

Exhibit 7 thereto (GWU 001569), iPhone message dated June 22, 2015 at 13:33, Dr. Emejuru to

EM Chiefs.

       239.   Based on Dr. Emejuru’s work, the Program had arranged for Dr. Waggel to

complete her EM rotation July 1 – 7 and her IM rotation from July 13 – 19 (with the 19th off) so

she could go on her medical leave July 20 – August 3 and, if all went well, she could then return

to her regularly scheduled rotation in August. Exh. C (Emejuru Decl.) ¶ 28.

       240.   Dr. Waggel did not express any disagreement with the proposed schedule and

thanked Dr. Emejuru for his work in arranging her schedule. Exh. C (Emejuru Decl.) ¶¶ 33 – 34;

see also Exhibit 11 thereto (Plaintiff Bates 1115), Screen shot of text messages starting July 2,

2015 beginning at 1:24 p.m.

       241.   On June 24, 2015, Dr. Roche emailed Dr. Catapano regarding Dr. Waggel’s

continued struggles in the ED due to her lack of medical knowledge. She stated as follows:

              Just so you know, she is struggling a lot clinically in the ED. I know that the
              practice of EM [emergency medicine] is a lot different than the practice of
              psychiatry, but her clinical knowledge/practiced is not up to par with what we
              would expect from an intern. I am not sure how that information translates to you,
              but you should know. I will try to get you more specifics, but I have received
              multiple comments about her poor clinical performance. I worked in the ED with

                                           49
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 87 of 221



               her yesterday, but she was being covered by another attending. She seemed to
               want to do a good job, but my sense is that she was so far behind because she was
               limited by her clinical knowledge. Let me know if I can help in any way, but I can
               see that she is not going to be an easy learner…

Exh. G (Roche Decl.), Exhibit 1.

       242.    The senior ED residents who worked closely with Dr. Waggel attempted to

address these concerns with her through informal feedback during her rotation. Exh. G (Roche

Decl.) ¶ 19.

       243.    Dr. Catapano also received communication from Dr. Cathy Crone, a faculty

member sited primarily at Inova Fairfax Hospital, with a minor proposed edit to a draft Letter of

Deficiency regarding the June 10 ED shift incident, followed by further comments on issues

regarding Dr. Waggel’s lack of professionalism during an inpatient psychiatry rotation there,

including a disrespectful attitude toward her assigned supervising attending physician. Exh. A

(Catapano Decl.); ¶ 244; see also Exhibit 69 thereto (GWU 001203), Email dated June 30, 2015

at 5:03 p.m., Dr. Crone to Dr. Catapano.

       244.    Dr. Waggel’s PGY2 year began on July 1, 2014. Exh. A (Catapano Decl.),

Exhibit 4 (GWU 000614 – 000619).

       245.    As part of the PGY2 didactic curriculum, Dr. Waggel was enrolled in a

Introduction to Psychodynamic Thought class taught by Dr. Cheryl Collins, a volunteer faculty

member. See Exhibit I, Declaration of Cheryl Collins, M.D., ¶¶ 2, 10.

       246.    The first meeting of the class was July 9, 2015. Dr. Waggel did not attend the

class and did not provide Dr. Collins with advance notice of her need to miss the class. Exh. I

(Collins Decl.) ¶ 10.

       247.    Dr. Collins noted that Dr. Waggel’s absence was surprising because Dr. Waggel

had told her by email that she would be present in class. Exh. I (Collins Decl.) ¶ 11.

                                            50
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 88 of 221



       248.    Dr. Waggel did not provide Dr. Collins with an explanation for her absence until

August 2, 2015, when she emailed to apologize for missing class for an undisclosed

“emergency” and said that she was under the impression that someone else had informed Dr.

Collins. Exh. I (Collins Decl.) ¶ 12; see also Exhibit 2 thereto.

       249.    Dr. Catapano emailed Dr. Waggel on July 9 to inquire about her health and

upcoming surgery, to inform her that they would need to conduct her semi-annual evaluation and

clarify her graduation date once it was determined how long she would actually be out on leave,

and that she would receive a Letter of Deficiency for the June 10 ED shift incident which she

would need to address with Program faculty member, Dr. Allen Dyer. Exh. A (Catapano Decl.)

¶¶ 245 – 247; see also Exhibit 70 thereto (Plaintiff Bates 689 – 690), Email dated July 9, 2015 at

3:54 p.m., Dr. Catapano to Dr. Waggel.

       250.    Dr. Catapano assured Dr. Waggel that the Letter of Deficiency was not reportable,

i.e., would not be disclosed to a licensing board or future employer as long as the issue was dealt

with and not repeated. Exh. A (Catapano Decl.) ¶ 248.

       251.    Dr. Waggel responded to Dr. Catapano’s email stating, “Thank you for checking

in. We can meet whenever you have time but I should probably not miss any of my medicine

time though. I have a doctor’s excuse for that day and I will be happy to talk about it with Dr.

Dyer after my surgery. Have a nice evening.” Exh. A (Catapano Decl.), Exhibit 70 thereto.

       252.    It was clear from Dr. Waggel’s response that she did not appreciate that the issue

arose out of her failure to notify anyone in advance that she was not going to show up for clinical

duty. A doctor’s excuse was no explanation of or justification for this clear departure from

professional standard. Exh. A (Catapano Decl.) ¶ 251.




                                             51
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 89 of 221



       253.   On July 13, 2015, after learning of Dr. Waggel’s failure to appear for Dr. Collins’

class, Dr. Emejuru emailed her stating that he was “sure [it] was a pretty important appointment

with your surgery coming up and it may have been difficult to schedule it at another time,” but

that she needed to alert attending and faculty when she needed to miss class unexpectedly. Exh.

C (Emejuru Decl.) ¶¶ 39 – 41; see also Exhibit 14 thereto (Stephanie Waggel Supp. Prod. [Oct.]

130 of 466), Email dated July 13, 2015 at 2:08 p.m., Dr. Emejuru to Dr. Waggel.

       254.   Dr Emejuru reminded Dr. Waggel “that residents are not allowed to schedule any

personal appointments or therapy patients during 8am-5pm on Thursdays during didactics. This

is a rule for all PGY-II-IV residents.” Exh. C (Emejuru Decl.) ¶ 42; see also Exhibit 14 thereto.

(original emphasis).

       255.   Dr. Waggel responded to Dr. Emejuru’s email as follows:

              I was actually very upset that I was given such a hard time about going to
              this appointment. One should be understanding I’m having major surgery
              and likely I have cancer. I had to fill out my Living Will and get a power
              of attorney. I also had to meet with the anesthesiologist at very short
              notice. This time was the only time available to do this and I explained
              that. It’s not as if I chose for this to happen to me. I will [sic] feel a huge
              lack of support.

Exh. C (Emejuru Decl.), Exhibit 14. (emphasis added).

       256.   According to Dr. Emejuru, no one gave Dr. Waggel any difficulty – much less “a

hard time” – about going to the pre-surgery appointment. She did not advise anyone in the

Program that she had the appointment or make a request for sick leave or other personal time off.

She simply went to the appointment and no showed for didactics after telling Dr. Collins she

would attend. Exh. C (Emejuru Decl.) ¶ 45.




                                            52
          Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 90 of 221



          257.   On Saturday, July 18, Dr. Waggel held a “Kidney Party” at her apartment to

celebrate her impending surgery. Exh. C (Emejuru Decl.) ¶ 46; see also Exhibit 15 thereto

(GWU 001383), Email dated July 14, 2015 at 11:39 a.m.

          258.   On July 20, 2015, Dr. Waggel underwent a robotic-assisted laparoscopic partial

nephrectomy performed by Dr. Jarrett at the George Washington University Hospital to remove

the cyst on her left kidney. Exh. H (Jarrett Decl.) ¶ 11; see also Exhibit 2 thereto, the dictated

operative report for the procedure.

          259.   Dr. Jarrett removed the entire cyst in a specimen measuring 3 x 2 x 1.5 cm and

submitted it to pathology for review. Exh. H (Jarrett Decl.) ¶ 13.

          260.   Pathology determined that the cyst measured 1.6 x 1.4 x 1.4 cm, and based on

immunohistochemistry stains and morphology was given the diagnosis of clear cell renal cell

carcinoma. Exh. H (Jarrett Decl.) ¶ 14; see also Exhibit 4 thereto, GWUH Surgical Pathology

Report.

          261.   Under guidelines published by the American Urological Association (“AUA”), in

light of the complete excision of the cyst, the size and location of the cyst, and the pathological

diagnosis, there was no further adjuvant treatment such as radiation or chemo therapy that was

either indicated or necessary. The recommendation for follow up care under the AUA guidelines

was once-a-year imaging with a chest x-ray and either a CT scan or MRI of the abdomen for

three years. Exh. H (Jarrett Decl.) ¶ 15.

          262.   On July 21, 2015, the day after Dr. Waggel’s surgery, Dr. Emejuru texted her

stating, “Hope all is well Steph,” she responded, “It is! Thanks,” and he responded further

hoping she did well on the recovery unit. Exh. C (Emejuru Decl.) ¶ 48; see also Exhibit 17

thereto (Plaintiff Bates 1117), Screen shot of text messages starting July 21, 2015 at 1:05 p.m.



                                            53
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 91 of 221



        263.    Dr. Waggel was discharged from the hospital on July 22, 2015, with instructions

to contact Dr. Jarrett in 5-7 days to schedule a follow-up appointment. Exh. H (Jarrett Decl.) ¶

16.

        264.    On July 24, 2015, Dr. Waggel and Dr. Catapano had the following text message

exchange:

                Jul 24, 2015, 1:31 pm

                Hi Dr. C I wanted you to know Dr. Jarrett called and said it was clear cell
                carcinoma but he’s pretty sure it’s all gone 

                Jul 24, 2015, 3:39 pm

                Hi Stephanie, thanks for sharing your news. I’m so glad he thinks it’s all
                out of you. How is your recovery going?

Exh. A (Catapano Decl.), Exhibit 73 (Plaintiff Bates 1084), Screen shots of text messages

beginning July 24, 2015 at 1:31 p.m., Dr. Waggel to Dr. Catapano

        265.    Dr. Waggel also texted Dr. Emejuru on July 24 stating, “Guess who had cancer by

probably doesn’t anymore. This gal!” Exh. C (Emejuru Decl.), Exhibit 18 (Plaintiff Bates 1118).

        266.    On July 28, 2017, Chair of the GW SMHS Department of Psychiatry and

Behavioral Sciences, Dr. James Griffith emailed Dr. Waggel the following:

                Stephanie, I did not hear about your surgery until it had already happened.
                I am so sorry that you needed to go through this, but I understand that you
                had no surgical complications, and that this is expected to be curative. I do
                hope that is the case and that you heal quickly.”

Exh. N (Griffith Decl.) ¶ 29; see also Exhibit 1 thereto (Plaintiff Bates 723), Email dated July 28,

2015 at 10:38 p.m., Dr. Griffith to Dr. Waggel.

        267.    Dr. Waggel responded to Dr. Griffith’s email as follows:

                I was very glad to receive your well wishes. Everything points to a good
                prognosis. I’m feeling much better and was able to visit with family. I’m
                pretty excited to get back to work especially because I will finally be on a

                                             54
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 92 of 221



              psychiatry rotation. I have been on medicine rotations since February.
              Thank you very much for thinking about me.

Exh. N (Griffith Decl.), Exhibit 1 thereto.

       268.   Dr. Catapano texted Dr. Waggel again on July 29, 2015 to inquire about her

recovery and received the following response:

              Jul 29, 2015, 6:03 pm
              Hi Dr. Catapano I’m feeling a little sick actually I’m debating on whether
              to go to the ER or not. I think I might wait because I’m afebrile and I have
              an appointment with my oncologist tomorrow at 830.
              I’ve been looking into working with our GME to help make it easier for
              residents to get a medical work up in the future
              I think I’m really lucky that I am at GW and in the psych program which I
              imagine is particularly good at getting residents time off. I cannot imagine
              what may have happened if I were in a program like surgery somewhere
              and pushed off my work up like I was initially planning to do. Apparently
              clear cell does not respond to chemo or radiation so it is really scary how
              close I came to waking. But I think if there were specific written
              guidelines it would help other residents in the future.
              I am just going to type up some suggestions such as making sure each
              resident knows exactly to inform if they are going to leave and to make
              sure they get coverage. When I was in the ED the other resident who I
              asked to cover me and said yes did not come in so I almost missed my
              appointment. I’m not going to complain about anything I’m just going to
              make sure some of the hurdles I went through are addressed in case
              another resident gets sick with a chronic illness in the future.
              Thank you for keeping in touch with me. Dr. Griffith emailed me too
              which I thought was really nice. I will let you know how my appointment
              goes tomorrow.
              And as for coming up with some guidelines in the event another resident
              has a chronic issue that needs work up over a period of many months—I
              am not going to complain about any particular thing that happened to me
              (although if you read my paper from our first didactic session you are
              aware that one of the third year medicine residents gave me a very hard
              time) I am just going to propose some solutions that will make it easier for
              a sick resident and also ensure the safety of that resident’s patients if they
              need to step out for an hour or two.



                                              55
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 93 of 221



               Doctors naturally want to put others first so I think they have some outside
               encouragement they would be more likely to address their own health
               If you have any thought or want to meet with me depending on how my
               appointment goes tomorrow I may be able to speak with you Thursday or
               Friday. Thanks again for checking with me.
Exh. A (Catapano Decl.), Exhibit 74 (Plaintiff Bates 1084 – 1090), Screen shots of text

messages beginning July 29, 2015 at 6:03 p.m. (emphasis added).

       269.    On July 30, 2015, Dr. Waggel was seen at the George Washington University

Department of Hematology/Oncology, by Dr. Robert Siegel, for evaluation of her renal cell

carcinoma diagnosis. See Exhibit J, Declaration of Robert S. Siegel, M.D., ¶ 3.

       270.    Dr. Siegel discussed his diagnostic impression with Dr. Waggel and agreed that

she had had a localized Renal Cell Carcinoma, clear cell type and had undergone a successful

partial nephrectomy. Exh. J (Siegel Decl.) ¶ 4.

       271.    Dr. Siegel advised Dr. Waggel based on all of the information available and the

low stage of her tumor, that the surgery she had received should be curative. Exh. J (Siegel

Decl.) ¶ 5.

       272.    Dr. Siegel also recommended to Dr. Waggel that she be evaluated by genetic

screening for Von Hippel-Lindau syndrome, i.e., an inherited disorder characterized by the

formation of tumors and fluid-filled cysts in different parts of the body which may be either

noncancerous or cancerous. Exh. J (Siegel Decl.) ¶ 6.

       273.    At the end of the July 30, 2015 office visit, the plan of care for Dr. Waggel was

for a repeat kidney CT scan in four months, a referral for genetic screening, a follow up visit

with Dr. Jarrett, and a return follow up visit with Siegel on November 11, 2015, one week after

the CT scan. Exh. J (Siegel Decl.) ¶ 7.




                                            56
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 94 of 221



       274.    Dr. Waggel returned from her leave for surgery and recovery and resumed her

training on August 3, 2015 with a night call shift on 6 South, the inpatient psychiatry unit at GW

Hospital. Exh. A (Catapano Decl.) ¶ 266.

       275.    She had been scheduled for night call duty upon immediately returning, because it

is generally less demanding than other shifts and can provide significant over night rest time.

Exh. C (Emejuru Decl.) ¶ 51.

       276.    Dr. Waggel saw her urologist, Dr. Jarrett, on August 5, 2015, for a follow-up

appointment, at which time he told her “there is an excellent prognosis from this” and “we then

went over the imaging follow-up recommended by the AUA with yearly imaging of the chest

and abdomen.” He also said that the genetic testing recommended by Dr. Siegel would be

worthwhile given her young age, but he did not expect any significant findings from the testing.

Exh. H (Jarrett Decl.) ¶ 20.

       277.    On August 5, 2015, Dr. Catapano met with Dr. Waggel for her semi-annual

review, at which time she informed Dr. Waggel that she was above Milestones in Teaching but

that she was far below Program requirements in Patient Care and Professionalism and reviewed

with her specific instances regarding those evaluations. Exh. A (Catapano Decl.) ¶ 270.

       278.    Dr. Catapano also discussed the substance of her earlier email that Dr. Waggel

was receiving a Letter of Deficiency regarding the June 10 no show for the ED shift and

reiterated the importance of advance notice to professional colleagues who were relying on her

presence when she would be unable to show up for any reason and also discussed her problems

with inter-personal communications as elements of professionalism that she needed to improve.

Exh. A (Catapano Decl.) ¶ 271.




                                           57
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 95 of 221



       279.   Dr. Catapano presented Dr. Waggel with the Letter of Deficiency, dated July 15,

2015, and discussed with her again that this was not intended as a punitive measure but as

remediation in the form of formal written notice with an opportunity and expectation for

resolving the issue and moving on. Exh. A (Catapano Decl.) ¶ 272; see also Exhibit L, July 15

Letter of Deficiency to Dr. Waggel.

       280.   Dr. Catapano explained further that if the issue identified – failure to provide

notice to others that she would not be able to attend to duties so alternative arrangements could

be made by those otherwise relying upon her – were resolved and there were no further

occurrences, the matter would be over and there would be no further consequences. Exh. A

(Catapano Decl.) ¶ 273.

       281.   Dr. Waggel was to meet with Dr. Allen Dyer within two weeks to discuss

strategies to prevent future lapses in professionalism and provide him with contact information

for supervising physicians on upcoming rotations to obtain attendance reports for further review

by the CCC. Exh. A (Catapano Decl.) ¶ 274.

       282.   Dr. Catapano advised Dr. Waggel, however, that failure to resolve the issue or

further instances of similar behavior could lead to further action including termination from

training. Exh. A (Catapano Decl.) ¶ 275.

       283.   Along with the Letter of Deficiency Dr. Catapano also provided Dr. Waggel with

a copy of the GW Academic Improvement Policy. Exh. A (Catapano Decl.) ¶ 276.

       284.   On August 6, 2015, Dr. Catapano received a lengthy email from Chief Resident

Elizabeth Greene outlining a number of instances of very unprofessional communications and

conduct directed by Dr. Waggel towards other members of the health care team on 6 South. Exh.




                                           58
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 96 of 221



A (Catapano Decl.) ¶ 279; see also Exhibit 78 thereto (GWU001657 – 001658), Email dated

August 6, 2015 at 9:32 a.m., Dr. Greene to Dr. Kels et al.

       285.    One instance was reported by an intern, Dr. Carolyn Roberts, who reported that

Dr. Waggel spoke to a Physician Assistant in a very disrespectful way during a consult call, and

when the PA asked for her last name so she could report Dr. Waggel’s behavior, Dr. Waggel

refused to give her last name and “engaged in a back and forth of ‘I’ll give you my last name if

you give me your last name.’” Exh. A (Catapano Decl.) ¶ 280.

       286.    The PA immediately called back and got Dr. Roberts on the phone, who gave the

PA Dr. Waggel’s last name which upset Dr. Waggel very much and left the intern concerned that

she would have difficulty with Dr. Waggel for the remainder of the rotation. Id. at ¶ 281.

       287.    When Dr. Greene called the PA to get additional information it was noted that Dr.

Waggel had later apologized for her actions, but that it was not the first negative interaction the

PA team had encountered with Dr. Waggel as there had been incidents with her on two previous

rotations. Exh. A (Catapano Decl.) ¶¶ 282 – 283.

       288.    The PA reported that they found Dr. Waggel to be unprofessional in her attitude

and not helpful, including hanging up the phone abruptly, not properly identifying herself on the

phone, and generally was “not helpful” with consults. Exh. A (Catapano Decl.) ¶ 284.

       289.    Dr. Greene got the sense that the PA was reporting that Dr. Waggel created a

divisive atmosphere, which was why she brought the incident to her attention as well as that of

Dr. Vanessa Torrez Llenza and Dr. Baiju Gandhi, two attendings on the inpatient psychiatric

service. Exh. A (Catapano Decl.) ¶¶ 285, 287.

       290.    The events reported by Dr. Greene had occurred on the afternoon of August 5,

very shortly after Dr. Catapano had just met with Dr. Waggel for her semi-annual review and



                                            59
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 97 of 221



specifically discussed her sub-standard performance in Professionalism and Inter-Personal

Communications and the need for her to focus on improving in those areas. Exh. A (Catapano

Decl.) ¶ 288.

        291.    On August 6, 2015, Dr. Emejuru met with Dr. Waggel to discuss the incident.

Exh. C (Emejuru Decl.) ¶ 61.

        292.    On August 7, 2015 at 1:38 p.m., Dr. Waggel sent an email to Dr. Catapano, other

members of the administrative team and Drs. Gandhi and Torres stating she had become aware

of an email “about a situation that occurred on Wednesday” and said she “wanted to follow up

and let you what [sic] that day.” Exh. A (Catapano Decl.) ¶ 291; see also Exhibit 79 thereto

(GWU 001513), Email dated August 7, 2015 at 1:38 p.m., Dr. Waggel to Dr. Catapano, et al.

        293.    Dr. Waggel reported that she “had a stressful conversation with the orange team

which I felt was unprofessional,” but it was clear from her email that Dr. Waggel was not the one

who thought the exchange was unprofessional, rather she became angry at the person who called

her out on the conversation by reporting her name to the PA. Exh. A (Catapano Decl.) ¶¶ 292,

295.

        294.    Dr. Waggel’s lack of self-observation again was very concerning to the faculty.

Id. at ¶ 297.

        295.    Dr. Waggel also texted Dr. Emejuru on August 7 to complain that he did not alert

her to Dr. Greene’s email in their meeting the day before, to express frustration that Dr. Greene

had not approached her first before sending the email, and to complain that she apologized to the

PA and called you But still I get in trouble.” Exh. C (Emejuru Decl.) ¶¶ 62, 65; see also Exhibit

22 thereto (Plaintiff Bates 1123 – 1127), Screen shot of text messages starting August 7, 2015 at

9:54 a.m.



                                           60
           Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 98 of 221



       296.     Dr. Emejuru apologized for not alerting her to the email and that Dr. Greene did

not discuss the incident with her first, but noted that it could be “common thing that could

happen with you being in the position you are in” referring to the reports of her behavior. Exh. C

(Emejuru Decl.) ¶ 63; see also Exhibit 22 thereto.

       297.     Dr. Emejuru also assured Dr. Waggel that she was not “in trouble” and that she

“should come with a mindset of people trying ultimately see [sic] you do well, succeed, etc.

NOBODY wants to see anything else.” Exh. C (Emejuru Decl.) ¶¶ 64, 67; see also Exhibit 22

thereto.

       298.     In the early hours of August 11, while on an overnight call shift, Dr. Waggel sent

Dr. Emejuru a series of text messages detailing the difficulty she was having with an

unexpectedly high patient load, the lack of response from the Social Work Service in providing

backup, and the lack of response from the on-call assigned resident for back-up, Dr. Stephanie

Cho. Exh. C (Emejuru Decl.) ¶ 7; see also Exhibit 25 thereto (Plaintiff Bates 1128 - 1145),

Screen shot of text messages beginning August 11, 2015 at 12:50 a.m. – August 12, 2015 at 9:45

a.m.

       299.     Dr. Emejuru agreed with Dr. Waggel that there had been a breakdown in backup

support, particularly from the “SW” (Social Work) service and told her that she should discuss

that directly with the oncoming MFA attending faculty, Dr. Norris, when he came in that

morning, that he would follow up with two others but it was not necessary to take it to a higher

level at that point, and she had done a “Good job!” Exh. C (Emejuru Decl.) ¶ 74; see also

Exhibit 25 thereto (Plaintiff Bates 1137).




                                             61
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 99 of 221



       300.    Dr. Waggel objected that “everyone else allowed [sic] to take absolute nonsense

up to Catapano about me but when I get screwed I can’t tell anyone.” Exh. C (Emejuru Decl.),

Exhibit 25 (Plaintiff Bates 1137).

       301.    Dr. Emejuru responded by explaining to Dr. Waggel that she had done what she

was supposed to do, she had done well, and there was no need to add any flames. Id. (Plaintiff

Bates 1138).

       302.    Dr. Waggel further reported that she had received a text telling her to stay to

complete an admission note for one of the patients seen that night although she had a scheduled

appointment to get blood work done and Dr. Emejuru responded: “Just relax right now. I

wouldn’t do anything else beside take care of your appointment…” Exh. C (Emejuru Decl.); see

also Exhibit 25 thereto (Plaintiff Bates 1140).

       303.    Dr. Emejuru also encouraged her by stating “Hey all you can do is control what

you can control. As long as you communicate and nobody dies or punched [sic] in the face,

systemic issues will be taken care of by people who get six figs. And yeah, Ryan [the ER doctor

on duty who had sent me an email supportive of Dr. Waggel] sent me an email. I forwarded it to

you” and later added, “Good stuff! Rest up.” Exhibit C (Emejuru Decl.) ¶ 81; see also Exhibit

25 thereto (Plaintiff Bates 1144 – 1145).

       304.    Dr. Catapano also emailed Dr. Waggel to commend her efforts stating it sounded

“like you made a heroic effort in the face of an awful night.” Exh. A (Catapano Decl.) ¶ 308; see

also Exhibit 80 thereto (Plaintiff Bates 748), Email dated August 17, 2015 at 6:27 p.m., Dr.

Catapano to Dr. Waggel.




                                             62
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 100 of 221



       305.    Dr. Catapano also assured Dr. Waggel that the Program was looking into the

things that went wrong that night to leave her with so little support and would be addressing

those issues. Exh. A (Catapano Decl.) ¶ 309.

       306.    Dr. Waggel then took a sick day on August 12, 2015, because she had lost her

voice after her call day. Exh. C (Emejuru Decl.) ¶ 82; see also Exhibit 26 thereto (Plaintiff Bates

734), Email dated August 12, 2015 at 7:08 a.m.

       307.    On August 12, 2015, Dr. Waggel emailed Dr. Allen Dyer, the faculty member

assigned to supervise the remediation plan in her July 15 LOD, in response to an email from him

regarding a request that she complete a document known as the Epstein Exploitation Index

(which provides an early warning indicator of boundary violations in psychotherapy) and then

compare the score on the index with the score recorded on the same index before she had taken

the seminar, Dr. Waggel totally missed the point of the request (stating she did not change her

answers because she was on medical leave at the time – a non sequitur) and then asked whether

he had received a previous email from her about setting up a meeting to address the LOD. See

Exhibit M, Declaration of Allen Dyer, M.D., ¶ 18; see also Exhibit 2 thereto (GWU 002830 –

002831), Email dated August 12, 2015.

       308.    Dr. Dyer responded by noting that Dr. Waggel had not responded to the question

posed about the Index and asked her to re-think her response. He then also said that he had not

received an email about setting up a meeting and asked her to forward that email to him along

with a copy of the LOD itself and then we could set up a time to meet. Exh. M (Dyer Decl.) ¶

19; see also Exhibit 2 thereto.




                                            63
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 101 of 221



       309.    In the summer and fall of 2015, Dr. Waggel was enrolled the Clinical

Neurosciences didactics course taught by department chair, Dr. James Griffith, on the Thursday

didactics day at 9:30 – 10:30 a.m. Exh. N (Griffith Decl.) ¶¶ 26, 31.

       310.    The residents are given reading assignments to complete prior to class each week.

Each class period a lecture is given on the topic covered in the reading. At the beginning of the

course, the students are instructed that the exam questions will be based on the learning

objectives and the selected readings. Exh. N (Griffith Decl.) ¶ 20.

       311.    The Clinical Neurosciences Seminar is part of a larger set of didactic training

courses for residency training mandated by the ACGME. Exh. N (Griffith Decl.) ¶ 21.

       312.    The courses are mandated to ensure that each resident has sufficient medical

knowledge and adequate competencies to be able to provide safe and effective treatment to

patients. Exh. N (Griffith Decl.) ¶ 22.

       313.    ACGME requires each residency program to verify that standards for knowledge

and clinical competencies are met. Exh. N (Griffith Decl.) ¶ 23.

       314.    Verification of adequate mastery of medical knowledge lends itself to testing by

written examinations, and as such Dr. Griffith has given regular written examinations in the

course for the past 23 years. Exh. N (Griffith Decl.) ¶ 24.

       315.    Residents are made aware of the ACGME requirements and the necessity for

demonstrating mastery of the necessary skills and medical knowledge to be deemed clinically

competent to provide patient care. As such, the residents recognize and appreciate the

importance of performing well in the didactics courses. Exh. N (Griffith Decl.) ¶ 25.

       316.    On August 15, 2015, Dr. Griffith emailed the class about the upcoming first exam

on August 20, and provided them with a revised set of learning objectives, noted that the exam



                                            64
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 102 of 221



was multiple choice, provided information about what would be covered on the exam, attached

PowerPoint presentations that would be helpful in studying for the exam, and provided the

students with additional copies of the handouts from class. Exh. N (Griffith Decl.) ¶ 32; see also

Exhibit 3 thereto (GWU 1556), Email, Dr, Griffith to class.

       317.    Dr. Waggel responded to Dr. Griffith’s email the following day stating that she

would be post call that day and asked if she still needed to take the exam that day, to which Dr.

Griffith directed her to work with Ms. Anderson to find an alternative more suitable time for the

exam. Exh. N (Griffith Decl.) ¶¶ 33 - 35; see also Exhibit 4 thereto (GWU 1555), Email, Dr.

Griffith to Dr. Waggel.

       318.    Dr. Waggel eventually took the exam and scored a 33, which was thirty points

lower than anyone else in the class and is far lower than even random guessing would ordinarily

be expected to produce and showed a total lack of comprehension of the material presented in

that segment of the class. Exh. N (Griffith Decl.) ¶¶ 36.

       319.    On August 25, 2015, Dr. Waggel again had an overnight on-call shift on the

inpatient psychiatry unit where Dr. Waggel had encountered a belligerent patient with escalating

violent behavior and had handled the situation very poorly. Exh. A (Catapano Decl.) ¶ 310.

       320.    During the shift, the nursing staff, primarily Nurse Shemika Anthony, had called

on Dr. Waggel for assistance with the patient. Exh. A (Catapano Decl.) ¶ 312.

       321.    Dr. Waggel came to evaluate the patient, decided the patient should be on oral

medication for her own safety which the patient refused, and as Dr. Waggel was leaving the

room Dr. Waggel told the patient that it was “her choice” and to let her or the staff know if the

patient changed her mind. Exh. A (Catapano Decl.) ¶ 313; see also Exhibit 83 thereto (GWU

001489 – 001491), Email report by Nurse Anthony.



                                            65
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 103 of 221



       322.   After the patient had been administered IM medication but continued to be

aggressive, Dr. Waggel threatened that if the patient continued to yell Dr. Waggel would call the

police and have the patient escorted out of GW Hospital to another hospital immediately. Exh. A

(Catapano Decl.) ¶ 314.

       323.   When the patient continued to be disruptive, Dr. Waggel was called back to assist,

was very slow in responding, and then suggested that because the patient was so noisy, a female

sitter should be assigned to attend the patient in her room with the door closed, which was

completely inappropriate as it would be dangerous for any staff member to be alone with a

violent patient in a room with a closed door. Exh. A (Catapano Decl.) ¶ 315

       324.   Dr. Waggel then once again suggested that the team members should contact the

police department about the patient. Exh. A (Catapano Decl.) ¶ 316.

       325.   When Dr. Waggel called Dr. Eindra Khin Khin about the patient at approximately

2:53 a.m., she started with a monologue of how unethical and wrong it was to “coerce” patients

into signing into 6 South and an injustice to the patients and then told Dr. Khin Khin she was

asking for an “administrative discharge” of the patient even though she had yet to convey any

patient information to Dr. Khin Khin. Exh. A (Catapano Decl.), Exhibit 82 (GWU 003121 –

3122), Email report by Dr. Khin Khin.

       326.   Dr. Waggel was then unable to give an organized presentation of the patient to Dr.

Khin Khin but was rambling and disorganized. Exh. A (Catapano Decl.) ¶ 318.

       327.   Dr. Khin Khin detailed in her email report the complete lack of ability on Dr.

Waggel’s part to communicate in a professional, appropriate way the necessary medical

information regarding the patient despite Dr. Khin Khin’s repeated direct questions. Exh. A

(Catapano Decl.) ¶ 319.



                                           66
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 104 of 221



       328.    Dr. Khin Khin was so concerned that she was not getting the necessary

information that she decided to call fellow faculty member Dr. Lorenzo Norris for guidance on

appropriate discharge procedures and resources. Exh. A (Catapano Decl.) ¶ 320.

       329.    After hearing Dr. Khin Khin’s concerns, Dr. Norris then contacted Dr. Waggel

directly. Exh. A (Catapano Decl.) ¶ 321; see also Exhibit 81 thereto (GWU 001503 – 001504),

Email report by Dr. Norris.

       330.    Dr. Norris later called Dr. Khin Khin back with a comprehensive account of the

patient’s hospital course, including a very recent serious suicide attempt a few days earlier and a

significant medical condition, neither of which had been previously reported to Dr. Khin Khin.

Exh. A (Catapano Decl.) ¶ 322.

       331.    A decision was made to focus on securing the violent patient’s behavior (Code

Strong) for the safety of all concerned. Exh. A (Catapano Decl.) ¶ 323.

       332.    In her report of these events, Dr. Khin Khin concluded with specific concerns she

identified regarding Dr. Waggel’s performance as follows:

                   1) Her very limited ability to present in a focused, organized
                      manner, especially on an on-call situation, which can
                      seriously jeopardize patient care and safety

                   2) Her very limited ability to provide the attending with the
                      most basic, relevant, and pertinent clinical information (e.g.
                      safety concerns especially when she was repeatedly asking
                      me to administratively discharge the patient, active medical
                      concerns, assaulting two staff members – which I only
                      found out in subsequent phone calls, etc)

                   3) Her lack of appropriate boundaries (mentioning her own
                      health issues in an acute patient care situation)

                   4) Her lack of self-awareness (no appreciation of her lack of
                      appropriate boundaries)




                                            67
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 105 of 221



                   5) Discrepancies between what she actually told me and what
                      she told Dr. Norris that she told me

Exh. A (Catapano Decl.) ¶ 324; see also Exhibit 82 thereto (GWU 003122).

       333.    Dr. Norris noted in his report that over the preceding 3 – 4 weeks, multiple

clinicians had raised concerns regarding Dr. Waggel’s skill and style on inter-professional

communication while taking overnight call. Exh. A (Catapano Decl.), Exhibit 81 thereto (GWU

001503).

       334.    Dr. Norris noted that Dr. Waggel had attempted to contact him at 1:49 a.m. and

then left a text message at 1:52 a.m. as follows:

                   Sorry Dr. Norris. I need someone administratively discharged.
                   She was an fd12 who was told to come to six south bc
                   [because] fd12 facility would be her only alternative. She has
                   been hitting her head on the wall and screaming since 10pm.
                   She was medicated twice with zero affect [sic]. No other
                   patients can sleep and you can hear her screams from outside
                   the unit and I can only hold her head for so long before she
                   actually injures it. Sorry again to wake you

Id. (emphasis added)

       335.    Dr. Norris reported that when he spoke directly with Dr. Waggel, “she needed 10

– 15 minutes to breakdown the case” and tell him the reason for the admission, the risk

assessment, and the hospital course. Id.

       336.    Dr. Norris noted that since Dr. Waggel herself had admitted the patient from the

hospital floor and performed a detailed risk assessment, he was “somewhat surprised by the

length of time it took obtain [sic] clinical information.” Id.

       337.    Dr. Norris further noted that during Dr. Waggel’s presentation “it was necessary

to help her redirect her focus on clinical priorities (patient safety, medical status, etc) and away

from system challenges.” Id.



                                              68
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 106 of 221



        338.    Dr. Norris reported that he found Dr. Waggel’s “casual style of presentation

difficult at times to interpret, lacking linear cohesion, containing unnecessary digressions, and

overall not concise.” Id.

        339.    Dr. Norris added, however, that Dr. Waggel’s “efforts directed at patient care

were apparent, and it should be taken into account that she was fatigued but even with these

factors taken into account, her communication style still slowed the delivery of relevant

information.” Id.

        340.    With respect to boundary issues, Dr. Norris commented that Dr. Waggel “did

briefly mention that her kidney was just removed, and that she had to essentially restrain a

patient by herself.” Id.

        341.    While noting a concern for any breakdown in Code Strong procedures, he further

commented that he was “also concerned that Dr. Waggle [sic] may have trend [sic] of

mentioning her own health issues in the context of patient care, and that she may have limited

self awareness that she is actually making this [sic] comments.” Id.

        342.    Dr. Norris reported that he spent about an hour speaking with Dr. Waggel and had

told her to complete her notes and not see any new patients. Id.

        343.    Dr. Norris then further reported that he had received a text message from Dr.

Slootsky who was concerned that Dr. Waggel had said she had not been eating for four days and

just had her kidney removed. Id.

        344.    Dr. Norris commented that these “statements were made in morning report a very

public forum in which the focus is on patient care.” Id.

        345.    Dr. Norris also noted that Dr. Slootsky communicated that she was worried about

Dr. Waggel’s well being. Id.



                                            69
          Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 107 of 221



          346.   Dr. Norris concluded by stating that given Dr. Waggel’s previous experience on

call and on other hospital rotations, “I wanted to bring these considerations to the attention of the

residency program” and that Drs. Khin Khin, Torres, and Slootsky should follow up with their

own separate emails as needed “to correct or add more information to the current observations.”

Id.

          347.   Dr. Veronica Slootsky also reported her concerns to Dr. Catapano noting that

when Dr. Waggel had conducted the report at the beginning of the shift, she stated that she had

not eaten for 4 days, and had recently had a kidney removed and had cancer in front of the whole

group. Exh. A (Catapano Decl.) ¶ 339; see also Exhibit 84 thereto (GWU 001501), Email report

of Dr. Slootsky.

          348.   Dr. Slootsky also noted that Dr. Waggel reported that staff did not help her while

a patient on anticoagulants was “banging her head against the wall, and she had to ‘jump’ on the

patient to restrain the patient” and did not order a CT scan. Exh. A (Catapano Decl.), Exhibit 84.

          349.   Instead going home that morning, Dr. Waggel went to Ms. Anderson’s office and

waited for Dr. Catapano. Exh. A (Catapano Decl.) ¶¶ 341 – 342.

          350.   In the 45-minute meeting, Dr. Catapano noted that Dr. Waggel was very agitated,

difficult to follow, starting in the middle of thoughts, skipping from topic to topic and describing

events in a non-chronological order and several times losing her train of thought entirely. Exh. A

(Catapano Decl.) ¶¶ 345 – 346; see also Exhibit 85 thereto (GWU 001487), Dr. Catapano Email

report.

          351.   Dr. Waggel described the challenging patient circumstances she faced overnight,

and her difficulty managing them, mostly, in her opinion, because “she could not get staff to do

what she wanted them to do” and “felt very unsupported.” Exh. A (Catapano Decl.) ¶ 347.



                                             70
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 108 of 221



       352.    This was directly contrary to the information from several sources regarding her

conduct over the shift, including her interactions with Drs. Khin Khin, Norris, and Slootsky as

well as Nurse Anthony and again reflected Dr. Waggel’s lack of insight into and ownership of

her own responsibility in events. Exh. A (Catapano Decl.) ¶ 348.

       353.    Dr. Catapano also reported that she was most concerned by Dr. Waggel’s report

that she herself, alone, physically restrained an out-of-control patient because that action put Dr.

Waggel and the patient, and probably others, at risk of harm. Exh. A (Catapano Decl.) ¶¶ 349 –

350.

       354.    Dr. Waggel also reported that she had worked a “30 hour shift” – which Dr.

Catapano checked and found was not true, she worked something closer to 24 hours – and stated

that she “did not once eat or go to the bathroom.” Exh. A (Catapano Decl.) ¶ 354.

       355.    Dr. Catapano advised Dr. Waggel that she was extremely concerned about her self

care as it is a vital component of Professionalism and Patient Care and Dr. Waggel’s behavior, if

true, was completely unacceptable. Exh. A (Catapano Decl.) ¶¶ 353, 355.

       356.    Dr. Catapano then advised Dr. Waggel that they would meet again in the next

week, and repeatedly in the coming weeks and months, to look more closely at her decision

regarding work and self care to help her make better choices about taking care of herself. Exh. A

(Catapano Decl.) ¶ 356.

       357.    Based on those considerations, Dr. Catapano alerted Dr. Waggel that if she were

not able “to monitor her health and fatigue better, we will have to put restrictions on her work

and/or call schedule to protect her.” Exh. A (Catapano Decl.) ¶ 359.

       358.    Later on August 26, Dr. Waggel emailed Dr. Catapano stating she noticed that her

left pointer finger appeared to have gotten “caught in something” during the overnight shift,



                                            71
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 109 of 221



inquired whether she should go to employee health to find out if the patient had hepatitis C or

HIV. Exh. A (Catapano Decl.) ¶ 360; see also Exhibit 89 thereto (Plaintiff Bates 751 – 752),

Email dated August 26, 2015 at 4:38 p.m., Dr. Waggel to Dr. Catapano.

       359.    At 9:38 p.m., Dr. Waggel emailed Dr. Catapano again stating:


                   I’m Sorry Dr. Catapano I shouldn’t put you in that position. I decided
                   myself that I will go and have the work up done tomorrow I think it
                   would be good to have documentation and I would feel better knowing
                   the patients [sic] blood borne illnesses. Also, I am going to take
                   advantage of the traumatic event therapy offered to me by admin staff.
                   I will email Tory and find the names of the lecturers and email them. I
                   hope these are the right steps to take. Again, thank you for being
                   supportive.

Exh. A (Catapano Decl.), Exhibit 89 (Plaintiff Bates 751). (emphasis added).

       360.    Dr. Catapano responded the following morning stating only that if Dr. Waggel

was worried about the issue, she should get it checked out and commending her for planning to

use the trauma therapy. Exh. A (Catapano Decl.) ¶¶ 362 – 363.

       361.    In the meantime, on August 26, 2015 at 7:18 p.m., Dr. Waggel had sent two

emails to Caroline Roberts, M.D., an intern who had been on duty with her during the August 25

overnight shift, addressing Dr. Roberts in very disrespectful and demeaning language and tone

regarding (a) a proposal by Dr. Waggel to educate Dr. Roberts and other interns on how to enter

“PRN” orders (orders for interventions to be performed “as needed”) and even directing Dr.

Roberts to provide Dr. Waggel the email addresses of all of her classmates by noon the next day

to carry out her proposed training session, and (b) reiterating the proposal stating “your entire

class needs to learn this and asap” and setting forth two analogies including one as follows:

               1. Today you told me you knew how to add the PRN order set. Yet you
                  never asked the name of it. Today Joe invited Dave to his party but
                  Dave said he couldn’t go. Dave never asked Joe when his party even
                  was. Your above comment leads me to believe you have a disinterest in


                                            72
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 110 of 221



                  learning this order set. Is this a correct assumption or did you somehow
                  know the name of the order set I was referring to?”

Exh. A (Catapano Decl.) ¶ 364; see also Exhibit 88 thereto (GWU 001481 – 001483), Email

dated August 26, 2015 at 8:17 p.m., Emejuru to Catapano, et al., forwarding attached emails.

       362.    On August 27, 2016, Dr. Emejuru was instructed by the new Associate Program

Director, Lori Kels, M.D., to contact Dr. Roberts and advise her that the faculty was aware of Dr.

Waggel’s email and considered it unacceptable and that he would follow up with Dr. Waggel

regarding the matter. Exh. C (Emejuru Decl.) ¶ 89; see also Exhibit 29 thereto (GWU 001481),

Email dated August 27, 2015 at 4:49 p.m., Dr. Kels to Dr. Emejuru.

       363.    Later that evening Dr. Waggel emailed Dr. Slootsky, the MFA attending

psychiatrist on duty on the August 25 – 26 shift complaining about her efforts to teach Dr.

Caroline Roberts “about nighttime safety” on the psychiatry unit and Dr. Roberts’ lack of

responsiveness and about Dr. Roberts’ alleged failure to order an HIV test on a patient with

whom Dr. Waggel may have had body fluid contact and so claimed to be at risk of needing HIV

prophylaxis. Dr. Waggel stated that she preferred “face to face feedback with just the person

them-self but that has not worked” and added that she was “bringing this to the attention of

others because it has now resulted in injury.” Exh. C (Emejuru Decl.) ¶ 90; see also Exhibit 30

thereto (GWU 001485 – 001486), Email dated August 27, 2015 at 6:01 p.m., Dr. Waggel to Dr.

Slootsky.

       364.    Dr. Waggel then texted Dr. Roberts several times that evening expressing

continued concerns about PRN orders and the HIV test she had wanted done on the patient, and

questioning whether Dr. Roberts had been doing things to purposely antagonize her. Exh. C

(Emejuru Decl.) ¶ 92; see also Exhibit 27 thereto (GWU 001472).




                                           73
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 111 of 221



       365.    Dr. Roberts texted Dr. Emejuru stating that she felt “bullied” by Dr. Waggel and

did not “know the best way to handle the situation,” but was concerned about having to continue

to work with Dr. Waggel. Exh. C (Emejuru Decl.) ¶¶ 93 – 95; see also Exhibit 27 thereto (GWU

001474).

       366.    Dr. Emejuru called Dr. Waggel on the evening of August 26 to discuss the events

of the previous day. She mentioned being involved in “multiple incidents on the unit that night

without nursing support” and she had wanted to place one patient on 1:1 observation but said this

had been denied by nursing for some reason. Exh. C (Emejuru Decl.) ¶ 97.

       367.    Dr. Waggel also reported that the same patient had tried to commit suicide on the

unit but she (Dr. Waggel) had physically prevented the person from doing this and that there had

been multiple fights involving patients on the unit which she felt she had taken care of without

support. Exh. C (Emejuru Decl.) ¶ 97.

       368.    Dr. Waggel further reported that she was traumatized by the shift and thought she

had PTSD and was unsure if she could return to the inpatient psychiatric unit again because of

the trauma. Exh. C (Emejuru Decl.) ¶¶ 99 – 100.

       369.    Dr. Waggel also reported that she had personally physically restrained a

combative patient which is clearly outside the appropriate role of the psychiatrists and residents

on the service. Any physical contact with a patient should be by the nurses, technicians, or

security personnel. Exh. C (Emejuru Decl.) ¶ 103.

       370.    In this conversation, however, Dr. Waggel did not mention her conversations with

Dr. Khin Khin from that night when asked about what the attending physician had said about the

events. Exh. C (Emejuru Decl.) ¶101.




                                           74
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 112 of 221



       371.     Dr. Waggel was scheduled to begin a rotation at Children’s National Medical

Center (“Children’s) following her August inpatient psychiatry rotation. Exh. A (Catapano

Decl.) ¶ 409.

       372.     Following a Program administrative team meeting on August 31, 2015, in which

concerns about Dr. Waggel’s knowledge deficits, lack of professionalism, lack of interpersonal

and professional communications skills, deficiency in systems-based practice, lack of awareness

of appropriate boundaries, and failing to take minimal steps for her well being to be able to

practice safely were discussed, Dr. Catapano reached out to the supervisor at Children’s to assure

appropriate workload and monitoring for Dr. Waggel and to withhold Dr. Waggel from taking

call for the first two weeks to ensure she was meeting clinical expectations. Id.

       373.     Dr. Catapano had a series of communications with the Director of the Training

Program at Children’s, Lisa M. Cullins, M.D., and various attending physicians there, including

Drs. Dave, Solages, and Joshi., Exh. A (Catapano Decl.) ¶ 415; see also Exhibit 95 thereto

(GWU 001469), Email dated August 31, 2015 at 4:04 p.m., Dr. Cullins to Dr. Catapano and

various cc’s.

       374.     Based on the fact that Dr. Waggel had had a number of difficult recent call

incidents, the plan for her rotation at Children’s was to start on a unit with a manageable

workload with two Fellows (the next step beyond residency training) on the unit and suspend her

call duties for the first two weeks to ensure Dr. Waggel was meeting clinical expectations and

was comfortable “with the workload, team members and patient population.” Exh. A (Catapano

Decl.) ¶ 416.




                                             75
         Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 113 of 221



         375.   Dr. Catapano also sought to make arrangements to ensure that during the rotation

at Children’s, Dr. Waggel would be able to keep weekly psychotherapy appointments. Exh. A

(Catapano Decl.) ¶ 410.

         376.   She emailed Dr. Cullins and her attendings a second time on August 31 to see if

she could assure that Dr. Waggel would have a set weekly time for her psychotherapy as follows:


                   Dear Paramjit, Lisa, Martine and Bhavin,
                   Thanks so much for working with us to give Stephanie the best
                   chance of success there. She really wants to do a good job, but
                   as Lisa and I have been discussing, is not at 100% now. The
                   one other recommendation I would propose, if it is possible to
                   accommodate, is to allow her to go to weekly psychotherapy. If
                   there is a way for her to do that that is the least inconvenient
                   for you, please let her/me know.
                   Thanks again,
                   Lisa

Exh. A (Catapano Decl.) ¶ 419; see also Exhibit 96 thereto (GWU 001470), Email dated August

31, 2015 at 4:35 p.m., Dr. Catapano to Dr. Cullins, cc’s to others.

         377.   Dr. Cullins responded promptly: “We are in support of her going to

psychotherapy. Any day would be manageable given our current treatment team except for

Wednesday. Would that work? All we would need to know is the exact day and time each week

and plan accordingly.” Exh. A (Catapano Decl.)¶ 420; see also Exhibit 96 thereto.

         378.   Dr. Catapano also continued to meet with Dr. Waggel to review how she was

doing and at one point specifically discussed the importance of self-care, being aware of one’s

own health status and knowing when to withdraw from providing care. Exh. A (Catapano Decl.)

¶ 411.

         379.   On August 31, 2015, Dr. Waggel exchanged texts with Dr. Emejuru in which she

noted that Dr. Catapano would take steps to help assure that she would have time to attend her



                                            76
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 114 of 221



weekly psychotherapy sessions during her shift at Children’s and he provided advice on how she

could get back on track as follows:

                  [SW] Dr Catapano said that she would help so that I can have time for
                  therapy every week. I really need to talk to someone about all these
                  stressful things. She told [me] something that really stuck with me.
                  She said since we are doctors we ignore normal signs of exhaustion
                  and keep pushing through. She said that when she was a resident one
                  of the Chiefs said that his biggest clue that he was overwhelmed is
                  when he would be frustrated at little old ladies. He loved old people so
                  he knew that if he was irritated by a patient that was a little old lady
                  that was a clue to take a breather. I think my clue that I’m exhausted is
                  that I was starting to think people were doing these things to me on
                  purpose. I realize it’s highly unlikely that other people were purposely
                  putting me into these situations. It just seems like my life has been a
                  series of unfortunate events the past few months. These events make
                  people watch me closer making me feel like I’m being treated unfairly.
                  I feel it would really help if I was able to talk to a therapist once a
                  week and continuing meeting regularly with dr [sic] Catapano. Can
                  you think of anything else I could do to get back on track?

                  [JE] Glad to hear all of that Stephanie. I think that is all perfect advice
                  and something to keep in your ‘back pocket’ to hold on to for future
                  reference. I’ll always be there for anything you need this year. Just
                  remember to communicate and ask yourself ‘is this something I’d need
                  to tell my chief or my chief would do’ before you make any important
                  decision. That’s what I did when I came to GW

                  [SW] WWJD What would Jason do!?!

                  [JE] Please buy my wrist bands at wwjd.org. But seriously, it’s good
                  advice: you can sub that for Catapano, Kels, Norris, etc

Exh. C (Emejuru Decl.) ¶ 113; see also Exhibit 32 thereto (Plaintiff Bates 1148 – 1151), Screen

shot of text messages starting August 31, 2015 at 5:08 p.m. (emphasis added).

       380.    On August 29, fifteen days after Dr. Dyer’s email response, Dr. Waggel

responded to his email request for a copy of her LOD by stating she was having a hard time

scanning” the LOD and instead attached a photo she had taken with her cell phone of an illegible




                                            77
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 115 of 221



document that appeared to be a letter on MFA letterhead. Exh. M (Dyer Decl.) ¶ 20; see also

Exhibit 3 thereto (GWU 1274 – 1276), Email dated August 29, from Dr. Waggel to Dr. Dyer.

       381.      Dr. Dyer responded to Dr. Waggel on August 31, 2015, stating “Let’s find a time

to get together. Perhaps we could meet Thursday at Grand Rounds time [which started at 10:30

a.m.] since GR doesn’t start until next week. Will that work for you?” and also told Dr. Waggel

that he had not been able to read the document she had attached to her earlier email and asked

her to bring a hard copy so we could just photocopy it. Exh. M (Dyer Decl.) ¶ 21; see also

Exhibit 4 thereto (Plaintiff Bates 1153), Screen shot of email, dated August 31, 2015, Dr. Dyer to

Dr. Waggel.

       382.      On September 2, 2015, in follow up to a previously held conversation between the

two, the Director of GME, Mary Tucker, provided Dr. Waggel with a list of names of mental

health professionals from which she could seek counseling as needed. She also provided Dr.

Waggel with advice on how to attempt obtaining discounted services from those professionals.

See Exhibit T (Plaintiff Bates 783), Email, dated September 2, 2015 at 10:58 a.m., Mary Tucker

to Dr. Waggel.

       383.      On Wednesday, September 2, 2015, at 1:21 p.m., Dr. Waggel responded to Dr.

Dyer: “Tory [Program Administrator Victoria Anderson] said that I can meet with you tomorrow

from 12 to 1230 at the mfa. I can bring a copy of the letter. Thank you.” Exh. M (Dyer Decl.) ¶

22.

       384.      Dr. Dyer later asked Ms. Anderson about this interaction and she stated that Dr.

Waggel had told her that Dr. Dyer had asked for the 12:00 – 12:30 p.m. time, which was clearly,

false. Exh. M (Dyer Decl.) ¶ 23.




                                            78
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 116 of 221



       385.    Dr. Waggel then sent a text message to Dr. Emejuru complaining that she was

having difficulty communicating with Dr. Dyer about setting a meeting with him which she had

been required to schedule within two weeks of a letter of deficiency she had received regarding

her failure to show up for an ED shift in June. Exh. C (Emejuru Decl.) ¶ 114; see also Exhibit 33

thereto (Plaintiff Bates 1152 – 1159), Screen shot of text messages beginning September 2, 2015

at 2:25 p.m.

       386.    Dr. Waggel complained that “Dr. dyers [sic] emails seem strange to me and I

wanted your opinion.” Exh. C (Emejuru Decl.) ¶ 115.

       387.    Dr. Emejuru responded to Dr. Waggel to say that she was the one not responding

appropriately to Dr. Dyer’s proposal of a specific time for their meeting. He observed that Dr.

Dyer had asked Dr. Waggel a straightforward yes or no question (could she meet with him at a

specific date and time) and she had deflected to a non-responsive answer. He also told her of a

simple way to get the meeting scheduled. Exh. C (Emejuru Decl.) ¶ 116.

       388.    Dr. Dyer replied at 2:12 p.m. to Dr. Waggel noting that she had not answered the

question and stated: “I offered to meet you at 1030 Thursday morning. That is a yes/no question.

Can you meet at that time? If not, we can look for another time.” Exh. M (Dyer Decl.) ¶ 24; see

also Exhibit 4 thereto at GWU 001270.

       389.    At 2:41 p.m., Dr. Waggel responded further: “When I contacted Tory she stated

that I would be free from 12-1230 but I will be in didactics for the rest of the day. I just called

her again and she stated that I could be excused from class at 1030 if that is the only time you

can meet. Thank you.” Exh. M (Dyer Decl.) ¶ 26.

       390.    Dr. Dyer eventually agreed to meet at noon. Exh. M (Dyer Decl.) ¶27.




                                            79
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 117 of 221



       391.     Dr. Dyer and Dr. Waggel met on September 3 to discuss the contents of the July

15 LOD. Exh. M (Dyer Decl.) ¶ 28.

       392.     Dr. Waggel stated the following in the meeting:

                   90% of the LOD was false.

                   She had cancer and was sick and vomiting that day and should not have been

                    expected to come to work.

                   She told an attending physician, but could not remember who.

                   She asked another resident to cover for her, but also could not remember who.

                   She did not recall getting any phone calls about her failure to report for duty at

                    the beginning of the shift and did not think that anyone would care if she did

                    not show up.

Exh. M (Dyer Decl.) ¶¶ 28 – 32.

       393.     Dr. Waggel showed little awareness of the impact of her own behavior on

interactions with others and explained at length the shortcomings of the environment in which

she worked and lodged complaints about her fellow residents. Exh. M (Dyer Decl.) ¶¶ 33, 35.

       394.     When Dr. Dyer pointed out repeatedly that she was not answering his questions

about the incident itself, Dr. Waggel identified that she was being tangential, but then suggested

she was being circumstantial in that she was trying to come back to the questions. Exh. M (Dyer

Decl.) ¶¶ 36.

       395.     Dr. Dyer asked Dr. Waggel if she felt overwhelmed in the Program, which she

denied. Exh. M (Dyer Decl.) ¶ 38.

       396.     Dr. Dyer also asked if she thought a leave of absence might help. She said she had

taken a leave of absence, went to Italy, and felt much better. Exh. M (Dyer Decl.) ¶ 39.


                                              80
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 118 of 221



       397.    When discussing the requirement of the LOD that she provide Dr. Dyer with the

names of her supervisors so that her attendance could be verified, Dr. Waggel was hesitant

because she was “paranoid” about this because she felt this would prejudice them against her.

Exh. M (Dyer Decl.) ¶¶ 40 – 41.

       398.    Dr. Dyer responded that she should be on her best behavior and that working in

psychiatry required “emotional intelligence” and an awareness of how one’s behavior is being

received by others. Dr. Waggel responded that this was an issue she would take to therapy. Exh.

M (Dyer Decl.) ¶ 42.

       399.    Dr. Dyer prepared a report of the meeting for Dr. Catapano’s review in which he

noted concern that Dr. Waggel’s defensiveness, her entanglements with fellow residents and

staff, and general lack of reflectiveness might be but the tip of a larger iceberg of problems. He

also noted concern over her tendency to “triangulate” communications and say things that are not

true or are only partially true. Exh. M (Dyer Decl.) ¶¶ 43 – 44; see also Exhibit 5 thereto (GWU

1118 – 1119), Dr. Dyer’s report.

       400.    Dr. Dyer went on to question whether Dr. Waggel had the ability to do the work

that the specialty of psychiatry requires and that it was difficult to develop a remediation strategy

because Dr. Waggel did not really understand that she had a problem but instead felt that there

were many problems with the program. Exh. M (Dyer Decl.) ¶¶ 45, 49.

       401.    On September 3, 2015, Dr. Waggel had her first session with Dr. Jelena

Kecmanovic, a clinical psychologist. Dr. Kecmanovic noted the following:

              Stephanie is a 28-year old second-year resident at GWU psychiatry
              department. She presents as depressed and somewhat anxious. She reports
              anhedonia, insomnia, low appetite and weight loss, fatigue, and difficulty
              concentrating, worry, and rumination. She also reports frequent and
              fleeting suicidal ideation but denies plan or intent. Currently she takes



                                             81
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 119 of 221



              Viibryd (40 mg) for depression, Concerta for ADD, and Lorazepam (2 mg)
              as needed for anxiety.

See Exh. U, Dr. Kecmanovic Medical Records, p. Kecmanovic 000001.

       402.    On September 8, 2015, Dr. Waggel emailed Dr. Emejuru and Dr. Catapano

stating that she was scheduling her USMLE Step 3 licensing exam (a national exam physician’s

are required to take as part of the licensing process), that she wanted to confirm her rotation for

the month of October, and that she “can take it [the USMLE Step 3 exam] whatever day and use

an administration day.” Exh. C (Emejuru Decl.) ¶ 117; see also Exhibit 34 thereto (Plaintiff

Bates 786), Email, dated September 8, 2015 at 8:05 a.m. (emphasis added).

       403.    Dr. Emejuru immediately confirmed her understanding was correct. Exh. A

(Catapano Decl.) ¶ 436.

       404.    On Thursday, September 10, 2015, Dr. Waggel was scheduled to present a

reading assignment to the class in the Introduction to Psychodynamic Thought didactic seminar

taught by Dr. Cheryl Collins. Exh. I (Collins Decl.) ¶ 19.

       405.    The course is structured such that each week one resident is designated to lead the

discussion of the assigned reading. Additionally, 1-2 other students are designated to present a 1-

5 minute presentation based on a patient they have encountered during one of their rotations. Dr.

Collins’ allows the students to choose the order of the presentations in order to accommodate

their post call schedules. Exh. I (Collins Decl.) ¶ 6.

       406.    At the beginning of the semester, Dr. Collins gives the students a syllabus with

weekly assigned readings that each student is expected to complete. Exh. I (Collins Decl.) ¶ 5.

       407.    On September 10, the day Dr. Waggel was to lead the discussion, when Dr.

Collins asked her if she was ready to present, Dr. Waggel borrowed a copy of the article from a

classmate and rushed out of the room to make a copy. Exh. I (Collins Decl.) ¶ 21.

                                             82
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 120 of 221



       408.    When she returned, she asked if Dr. Collins wanted her to read it to the class. Dr.

Collins responded no, and that Dr. Waggel was to summarize the material in the article as she

had observed her classmates who had presented before her. Exh. I (Collins Decl.) ¶ 22.

       409.    Instead of summarizing the article, however, Dr. Waggel stated she had difficulty

with it because it reminded her of her own problems. She then proceeded to discuss problems

that she was having with her attendings and some of the nurses on the unit during her work

shifts. Exh. I (Collins Decl.) ¶ 23.

       410.    The remainder of the class was spent discussing Dr. Waggel’s personal issues

instead of the assigned reading material, which Dr. Collins reported was detrimental to the other

members of the class. Exh. I (Collins Decl.) ¶ 23.

       411.    On Friday, September 11, 2015 at 4:58 p.m., Dr. Waggel sent an email informing

the program and her attendings at Children’s of the schedule for her doctor and therapy

appointments on September 15th at 2:00 p.m. and 4:00 p.m.; September 18th at 3:00 p.m., and

September 22 at 11:00 a.m. and 3:00 p.m. Exh. C (Emejuru Decl.) ¶ 119; see also Exhibit 35

thereto (Plaintiff Bates 788), Email, dated September 11, 2015 at 4:58 p.m.

       412.    Dr. Waggel never informed Dr. Catapano or Dr. Emejuru of any difficulties

scheduling these appointments. Exh. A (Catapano Decl.) ¶ 441, Exh. C (Emejuru Decl.) ¶ 120

       413.    On September 11, 2015, Dr. Waggel attended a therapy appointment with Dr.

Kecmanovic. Exh. U at p. 000001.

       414.    On September 11, 2015, Dr. Waggel emailed Dr. Dyer and Dr. Catapano stating

that she was finding her therapy very helpful and asking that the LOD not be shared with anyone

else, particularly her attendings at the sites for her upcoming rotations, for fear it would be

detrimental for her to start each new month with an attending that “only knows me from the



                                           83
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 121 of 221



information on a letter of deficiency” and stated that was so “especially because of the

circumstances” of the letter. Exh. M (Dyer Decl.) ¶ 50; see also Exhibit 6 thereto (GWU 2833),

Email, Dr. Waggel to Drs. Catapano and Dyer.

       415.    Dr. Waggel’s reference to the “circumstances” of the letter involved the fact that

she “submitted my doctor’s excuse for the day referred to in the letter” as well as a copy of her

phone records which she alleged proved that she did not receive calls that morning. Exh. M

(Dyer Decl.) ¶ 51.

       416.    Dr. Waggel added again that the letter was incorrect, but that she had chosen to

accept it. Exh. M (Dyer Decl.) ¶ 52.

       417.    Dr. Waggel’s email ignored what had been pointed out to her by several faculty

members on several occasions, the problem was not whether she was sick or whether she had

submitted a “doctor’s excuse for the day,” the problem was that it is a serious breach of

professionalism not to alert the supervising attending physician, the Chief Resident, and other

members of the medical team and program administration required to be informed when one is

not going to show up for clinical duty. Exh. M (Dyer Decl.) ¶ 55.

       418.    Her email also ignored that Dr. Dyer had discussed with her that the issues were

concerns that went beyond attendance and she should focus on Professionalism and Systems-

Based Care for the reasons we had discussed. Exh. M (Dyer Decl.) ¶ 56.

       419.    Dr. Catapano responded to Dr. Waggel’s email and assured her that the LOD was

confidential and not shared with anyone other than herself, the Assistant Program Director, Dr.

Lori Kels, the GME Office, and Dr. Dyer as he was in charge of her remediation. Exh. M (Dyer

Decl.) ¶ 57.




                                           84
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 122 of 221



        420.    Dr. Catapano reiterated that the point of the LOD was not that Dr. Waggel had

been sick, but her failure to take appropriate action to alert her team, chief residents, and the

attending in advance so that appropriate coverage could be arranged. Exh. M (Dyer Decl.) ¶ 58.

        421.    It was clear from the email, however, Dr. Waggel’s lack of insight into her

behavior and the deficits reflected by the behavior made remediation problematic. Exh. M (Dyer

Decl.) ¶ 55.

        422.    Dr. Waggel attended therapy with Dr. Kecmanovic on September 11, 2015. See

Exh. U at p. 000001.

        423.    Dr. Waggel attended therapy with Dr. Kecmanovic on September 15, 2015. See

Exh. U at p. 000001.

        424.    On September 15, 2015, Dr. Waggel was seen by Dr. Elizabeth Stark of the Ruth

Paul Cancer Prevention Program at the George Washington Medical Faculty Associates for

genetic testing counseling. See Exhibit W, MFA Medical Records, pp. MFA 0010 – 0012

        425.    A DNA sample that analyzed 19 genes associated with an increased rick of renal

cancer was taken and tested. Id. at MFA 0011.

        426.    “Genetic test results were negative for mutations in these 19 genes, meaning no

mutation was identified.” Id.

        427.    Dr. Stark’s note stated, “[a]t this time there is no additional genetic testing that we

would recommend” and advised Dr. Waggel to stay in contact with the Ruth Paul Program in

case any other additional diagnoses or major health changes impacted her eligibility for

additional testing. Id.

        428.    No follow up visit was scheduled. Id.




                                              85
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 123 of 221



       429.    On September 21, 2015 at 1:32 p.m., Dr. Catapano emailed Dr. Waggel to tell her

that one of the topics she intended to discuss at a meeting they had scheduled for the September

24 was “the plan for you to have more support and supervision on call when you return to GW in

October.” Exh. A (Catapano Decl.) ¶ 467; see also Exhibit 110 thereto (Plaintiff Bates 800),

Email dated September 21, 2015 at 1:32 p.m., Dr. Catapano to Dr. Waggel.

       430.    Dr. Catapano’s email explained further that she was giving Dr. Waggel a heads up

because Chief Resident Darlinda Minor was about to distribute the next call schedule and the

reasons why it should be helpful for Dr. Waggel:

               I believe the most effective way to achieve this is to have the back-up
               PGYIII residents plan to come in and take call side-by-side with you for
               your first several calls back. As I said, I planned to discuss this with you
               on Thursday, and we still should, but for various reasons Darlinda needs to
               send out an updated version of the call schedule before then, and I wanted
               to give you a heads-up that these joint calls are going to be on the
               schedule. I think when we meet it would be helpful to articulate exactly
               what I think you struggled most with in your last few GW calls, and how
               we hope that this will be helpful to you.

Exh. A (Catapano Decl.), Exhibit 110 thereto at Plaintiff Bates 800).

       431.    Dr. Waggel responded, “Sounds like a plan. I will see you Thursday at 830.” Id.

       432.    Dr. Waggel attended therapy with Dr. Kecmanovic on September 22, 2015. See

Exh. U at p. 000001.

       433.    Also at 11:05 a.m., on September 22, 2015, Dr. Waggel underwent an elective

laser liposuction surgery at American Lipo Centers. The surgery was a touch-up procedure on

her lower abdominals done as a follow up to a previous elective liposuction procedure Dr.

Waggel underwent on January 9, 2015. See Exhibit X, American Lipo Centers Records, pp. 8 –

15.




                                            86
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 124 of 221



       434.    On September 23, 2015, Dr. Waggel emailed Dr. Catapano and Tory Anderson at

8:59 a.m., stating that she was sick and could not keep food down and needed to take a sick day.

Exh. A (Catapano Decl.) ¶ 470; see also Exhibit 111 thereto (Plaintiff Bates 237); Email dated

September 23, 2015 at 8:59 a.m., Dr. Waggel to Dr. Catapano et al.

       435.    At 2:58 p.m., however, Dr. Waggel emailed Dr. Bhavin Dave, one of her

attendings at Children’s, giving the impression that the previous day’s medial appointment was

related to her cancer treatment by stating:

               I am very sorry for the inconvenience I probably caused by taking a sick
               day today. Yesterday one of the two appointments I had was to get one of
               my scars resected because it was not healing properly. The medication
               they gave me made me vomit most of the night. I was just now able to eat
               a small meal with no problems so I don’t think call will be an issue.
               Again, I’m very sorry for this I know how busy Wednesday’s [sic] are.

See Exhibit Y, Email, dated 2:58 p.m., September 23, 2015, Dr. Waggel to Dr. Dave.

       436.    Dr. Waggel attended therapy with Dr. Kecmanovic on September 26, 2015. See

Exh. U at p. 000001.

       437.    On October 1, 2015, Dr. Emejuru emailed Dr. Waggel to ask how she was doing

on her new duty rotation at Inova Fairfax Hospital. Exh. C (Emejuru Decl.) ¶ 121; see also

Exhibit 36 thereto (Plaintiff Bates 807 – 809), Email, dated October 1, 2015 at 2:38 p.m., Dr.

Emejuru to Dr. Waggel.

       438.    Dr. Waggel responded: “I’m trying my very hardest. Still not getting much useful

or specific feedback. But I’m certainly asking for it. If you can offer any I would love to hear it.”

Exh. C (Emejuru Decl.), Exhibit 36 thereto.

       439.    Dr. Emejuru offered the following advice in response:

               I’ll be honest with you. Feedback will likely be to separate the way you
               interact with your friends vs the way you interact with your patients,
               attendings, residents, hospital staff, God, etc and respond on time to

                                              87
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 125 of 221



               emails. It’s really as simple as that, but it’s difficult to make the changes
               overnight. No doubt.

               Know when to make jokes with folks and when not too [sic]. When to be
               sarcastic and when not too [sic].

               When I step into a hospital or clinic, I know that people (whether you
               think it’s corny or not) will look up to me. Its’ true. Your [sic] a doctor.
               People will think you are suppose [sic] to act a certain way because of that
               MD. They have a personality for you already in their minds before you
               even talk to them. So it’s not that hard to see why they can be so shocked
               (or put off) if you deviate from what they expect.

               Your personality is fine. It’s great being around you. But it’s different and
               I’m sure you know it’s not what people will expect the personality of their
               physician to be. So you have to watch out for that. People expect (whether
               you like it or not) physicians/psychiatrist to be that stereotypical Middle
               Aged male/female who reads Freud or the classics after work and is as
               vanilla as vanilla.

               That’s the reality.

               You have to know when to switch it on and off. That’s basically what
               people want.

Exh. C, Exhibit 36 thereto at Plaintiff Bates 808.

       440.    Dr. Waggel was due to return for a rotation at GW Hospital after the Inova

Fairfax Hospital rotation. Exh. C (Emejuru Decl.) ¶ 124.

       441.    In light of the difficulties Dr. Waggel had experienced during her GW Hospital

rotations in August, Dr. Catapano prepared a plan to provide more support and supervision for

Dr. Waggel on her return. The plan was to have the back-up PGY3 residents come in and take

“buddy call” with Dr. Waggel for her first several calls back, and Dr. Catapano would meet with

Dr. Waggel in advance to discuss what she felt Dr. Waggel had struggled with most during the

last GW calls so she could focus on them to improve her performance. Exh. C (Emejuru Decl.) ¶

125.




                                            88
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 126 of 221



       442.    Buddy call” is a commonly understood clinical medical training procedure with a

specifically assigned more senior physician available as a sounding board and consulting source

for any difficulties the more junior physician may encounter during initial phases of a new level

of clinical work. Exh. C (Emejuru Decl.) ¶ 126.

       443.    After the intern year when residents begin taking independent call for the first

time, all residents have a “buddy call” system in place while they are introduced to this new level

of responsibility. Exh. C (Emejuru Decl.) ¶ 127.

       444.    The purpose of “buddy call” is not for the more senior physician to take over – or

even share – the work of the less experienced physician. That would defeat the purpose of the

exercise. The purpose is to assure that the more junior physician is not left to sink-or-swim, has a

safe place to take any concern or insecurity, and will be comfortable practicing within his or her

limits. Exh. C (Emejuru Decl.) ¶ 128.

       445.    Dr. Catapano met with Dr. Waggel to discuss with her the nature and purpose of

the joint calls and in particular that more senior residents would be available so she could consult

with them if she had any questions in the course of the rotation concerning patient care,

communications with other members of the team or other health care personnel, procedures to be

followed or any other matters where she felt she needed additional information. Dr. Catapano

made it quite clear that these individuals were not being assigned to do her work for her but to

serve as a resource so the difficulties she had experienced during her rotation on 6 South during

August would not be repeated and she would have a further opportunity to improve her own

knowledge and clinical skills. Exh. A (Catapano Decl.) ¶ 472.

       446.    On October 5, Linda Ojo, M.D., PGY3, served as the more senior resident on the

first “buddy call” for Dr. Waggel’s return to GW Hospital. Exh. C (Emejuru Decl.) ¶ 129.



                                            89
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 127 of 221



       447.    The following afternoon Dr. Ojo submitted an email report of the events of the

shift. She noted the following:

               [T]here were stark differences in Stephanie v. my understanding of the
               purpose of this buddy call. She felt it was admins [sic] way of alleviating
               her workload and as a result seemed completely taken aback at the
               suggestion that she had things to work on. I mention this only to
               emphasize that I think her anger about this negatively affected our
               interactions. Since she lacks any insight to her shortcomings, I did my best
               to explain areas of weakness as I see them but ultimately I think it will
               have more credibility if it comes from one of you.

                * * *
               Timing: she needs to work faster on early evening assessments. It took
               way too long to reassess the FD12 and get to the next waiting ED patient.
               If this was a busy night this alone would have caused the pile up. When I
               pointed this out to her she was very defensive eg [sic] ‘If you think you
               can do it faster come and help me’ ‘you assess him’ ‘you called me 10
               minutes ago and nothing has changed, you’re berating me” etc.

               FD12s: She signed an FD12 . . . does not have a license. Apparently has
               been doing this ‘for a while’, when told to re-do she was very resistant and
               moaned about how she had so much to do, so many notes to write (at this
               point total patients seen all night was 2 plus reassessment of FD12). She
               wanted me to rewrite it ‘what was the point of me doing it’ and I had to
               push back several times before she got the message.

               There did not seem to be any issues with her communication with staff,
               ED, etc. and was professional for the most part. She [sic] was able to
               handle the ED successfully when they questioned her assessment that a
               patent lacked capacity to sign in.

               Unfortunately I got a call at 630am that my daughter missed the school
               bus so I had to leave however at that point she had updated and printed
               sign out. She also gave good feedback and asked appropriate questions
               when receiving sign out.

               Side note: She wanted to leave her page with me so she could go to whole
               foods [sic] and buy treats for nursing. I told her no because this is not
               consistent with being on call. She managed to get them anyway and I
               didn’t ask how. I am assuming she did not leave the hospital and perhaps
               someone got them on her behalf? . . .




                                            90
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 128 of 221



Exh. C (Emejuru Decl.) ¶¶ 130 – 131; see also Exhibit 37 thereto (GWU 001458 – 001459),

Email, dated October 6, 2015 at 12:03 p.m., Dr. Ojo to Dr. Kels, Dr. Emejeru.

       448.    Dr. Waggel attended therapy with Dr. Kecmanovic on October 6, 2015. See Exh.

U at p. 000001.

       449.    The second exam in Dr. Griffith’s Clinical Neurosciences course was given on

October 8, 2015. Dr. Waggel scored a 33 on the exam. Exh. N (Griffith Decl.) ¶¶ 42 – 43; see

also Exhibit 7 thereto (GWU 1516), a copy of Dr. Waggel’s exam.

       450.    This score again clearly signified that Dr. Waggel did not comprehend the

significant material presented in the second segment of the course. Exh. N (Griffith Decl.) ¶ 44.

       451.    According to Dr. Griffith, Dr. Waggel’s poor performance in his class extended

beyond failing test grades. Exh. N (Griffith Decl.) ¶ 45.

       452.    Despite the ACGME requirements made known to all residents, she missed a

number of class sessions. Exh. N (Griffith Decl.) ¶ 46.

       453.    When Dr. Waggel did attend Dr. Griffith’s class, she often distracted the entire

class from the lecture and discussion of material being presented by tangential, inappropriate

interruptions related to her personal problems that were completely unrelated to the

Neuroscience topics presented in the course, were inappropriate in an academic setting, and

revealed a lack of understanding of professional boundaries. Exh. N (Griffith Decl.) ¶¶ 47, 49.

       454.    Dr. Waggel would make comments such as, “I have so many appointments with

Dr. Catapano, there is no way I can study for the exam,” and “Dr. Catapano won’t let me go to

doctor visits.” Exh. N (Griffith Decl.) ¶ 48.

       455.    As department chair, Dr. Griffith followed up with Dr. Catapano about Dr.

Waggel’s claims and was informed that it had never been the case that either she or anyone else



                                                91
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 129 of 221



to her knowledge had ever prevented Dr. Waggel from attending medical appointments, any

leave requested for that purpose had always been granted, Dr. Catapano’s comments to Dr.

Waggel regarding medical appointments was that she could not just leave work or not show up

for clinical rotations or didactic sessions without telling people and letting them know in

advance. Exh. N (Griffith Decl.) ¶¶ 51 – 52.

       456.   October 12, 2015, was the next “buddy call” night for Dr. Waggel with PGY3

Shuo (Sally) He, M.D., as her buddy. Exh. C (Emejuru Decl.) ¶ 132.

       457.   Dr. He reported several of the same issues noted by Dr. Ojo, particularly Dr.

Waggel’s lack of insight into why she was on buddy call and what she needed to work on, and

that the PGY3 was not there to do her work for her. Exh. C (Emejuru Decl.) ¶ 132; see also

Exhibit 38 thereto (GWU 001449 – 001450), Email, dated October 13, 2015 at 9:57 a.m., Dr. He

to Dr Emejuru, Dr. Minor.

       458.   On October 14, 2015, in response to this information and to try to get this

situation back on track for Dr. Waggel given her professed lack of understanding as to why she

was on buddy call, the matters she needed to work on, and the fact that the assigned PGY3s were

not there to do her work for her, Dr. Catapano prepared a memo to Dr. Waggel about buddy call

confirming what a physician in residency training presumably already knew but would perhaps

become clearer for Dr. Waggel if presented in writing, which Dr. Emejuru forwarded to Dr.

Waggel at 9:50 a.m. Exh. C (Emejuru Decl.) ¶¶ 135 – 137; see also Exhibit 39 thereto, a copy of

the memorandum, and Exhibit 40 (Plaintiff Bated 001447), Email, dated October 14, 2015 at

9:50 a.m., Dr. Emejuru to Dr. Waggel .

       459.   Dr. Waggel responded to Dr. Emejuru by text at 10:24 a.m. stating, “[I]’ve been

on independent call as Linda [Dr. Ojo] slept the whole time then randomly left in the middle of



                                           92
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 130 of 221



the night and Sally went to bed and got up at seven. Anyway as usual I’ll just do as I’m not start

a fuss [sic]. I’ll gladly continue this ‘buddy call.’” Exh. C (Emejuru Decl.) ¶¶ 138 – 139; see

also Exhibit 41 thereto, Screen shot of text messages beginning October 14, 2015 at 10:24 a.m.

       460.    It was clear from Dr. Ojo’s report that these statements were not true. Dr. Ojo

commented on a number of aspects of Dr. Waggel’s performance across the entire shift and had

voluntarily informed us that she left a half hour early at the end of the shift when she got a call at

6:30 a.m. that her daughter had missed her school bus so Dr. Ojo had had to go home. Dr. Ojo

also reported that by the time she left, Dr. Waggel had already updated and printed the sign out

materials. Exh. C (Emejuru Decl.) ¶ 140.

       461.    It was also clear from Dr. He’s report that she had been more involved in

supervising Dr. Waggel’s shift than simply arriving, going to bed and waking up at 7:00 a.m.

Exh. C (Emejuru Decl.) ¶ 141.

       462.    On October 13, 2015, Dr. Catapano emailed Dr. Waggel and one other resident

stating that if they did not get their required health clearance process completed by the end of the

next business day, “you will be pulled from duty” and would “likely get a letter of deficiency

from the GME office” and would also “probably be asked to make up the days by having your

graduation date delayed, not to mention disrupting the services who are depending on you.” Exh.

A (Catapano Decl.) ¶ 479; see also Exhibit 117 thereto (GWU 001414), Email dated October 13,

2015, Dr. Catapano to Dr. Waggel et al.

       463.    Dr. Waggel had failed to complete that fundamental task required by District of

Columbia law (and every other jurisdiction in the United States) within the well known deadline

of September 30 each year requirement, despite many repeated requests and warnings. Exh. A

(Catapano Decl.) ¶ 479.



                                             93
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 131 of 221



       464.    The Program Administrator, Ms. Anderson, had sent multiple reminders to Dr.

Waggel and other residents in advance of the original deadline. Exh. A (Catapano Decl.) ¶ 480;

see also Exhibits 114 thereto (GWU 001431), Email dated September 22, 2015 at 2:21 p.m., Ms.

Anderson to Dr. Waggel, et al; and Exhibit 115 thereto (GWU 001428), Email dated September

25, 2015 at 11:02 a.m., Ms. Anderson to Dr. Waggel.

       465.    When Dr. Waggel failed to meet the September 30 deadline, Dr. Gary Little,

Medical Director of GW Hospital, assigned an extended deadline for Dr. Waggel of October 14.

Exh. A (Catapano Decl.) ¶ 481.

       466.    Dr. Catapano instructed Dr. Waggel to take care of the health clearance issue

immediately. Exh. A (Catapano Decl.) ¶ 486.

       467.    Dr. Waggel failed to meet the extended deadline. Exh. A (Catapano Decl.) ¶ 489.

       468.    This instance of non-compliance occurred in the context of other ongoing non-

compliance issues with Dr. Waggel and Program administration requirements, including a failure

to comply with GMEC Mandatory Duty Hours for September and Failure to log into MedHub to

identify supervisors on her clinical rotations as the attending physicians cannot access a

resident’s evaluation form until the resident first selects them as a supervising attending for each

rotation. Exh. A (Catapano Decl.) ¶ 491; see also Exhibit 119 thereto, Email dated August 31,

2015 at 9:34 a.m., Ms. Anderson to all residents, Exhibit 120 thereto, Email dated Sunday

September 13, 2015 at 11:42 p.m., Dr. Waggel to Ms. Anderson, et al., Exhibit 121 thereto,

Email dated September 28, 2015 at 1:24 p.m., MedHub Notification to Dr. Catapano, Exhibit

122 thereto Email dated October 13, 2015 at 3:03 p.m., Ms. Anderson to Dr. Waggel.

       469.    On October 14, Dr. Emejuru met with Dr. Waggel to again review the reasons

why she was on buddy call and the matters addressed in the buddy call memo and note that this



                                            94
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 132 of 221



was being done to assist her. Her opinion remained that it was unnecessary and unfair but that

she would go along with it. Exh. C (Emejuru Decl.) ¶ 148.

       470.    On or about August 15, 2015, as a result of the August 25 shift events, a Root

Cause Analysis (“RCA”) was being conducted to address the deficiencies in patient care that had

occurred, both those related to healthcare system issues and personal performance issues. Exh. A

(Catapano Decl.) ¶¶ 473, 476.

       471.    An RCA is a process to identify “root causes” of problems or events and an

approach to solve them. Exh. A (Catapano Decl.) ¶ 474.

       472.    In this instance, Dr. Norris and Dr. Gandhi conducting the RCA and as part of the

review interviewed Dr. Waggel regarding the events of that night. Exh. A (Catapano Decl.) ¶

475.

       473.    On October 15, 2015, 11:32 a.m., Dr. Waggel sent Dr. Emejuru a text stating she

had “found out why I’m on buddy call and on track to ‘repeat’” adding:

                  Because one nurse named Shemika sent out an email with false
                  information about that call night. Fortunately, I documented
                  everything so I can show that she was lying. It’s a shame that
                  no one asked me what happened but instead took this nurses
                  [sic] email as truth.

                  Now instead of studying for the step I have to take screen shots
                  of my orders and notes to show everyone what actually
                  happened.

Exh. C (Emejuru Decl.) ¶ 149; see also Exhibit 42 thereto (Plaintiff Bates 1168 - 1172), Screen

shot of text messages.

       474.    Dr. Emejuru found the text message to represent a total mis-read by Dr. Waggel

of what she had been told on a number of occasions by several faculty members and by me. A

report by Nurse Shemika Anthony presented some of the events that occurred during the August



                                           95
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 133 of 221



25 – 26 overnight shift that raised concerns about Dr. Waggel’s performance, but the major

concerns arose from matters directly participated in and observed by Dr. Khin Khin and Dr.

Norris in their interactions with Dr. Waggel during the shift and in the report Dr. Catapano

received from Dr. Waggel herself when they met immediately after the shift and Dr. Catapano

reviewed the events with Dr. Waggel. Exh. C (Emejuru Decl.) ¶ 150.

       475.    On October 15, 2015 at 12:44 p.m., Dr. Waggel sent an email to Dr. Catapano,

Dr. Kels, and me stating, “I believe I was initially confused as to why I am on buddy call. I have

been asking for the specific reason I am now on buddy call and informed that it is due to the

events that occurred during my last two calls and the letter from the ED [referring to the Letter of

Deficiency for her no show to the ED on June 10]. Is this correct?” Exh. C (Emejuru Decl.) ¶

154; see also Exhibit 43 thereto (GWU 001446), Email, dated October 15, 2015 at 12:44 p.m.,

Dr. Waggel to Dr. Catapano, et al.

       476.    On October 15, 2015 at 4:52 p.m., Dr. Catapano replied that Dr. Waggel was on

buddy call “primarily because of [her] last August call. It has nothing to do with your not coming

in for your ED shift.” Exh. C (Emejuru Decl.) ¶ 155.

       477.    Dr. Catapano further reminded Dr. Waggel that that she had specifically discussed

with Dr. Waggel “several concerns about your management of pts and the unit during that call”

and that she knew Dr. Waggel had gone over the same issues “in detail with Dr. Norris and Dr.

Gandhi” which would lead to a further letter of deficiency outlining these matters. Exh. C

(Emejuru Decl.) ¶ 156.

       478.    Finally, Dr. Catapano confirmed that as Dr. Emejuru had discussed with Dr.

Waggel and has been outlined in the buddy call memo, the purpose of the buddy calls for Dr.

Waggel was “to provide extra support and supervision.” Exh. C (Emejuru Decl.) ¶ 157.



                                            96
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 134 of 221



       479.    On October 17, 2015, in response to an email from Dr. Waggel two days earlier

with notice that she was likely to miss a class due to a change in her schedule requiring her to

prepare for a meeting, Dr. Collins told Dr. Waggel she understanding of her absence, but made

clear that lack of attendance in class was affecting Dr. Waggel’s performance in the class. Exh. I

(Collins Decl.) ¶ 24.

       480.    According to Dr. Collins, Dr. Waggel was routinely absent from her

Psychodynamic Thought seminar during the summer – fall of 2015; missing more classes than

she attended. Exh. I (Collins Decl.) ¶¶ 15 – 16.

       481.    In Dr. Collins class, students were required to complete two written formulations

based on patient interviews throughout the semester. They are provided anonymous feedback by

the entire class on the first formulation and Dr. Collins provided one-on-one feedback for the

second formulation. Exh. I (Collins Decl.) ¶ 7.

       482.    Dr. Waggel also failed to attend any of the group feedback sessions. Exh. I

(Collins Decl.) ¶¶ 7, 17.

       483.    Dr. Collins noted that while it was clear that Dr. Waggel’s absences affected her

ability to apply the concepts that were covered in class as she attempted to prepare formulations,

she was not critical of Dr. Waggel for missing class and did not chastise her in any way as she

believed her absences to be related to her medical condition. Exh. I (Collins Decl.) ¶¶ 18, 24.

       484.    To the contrary, following Dr. Waggel’s email regarding her absence from class

on November 17, Dr. Collins offered feedback on Dr. Waggel’s most recent formulation and

provided additional reading material to help supplement the discussion and instruction she had

missed in class and to strengthen her next formulation. Exh. I (Collins Decl.) ¶ 25; see also

Exhibit 4 thereto.



                                            97
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 135 of 221



       485.   Dr. Waggel’s next buddy call was scheduled for October 17, 2015, with a PGY3,

Dr. Karen Wooten. Exh. C (Emejuru Decl.) ¶ 158.

       486.   Prior to the shift, Dr. Emejuru texted Dr. Waggel to show support and offer

advice on how to succeed on the call as follows:

              [JE] Remember to talk with the upper level first to “set the tone” in terms
              of how you want to be supervised. But be sure to follow-up and ASK for
              feedback at the end of the shift and throughout
              Keep up the good work!

              [SW] I met w Karen about it earlier but that was when I thought it was bc
              I was overworked so I’ll have to talk to her again
              Also a good bit of the things I’m to work on I’ve been told by many I
              excel at but I’ll work to super excel. I can only get better!
              SUPER EXCEL
              Communication I think is one I agree I’ve been not good with so I’ll put
              extra focus

              [EJ] Not being cliché when I say keep up the good work, I really mean it.
              Just do your work and think about each day being a job interview because
              at the end of the day, you will need LORs from these folks
              Glad to hear it!

              [SW] From Linda and Sally?! I hope not lol
              I don’t think I’ll be asking them for a letter
              And personally I don’t think I could give them a good letter either
              Karen likes to teach so I think this will go better
              I don’t think she’ll randomly leave me either hahaha
              I bet Linda left for her kids or something that’s my guess

              [JE] Steph, I’m talking about admin, attending
              Of course not residents

              [SW] They seem to think I’m doing well… At least from what they told to
              my face
              Even Dr Malik now! 
              
              Dr Malik seems much happier at php and gives feedback so I’m really
              happy about that
              Maybe my email at the beginning helped
              I would give you a good letter Jason
              I felt like you were not biased and listened to me and gave actual advice
              and not vague advice

                                           98
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 136 of 221



               *thumbs up* *thumbs up*

               [JE] I want to see you succeed!

Exh. C (Emejuru Decl.), Exhibit 44 thereto (Plaintiff Bates 1173 – 1179).

       487.    Dr. Wooten produced a highly favorable report of her buddy call with Dr.

Waggel. Exh. C (Emejuru Decl.) ¶ 161; see also Exhibit 45 thereto (GWU 001444 – 001445),

Email, dated October 19, 2015 at 12:32 p.m., Dr. Wooten to Dr. Emejuru.

       488.    She also commented that while she understood that the buddy call system is

intended “not as a punitive measure but to improve Dr. Waggel’s ability to function on call,” she

did believe it had been helpful for Dr. Waggel to receive written guidelines on the buddy call

system and that having not done so for the preceding shifts put Dr. Waggel “at a severe

disadvantage because it is difficult to meet standards when one has no idea what they are.” Exh.

C (Emejuru Decl.) ¶ 165.

       489.    From Dr. Wooten’s comments it was apparent that she was unaware of the very

specific conversations had with Dr. Waggel in advance of the first buddy call regarding the

reasons for the buddy call, specific matters Dr. Waggel needed to address, and how to go about

addressing them and getting feedback. Exh. C (Emejuru Decl.) ¶ 167.

       490.    On October 19, 2015 at 7:19 a.m., Dr. Waggel sent an email (but did not

telephone) to an attending at Inova Fairfax Hospital where she was rotating, Dr. Aditi Malik,

with copies to the administrative team, advising that she was feeling very ill and needed to take a

sick day but if she started to feel better would try to come in during the afternoon. Exh. C

(Emejuru Decl.) ¶ 169; see also exhibit 46 thereto (Plaintiff Bates 854), Email, dated October 19,

2015 at 7:19 a.m., Dr. Waggel to Dr. Malik et al.




                                            99
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 137 of 221



       491.    Dr. Waggel also did not telephone the supervising attending at Inova Fairfax

Hospital, Dr. Cathy Crone, as was required. Exh. C (Emejuru Decl.) ¶ 170.

       492.    At 4:20 p.m. that day, Dr. Waggel texted Dr. Emejuru reporting that she was very

ill and vomiting and requesting what she should do. She stated she was worried “people will get

upset at me if I take another sick day.” Exh. C (Emejuru Decl.) ¶ 171; see also Exhibit 47 thereto

(Plaintiff Bates 1180), Screen shot of text messages beginning October 19, 2015 at 4:20 p.m.

        493. Dr. Emejuru responded at 6:10 p.m. stating:

               Hi Steph, I’m going to email you and cc Tory [Ms Anderson, the Program
               Coordinator] so she is in the loop to keep track…honestly, if your [sic] too
               sick to come in you shouldn’t and you know your body better than anyone.
               That’s part of being a professional (not to be cliché, but it’s true). I know
               because of your hx its [sic] not an easy decision.

Exh. C (Emejuru Decl.), Exhibit 47 thereto.

       494.    The following morning at 9:51 a.m., the administrative assistant at Inova, Pamela

Crawford, sent notice that the assigned attending for the program, Dr. Aditi Malik, had reported

that Dr. Waggel did not show for the program the day before or that same day, that Dr. Malik

had received a note from Dr. Waggel at 9:43 p.m., well after the shift had ended, and that she had

received a text that morning from Dr. Waggel inquiring about prior emails concerning her sick

day. Exh. C (Emejuru Decl.) ¶ 174; see also Exhibit 48 thereto (GWU 001365), Email, dated

October 20, 2015 at 9:51 a.m., Ms. Crawford to Dr. Crone, et al.

       495.    At this point, Dr. Waggel had missed sufficient time in her PGY2 year whether as

a result of medical conditions or otherwise that there was a concern that if the absences

continued, she would not meet requirements for sufficient actual on duty clinical days to receive

credit for clinical rotations or for class time attendance and participation to receive credit for

didactics courses. Exh. C (Emejuru Decl.) ¶ 173.



                                           100
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 138 of 221



       496.    Accordingly, Dr. Emejuru emailed Dr. Waggel stating with respect to sick leave

that day and any future sick leave:

               I hope you are starting to feeling [sic] better.

               As you know, if you need to use another sick day, that will be just fine.
               Just make sure to let your attending, Tory [Ms. Anderson], and myself
               know. Also, based on the amount of sick days you have used so far this
               current academic year, you will need to provide a doctor’s note for any
               future sick days taken.

               If you are not able to provide a note, vacation day(s) could be used for the
               day(s) you don’t provide a note.

               Let me know if you have any questions and get well.

Exh. C (Emejuru Decl.) ¶ 177; see also Exhibit 49 thereto (GWU 001360), Email, dated October

20, 2015 at 11:17 a.m., Dr. Emejuru to Dr. Waggel. (emphasis added).

       497.    Dr. Crone also emailed Dr. Waggel stating she had “been alerted to your need for

sick days in the past 2 days” and the commenting further:

                   Please note that it is not appropriate to send an e-mail to an
                   attending to notify him or her that you will be out sick. It is
                   particularly unacceptable to send a message late the evening
                   after one has not shown up. Additionally, it is not helpful to
                   send another e-mail the next day to notify the attending of an
                   absence. Rather, you need to speak to that attending directly as
                   soon as you think you might need to be off for a sick day.
                   Attendings count on the help of residents when doing their
                   patient care and they need to be able to gauge their workday
                   depending on whether they might have assistance or not. This
                   consideration and level of communication is necessary to
                   maintain the level of professionalism expected of a physician.
                   In addition to have needed to contact Dr. Malik [the attending],
                   you also need to inform our office about any absence.

Exh. C (Emejuru Dec), Exhibit 50 thereto (Plaintiff Bates 443), Email, dated October 20, 2015

at 6:27 p.m., (emphasis added).




                                             101
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 139 of 221



       498.   Dr. Waggel responded the following morning to “apologize for this

misunderstanding” and stated that “[O]n Monday October 19th at 7:19am I emailed Dr. Malik

and administration to inform them that I was too ill to come into work later. I called Dr. Malik

but there was no answer.” Exh. C (Emejuru Decl.) ¶ 179, Exhibit 50 thereto.

       499.   Dr. Waggel further described other subsequent communications she said she had

had with Dr. Malik and attached a document purporting to show the communications. Id.

       500.   Dr. Malik responded that she and her assistant, Valerie, had checked email and

text messages and confirmed they had not received any notice from Dr. Waggel about her

absence from clinical duties until October 21 and stated further: “I hope you are feeling better.

My concern is not being informed in time.” Exh. C (Emejuru Decl.) ¶181; see also Exhibit 51

thereto (GWU 001345), Email, dated October 21, 2015 at 9:49 a.m., Dr. Malik to Dr. Waggel.

       501.   Dr. Waggel responded to Dr. Malik:

              That is unfortunate. Perhaps my initial email went to your spam box and
              my initial phone call did not go though [sic]. If you received at least some
              of my attempts to make contact, respectfully, one would have thought you
              would reply to those. I am happy to forward you the email from Monday
              morning. Have a nice day

Exh. C (Emejuru Decl.) ¶ 182, Exhibit 51 thereto.

       502.   This was not a “misunderstanding.” Dr. Waggel had failed to assure that the

attending physicians and others actually knew she was not going to show for her clinical duties

that morning before those duties began and in time for alternate arrangements for coverage to be

made. Exh. C (Emejuru Decl.) ¶183.

       503.   In the absence of direct contact either by speaking in person or by telephone with

the attending and others requiring notification of absence for illness or any other reason, until

there is confirmation of receipt of any other form of communication (voice mail message, email,



                                          102
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 140 of 221



text message, etc.) by the attending physician and others, the notice has not been accomplished.

Exh. C. (Emejuru Decl.) ¶ 184.

       504.    Dr. Waggel attended therapy with Dr. Kecmanovic on October 20, 2015. See

Exh. U at p. 000002.

       505.    October 21, 2015 at 7:47 p.m., Dr. Waggel sent a text message to Dr. Emejuru

stating she needed to talk with her parents and would then send him the dates she could not be on

call during November. She was planning a trip to her parents’ home in Pennsylvania and was

also going to confirm any time off needed for medical appointments. Exh. C (Emejuru Decl.) ¶

185; see also Exhibit 52 thereto (Plaintiff Bates 1187), Screen shot of text messages.

       506.    Dr. Emejuru responded “Ok, I will do my best to make sure you are not on call

those dates.” Exh. C (Emejuru Decl.) ¶ 186, Exhibit 52 thereto.

       507.    On October 21, 2015 at 10:58 p.m., Dr. Waggel emailed Dr. Emejuru stating she

had appointments November 3, 10, 19, and 24 and had made arrangements to go home to

Pennsylvania November 26 – 28 for legal documents to sign for her car inspection and insurance

“that I can only do in PA” and she hoped to see her mother. Exh. C (Emejuru Decl.) ¶ 187; see

also Exhibit 53 thereto.

       508.    Dr. Emejuru responded the following day stating simply, “Ok thanks! Appreciate

this.” Exh. C (Emejuru Decl.) ¶ 188.

       509.    On October 22, Dr. Emejuru emailed Pamela Crawford, the Program

Administrator at Inova Fairfax, and Dr. Crone, Director of the residency training there, and Ms.

Anderson forwarding a copy of an administrative leave form that had been submitted by Dr.

Waggel on September 30 requesting four days administrative leave (October 27 – October 30) to




                                           103
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 141 of 221



take the USMLE Step 3 exam. Exh. C (Emejuru Decl.) ¶ 189; see also Exhibit 54 thereto (GWU

001338 – 001339), Email, Dr. Emejuru to Ms. Crawford, et al.

       510.    The attached leave form had been signed as approved by Dr. Malik, one of the

Inova Fairfax attending physicians. Exh. C (Emejuru Decl.), Exhibit 54 thereto.

       511.    Dr. Emejuru acknowledged that he had overlooked this leave form when he

returned from an international elective but noted in the email forwarding the form that he had

also already advised Dr. Waggel that she would need to have Dr. Crone sign off on any request

as well moving forward. Id.

       512.    Dr. Catapano later explained to Dr. Emejuru that the administrative time for the

USMLE Step 3 exam is only two days because it is a two-day exam so administrative leave of

four days should not have been approved and that Dr. Kels, the Associate Program Director, had

offered Dr. Waggel two alternatives to correct the designation for the leave time. Exh. C

(Emejuru Decl.) ¶ 192.

       513.    In the interim, Dr. Kels, Associate Program Administrator, had already emailed

Dr. Waggel at 12:02 p.m., regarding the incorrect approval of the administrative leave time

including that the request had not been submitted to Dr. Crone as was required for all Inova

Fairfax rotation sites as all residents had been reminded they were required to do as recently as

September 14 by an email notice from Dr. Darlinda Minor, another of the Program’s Chief

Residents that year. Exh. C (Emejuru Decl.) ¶ 193, Exhibit 55 thereto (GWU 001325 – 001327,

at GWU 001326).

       514.    Dr. Kels further stated to Dr. Waggel that since Dr. Waggel was already

scheduled to take the exam, she [Dr. Kels] wanted “to do everything possible from an

administrative standpoint to facilitate your successful completion of the test.” Id.



                                            104
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 142 of 221



       515.      Dr. Kels advised Dr. Waggel that she could take four days of leave as she had

requested but that to be consistent and fair to all residents, approval would be confirmed for two

days administrative leave for the exam (like everybody else in the Program for the USMLE Step

3 exam) and then decide whether to take two days of personal/vacation leave for the four-day

leave, or take the 2 days of administrative leave for the exam and report for duty on the

remaining 2 clinical days. The choice was Dr. Waggel’s and would be approved either way. Id.

       516.      Dr. Kels also alerted Dr. Waggel to the fact that while the Program would approve

whichever option she selected for the requested leave, she should be aware in making the

decision that her “attendance at PHP this month puts you in jeopardy of failing the rotation,

based solely on the number of days worked/not worked.” Id.

       517.      On October 22, 2015 at 4:48 p.m., Dr. Waggel sent an email to Ms. Anderson, Dr.

Catapano, Dr. Kels, Dr. Minor and Dr. Emejuru, regarding her response to an earlier email from

Ms. Anderson at 12:53 p.m. explaining that Ms. Anderson had made a mistake in sending

confirmation to Dr. Waggel of approval for the requested four days of administrative leave. Id. at

GWU 001325.

       518.      In her 4:48 p.m. email response to Ms. Anderson and others, Dr. Waggel stated

she had been told the administrative leave was approved and then stated that “in regard to sick

days for cancer follow up and taking administrative leave for my licensing exam . . . and

receiving confirmation from multiple sources that I have done everything necessary, I still suffer

negative consequences. The way I have been treated over the last five months has been

inhumane.” Id.

       519.      Dr. Waggel’s email was unresponsive as proposed change in administrative leave

to two days for the USMLE Step 3 exam had nothing to do with a discussion of sick days and



                                            105
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 143 of 221



discussion was solely about Dr. Waggel’s choice in the use of administrative leave time and

personal/vacation time. Exh. C (Emejuru Decl.) ¶¶ 199 – 200.

       520.    Moreover, all of Dr. Waggel’s previous requests for sick leave had been granted,

were no “negative consequences” to Dr. Waggel in the Program’s correction of the error in

administrative leave time for the USMLE Step 3 exam, one held the error against Dr. Waggel. In

fact, Ms. Anderson apologized for her mistake. Exh. C (Emejuru Decl.) ¶¶ 201 – 203.

       521.    The correction to two days of administrative leave time was to assure that all

residents would be treated the same. Exh. C (Emejuru Decl.) ¶ 204.

       522.    At 2:33 p.m., on October 22, Dr. Waggel sent an email to Ms. Anderson, Dr.

Emejuru, and Dr. Griffith stating there had been “negative repercussions” about taking a sick day

for tests for “metastasis,” she was going to need to take another sick day as she was “having

extreme anxiety about the fact that was [sic] punished for this sick day despite” informing people

in advance and reciting other matters. Exh. C (Emejuru Decl.) ¶ 209; see also Exhibit 58 thereto

(Plaintiff Bates 861).

       523.    There were no “negative repercussions” or “punishment” for Dr. Waggel related

to the sick day she had taken. The only issue that arose was the matter previously addressed with

Dr. Waggel on a number of occasions that it was her responsibility to assure that her attendings

and program administrators received actual notice of an intended absence on a clinical shift, this

time at Inova Fairfax, before the shift actually begins. Exh. C (Emejuru Decl.) ¶ 210.

       524.    The medical appointment she had on October 20 was for a routine follow-up CT

scan of the chest, abdomen and pelvis with contrast material performed at Washington Radiology

Associates (which is only a few blocks from GW Hospital) as ordered by Dr. Siegel. The report




                                           106
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 144 of 221



of the study noted “[N]o evidence of recurrent or residual disease. Exh. J (Siegel Decl.) ¶ 10; see

also Exhibit 2, thereto, Report dated October 20, 2015.

       525.    Dr. Waggel did not see Dr. Siegel on October 20, but his notes indicate that he

reviewed the CT Scan report and the results of genetic testing Dr. Waggel underwent in

September 2015, which were negative for any clinically significant variants in the genes

associated with hereditary renal cell carcinoma. Exh. J (Siegel Decl.) ¶ 12; see also Exhibit 3

and Exhibit 4 thereto; Report of Genetics Consultation and Results of Genetic Testing.

       526.    At approximately 5:00 p.m., on October 22, Dr. Waggel texted Dr. Emejuru to

say that she was applying for sick leave beginning immediately until November 2, which would

cover the time away for the USMLE Step 3 exam and the other two days for which

administrative time had been incorrectly granted. Exh. C (Emejuru Decl.) ¶ 205; see also Exhibit

56 thereto (GWU 001319) Email, dated October 23, 2015 at 11:14 a.m., Dr. Emejuru to Dr.

Catapano concerning events the day before.

       527.    Later that day, Dr. Waggel called Dr. Emejuru to discuss what had happened and

then emailed Dr. Kels, Dr. Catapano and others stating that “[Due] to my current condition, I will

not be able to work tonight.” Exh. C (Emejuru Decl.) ¶ 207; see also Exhibit 57 thereto (Plaintiff

Bates 865), Email, dated October 22, 2015 at 5:14 p.m., Dr. Waggel to Dr. Kels, et al.

       528.    She noted in the email that she had spoken to Dr. Emejuru over the phone on the

matter, had arranged for another resident to cover her shift, and would submit a doctor’s excuse

for leave time. Exh. C (Emejuru Decl.) ¶ 208; see also Exhibit 57 thereto.

       529.    On October 23, the LOA Program office was notified by Ms. Tucker that Dr.

Waggel was requesting medical leave through November 2, beginning immediately. Exh. O




                                           107
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 145 of 221



(Vanlewen Decl.) ¶ 18; see also Exhibit 4 thereto, October 23 Email, Mary Tucker to Kim

Vanlewen.

       530.    A benefits administrator immediately emailed Dr. Waggel with directions on how

to access the website for The Standard, the University’s third party benefits administrator, to

apply for FMLA leave. Exh. O (Vanlewen Decl.) ¶ 19.

       531.    Dr. Waggel submitted the necessary paperwork and was granted FMLA leave for

the period October 26 – October 30, 2015. Exh. O (Vanlewen Decl.) ¶ 20.

       532.    On October 23, 2015, the CCC held a regularly scheduled meeting to discuss the

progress of each resident in the program. Exh. M (Dyer Decl.) ¶ 60; see also Exhibit 8 thereto,

Minutes of October 23, 2015, Clinical Competency Committee Meeting.

       533.    For approximately 30 minutes of the meeting the CCC discussed Dr. Waggel and

noted that she was having problems in multiple aspects of the program resulting in further letters

of deficiency either issued or to be issued, ongoing issues with medical leaves and

professionalism and failure in program requisites (PROF2). Exh. M (Dyer Decl.) ¶ 61.

       534.    It was further noted that two faculty members would be meeting with Dr. Waggel

to discuss a Root Cause Analysis (“RCA” – a formal review of an unexpected or adverse event

to determine the cause and set a plan for correction) of the overnight on call shift on August 25,

2015, in which Dr. Waggel had demonstrated significant lapses in the domains of Patient Care,

Interpersonal Communications Skills, and Systems-Based Practice. ¶ Exh. M (Dyer Decl.) ¶ 62.

       535.    It was further noted that Dr. Catapano was scheduled to meet with Associate Dean

for Graduate Medical Education, Jeffrey Berger, M.D., to review Dr. Waggel’s circumstances

and determine the Program’s next steps in her remediation. Exh. M (Dyer Decl.) ¶ 63.




                                           108
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 146 of 221



       536.     On October 23, 2015, at 11:44 a.m., Dr. Waggel sent an email to Ms. Anderson,

Dr. Catapano, Dr. Kels, Dr. Minor and Dr. Emejuru stating that she had not been aware “of a

policy stating a certain number of days missed despite have a doctors [sic] excuse would lead to

failing the rotation.” Exh. C (Emejuru Decl.) ¶ 216; see also Exhibit 59 thereto, Email, Dr.

Waggel to Ms. Anderson et al.

       537.     Dr. Waggel further stated in the email that, “[B]eing that this decision to fail me

for missing days was not brought to my attention until the week before my exam I no longer

have the ability to make such a study arrangement. It might be beneficial to clarify this policy

and which residents it applies to.” Exh. C (Emejuru Decl.) ¶ 217.

       538.     The Program made clear to all residents that attendance at clinical training and

didactics classes was required and that time missed from training, including for approved

medical appointments or sick leave with a doctor’s excuse, did not and could not count as actual

training time. Exh. C (Emejuru Decl.) ¶ 218.

       539.     Failing to meet the minimum training days required for each rotation, including

sick leave and doctors’ appointments, meant the rotation had to be repeated. Exh. C (Emejuru

Decl.) ¶ 219.

       540.     On Sunday, October 24, 2015 at 8:07 p.m., Dr. Waggel sent Dr. Emejuru a text

message inquiring if he would be able to set her schedule for November to accommodate her

doctor’s appointments. Exh. C (Emejuru Decl.) ¶ 222; see also Exhibit 60 thereto (Plaintiff

Bates 1199 – 1204); Screen shot of text messages beginning October 24, 2015 at 8:07 p.m.

       541.     Dr. Emejuru responded noting that he was in the process of updating the call

schedule and would let her know the schedule the following day. Exh. C (Emejuru Decl.) ¶¶

221, 223.



                                            109
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 147 of 221



       542.    Dr. Waggel replied further:

                   Ok thanks please remember I have therapy every Tuesday and
                   one onc[cology] appt and one ext appt depending what onc
                   says (appointment will prob be fertility specialist . . . And the
                   25 – 28 I have to go home to sign Legal documents in PA. . . . .
                   Thanks again Jason I’m sure it’s time consuming to make this
                   schedule.

Exh. C (Emejuru Decl.), Exhibit 60 thereto at Plaintiff Bates 1202.

       543.    Dr. Emejuru responded further, “Stephanie, even though you said you will be out

from 26 – 28 during you [sic] last text, I will make this one exception and put you on call nov

22nd instead of 25th. Note that you will have to work around the call schedule and not the other

way around (like all residents have to) from here on out.” Id. at Plaintiff Bates 1204.

       544.    Dr. Waggel replied further: “Other residents can make switches and I cannot. You

can keep me on the 25 I’m having someone drive me to PA anyway I’ll sleep in the car.” Id.

       545.    On October 28, 2015, Dr. Waggel was issued second Letter of Deficiency in the

area of Professionalism for her failure to get the required health clearance as she had been

instructed and reminded for several months by multiple parties. Exh. B (Berger Decl.) ¶¶ 11 –

12; see also Exhibit 1 thereto, a copy of the October 28, 2015 LOD.

       546.    Dr. Waggel attended therapy with Dr. Kecmanovic on November 3, 2015. See

Exh. U at p. 000002.

       547.    On November 3, 2015, Dr. Catapano emailed Dr. Dyer concerning the third Letter

of Deficiency she had begun drafting regarding Dr. Waggel’s unprofessional performance during

the August 25 overnight call shift. Exh. A (Catapano Decl.) ¶ 547; see also Exhibit 138 thereto

(GWU 001202), Email dated November 3, 2015 at 3:01 p.m., Dr. Catapano to Dr. Dyer.

       548.    She noted that a plan for remediation should start with a re-stating of the original

requirement that Dr. Waggel meet with Dr. Dyer regarding the first Letter of Deficiency and that

                                             110
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 148 of 221



the plan should involve concrete remediation including review of Code Strong procedures. Exh.

A (Catapano Decl.) ¶548.

       549.    She also noted, however, that the greater concern was Dr. Waggel’s lack of

insight concerning issues related to professionalism, self-care, self-regulation and interpersonal

communication. Exh. A (Catapano Decl.) ¶ 549.

       550.    Dr. Catapano noted her upcoming meeting with Dr. Berger in a few days to make

a plan in the coming months to address Dr. Waggel’s deficiencies and to “clarify the degree to

which she is or is not remediable” and that Dr. Berger might have a recommendation for more

intensive remediation than the initially proposed weekly meetings with Dr. Dyer. Exh. A

(Catapano Decl.) ¶¶ 550 – 551.

       551.    Dr. Dyer responded that there was another deficiency that should be added to the

list – failure to comply with the first Letter of Deficiency remediation plan which was “pretty

basic” – meet with him in two weeks and notify him of her supervisors so he could verify

attendance. Exh. A (Catapano Decl.) ¶¶ 552.

       552.    He also noted that Dr. Waggel had not initiated an attempt to meet with him

within the two weeks and when they did finally meet, she said that 90% of what was in the letter

was wrong. Exh. A (Catapano Decl.) ¶ 553.

       553.    Dr. Dyer commented further, given that the problems with Dr. Waggel were as

basic as the ones identified at the recent CCC meeting, he was not sure what would be

accomplished by his meeting with Dr. Waggel once a week even if he had the time to do that

which he did not. Exh. A (Catapano Decl.) ¶ 554.

       554.    On Thursday, November 5, 2015, Dr. Waggel turned in her third patient

formulation to Dr. Collins in her Psychodynamic Thought didactics class. The formulation was



                                           111
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 149 of 221



due on Sunday, November 1, 2015, but she failed to submit the assignment on that day. Exh. I

(Collins Decl.) ¶¶ 26, 27.

       555.    When Dr. Collins pointed out to her that the assignment was due several days

earlier Dr. Waggel noted only that she “ended up needing more tests than [she] anticipated, that’s

why [she] sent [me] the doctor’s slip.” Exh. I (Collins Decl.) ¶ 27; see also Exhibit 5 thereto

(Plaintiff Bates 475 – 476), Email, Dr. Waggel to Dr. Collins.

       556.    Dr. Collins did not admonish or chastise Dr. Waggel about this issue, but instead

simply inquired as to her health, to which Dr. Waggel responded that she was okay and thanked

Dr. Collins for inquiring. Exh. I (Collins Decl.) ¶¶ 28 – 29.

       557.    Upon review of the formulation, it was clear that Dr. Waggel completely lacked

understanding of the psychodynamic concepts had covered in the class, due in large part to the

fact she missed the majority of the class sessions. Exh. I (Collins Decl.) ¶¶ 30 – 31.

       558.    Dr. Waggel’s non-mastery of the class material was also evident from her

participation in class, which was often off-topic, misguided, and did not express an

understanding of the reading material assigned for that class period. Exh. I (Collins Decl.) ¶ 32.

       559.    Dr. Collins reported that she often questioned whether Dr. Waggel had actually

read the material based on the comments she made in class. Exh. I (Collins Decl.) ¶ 33.

       560.    It was also evident to Dr. Collins that Dr. Waggel lacked the insight necessary to

recognize the inappropriateness of her behavior and how it impeded the class or the frustration

her behavior caused her classmates. Exh. I (Collins Decl.) ¶¶ 34 – 35.

       561.    Because of Dr. Waggel’s glaring interpersonal deficiencies and lack of

understanding of the material, Dr. Collins did not feel that she was ready to move forward with

seeing a patient to apply the psychodynamic principles the other students had learned, which was



                                            112
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 150 of 221



the next step in the didactic training process. Dr. Collins provided this feedback to Dr. Waggel in

writing on November 7, 2015. Exh. I (Collins Decl.) ¶¶ 9, 36; see also Exhibit 6 thereto.

       562.    Dr. Collins also shared her feedback letter to Dr. Waggel with other members of

the faculty: The Psychiatry Residency Program Director, Dr. Lisa Catapano; the Psychiatry

Department Chair, Dr. James Griffith; the Associate Program Director, Dr. Lori Kels, and

another Psychodynamic Thought Professor, Dr. John Zinner. Exh. I (Collins Decl.) ¶ 39.

       563.    She noted: (1) That Dr. Waggel had missed most of the didactics sessions that

semester, presumably due to her illness, and when she did come to class she was generally late;

(2) on the day she was to present her article to the class she had no idea what to do and could not

handle the simple task of summarizing the article, but instead launched into a personal story

about how nurses and attendings on her unit had been complaining about her, and (3) that she did

not believe she had demonstrated mastery of the material or the emotional stability to see a

patient. Exh. I (Collins Decl.) ¶ 40; see also Exhibit 7 thereto.

       564.    Dr. Catapano responded to the email stating that Dr. Waggel’s performance in my

class was quite similar to that of her other classes. Exh. I (Collins Decl.) ¶ 41

       565.    Dr. Catapano further noted that Dr. Waggel had not formally requested any

accommodation related to her medical condition, so there was no documented reason for her to

miss class with such regularity for medical appointments. Exh. I (Collins Decl.) ¶ 42.

       566.    Dr. Catapano also informed Dr. Collins that she would be speaking with Dr.

Waggel in the coming week to recommend that Dr. Waggel extend her residency training by at

least six months so that she could repeat those areas of PGY2 training she was unable to master,

including the Introduction to Psychodynamic Thought course. Exh. I (Collins Decl.) ¶ 43.




                                             113
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 151 of 221



       567.    On Thursday, November 5, 2015, Dr. Catapano met with Dr. Berger to review Dr.

Waggel’s tenure in the program and all the concerns that had arisen about her failure to perform

to Program requirements and the effort to come up with a remediation plan in addition to all the

other steps already taken, including buddy call, the frequent meetings with her, Dr. Emejuru’s

work with Dr. Waggel to coordinate her schedule, arrangements for her medical appointments

and psychotherapy therapy, encouraging supervising attendings to provide frequent concrete

feedback, and the proposal to keep Dr. Waggel on buddy call with more senior resident

supervision. Exh. A (Catapano Decl.) ¶ 555.

       568.    Based on Dr. Waggel’s then current Milestone evaluation, which was

significantly below that expected for her level of training, Dr. Berger suggested that the Program

consider extending Dr. Waggel’s training by 6 months. Exh. A (Catapano Decl.) ¶ 556.

       569.    Dr. Berger did not think there was sufficient justification for Dr. Waggel’s

termination from the Program at that point, but an extension would be a step in that direction if

Dr. Waggel did not improve significantly. Exh. A (Catapano Decl.) ¶ 557.

       570.    In the afternoon of November 5, 2015, Dr. Catapano emailed a report of her

meeting with Dr. Berger to the CCC. Exh. A (Catapano Decl.) ¶ 560; see also Exhibit 139

thereto (GWU 00198), Email dated November 5, 2015 at 4:39 p.m., Dr. Catapano to CCC.

       571.    In addition to the matters already noted as discussed with Dr. Berger, Dr.

Catapano reported that a CCC decision to extend Dr. Waggel’s time in training would be

communicated to her within the Letter of Deficiency she was currently writing for the August 25

call night and that Dr. Waggel would be placed back on buddy call until her call performance

improved. In closing, she requested the recommendation of the CCC members regarding the

suggestion to extend Dr. Waggel’s training. Exh. A (Catapano Decl.) ¶ 561.



                                           114
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 152 of 221



       572.    Dr. Crone responded that she had “serious doubts that extending [Dr. Waggel’s]

training will help but also cannot see her becoming a PGY3 in another 7-8 months. She needs

oversight on professionalism, communication.” Exh. A (Catapano Decl.) ¶562; see also Exhibit

139 thereto, Email dated November 5, 2015 at 7:01 p.m.

       573.    Dr. Dyer responded that he also had doubts about Dr. Waggel becoming a PGY

[sic] in 7-8 months if she needs to be on call with a buddy and we are still worrying if she will

even show up for work.” Exh. A (Catapano Decl.) ¶ 563; see also Exhibit 139 thereto, Email

dated November 5, 2015 at 7:15 p.m.

       574.    Dr. Dyer responded further:

                  [W]hat . . . educational program could we design where we
                  could confidently say she had the skills to practice this
                  profession/specialty independently, which may not be a good
                  choice for her. I wonder that we would renew her contract; or
                  even since she has refused to comply with the most basic
                  remediation plan, if there are grounds for terminating her
                  contract –

Exh. A (Catapano Decl.) ¶ 564; see also Exhibit 139 thereto, Email dated November 5, 2015 at

7:15 p.m.

       575.    Dr. Kels responded: “I agree with the stated concerns.” Exh. A (Catapano Decl.)

¶ 56; see also Exhibit 140 thereto (GWU 001197), Email dated November 6, 2015 at 10:07 a.m.

       576.    Dr. Catapano commented that extending Dr. Waggel’s training was a step they

could take at that time, which would communicate that Dr. Waggel had not been performing

adequately for the first four months of the year, and “sets the groundwork for not renewing her

contract next year, if she is to continue with this level of performance.” Exh. A (Catapano Decl.,

Exhibit 140 thereto.




                                             115
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 153 of 221



       577.       She further proposed that, if they extended Dr. Waggel’s training at that time “and

she doesn’t get either worse or significantly better, that she repeat the PGYII year in its entirety

next year.” Id.

       578.       Dr. Catapano noted that Dr. Griffith, Dr. Collins, and Dr. Zinner had already

documented that Dr. Waggel’s performance in their didactic courses was insufficient, so Dr.

Waggel would have to repeat all of them as well. Id.

       579.       Dr. Catapano then commented that “[I]f things go very well for [Dr. Waggel], she

could then be promoted to PGYIII the following year, but if not, then at least we’ve done

everything we can to give her the opportunity to remediate.” Id.

       580.       Dr. Catapano closed by asking if the CCC members agreed with the proposal for

the time being, noting that they would revisit Dr. Waggel’s progress along the way and could

recommend non-renewal of contract, or termination, if warranted. Id.

       581.       At some time in early November, Associate Dean for Graduate Medical

Education, Dr. Jeffrey Berger, was contacted regarding complaints from multiple tenants in Dr.

Waggel’s condominium building about Dr. Waggel having loud parties at all hours of the night,

falling asleep in the common areas of the condo building while intoxicated, and exhibiting other

erratic behaviors. Exh. B (Berger Decl.) ¶ 13.

       582.       He also received copies of two Police Reports regarding such incidents that had

occurred on October 10 and October 30, 2015, respectively. Exh. B (Berger Decl.) ¶ 13; see also

Exhibit 3 (October 10, 2015 Police Report) and Exhibit 4 (October 30, 2015 Police Report)

thereto.

       583.       He was also forwarded a copy of an email complaint about the October 11, 2015,

incident made by one of the building tenants through the GW Neighborhood website complaint



                                              116
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 154 of 221



system. In the complaint Dr. Waggel’s neighbor noted that in addition to the October 10 incident,

Dr. Waggel had been found “drunk or drugged in the hallway before and became abusive when

confronted.” Exh. B (Berger Decl.) ¶ 15; see also Exhibit 5 thereto, Email complaint).

       584.    These reports were concerning to Dr. Berger for multiple reasons. Obviously he

was concerned about a GW resident exhibiting such inappropriate behavior in our community.

He was also concerned; however, because that was the second time that he had received a report

regarding Dr. Waggel behaving erratically while under the influence of a substance. Exh. B

(Berger Decl.) ¶16.

       585.    Prior to the condominium building incident, he had also received an informal

report from Dr. Catapano about the instance where Dr. Waggel was found asleep in a call room

during a shift, allegedly the result of a mistake she made in taking a prescription medication.

Exh. B (Berger Decl.) ¶ 17.

       586.    Dr. Berger became concerned that Dr. Waggel may have had a substance abuse

issue and decided that he needed to investigate her personal stability as it was unsafe for her to

see patients if she was unfit. Exh. B (Berger Decl.) ¶ 18.

       587.    On or about, November 10, 2015, Dr. Berger contacted Dr. Catapano and directed

that Dr. Waggel be placed on administrative leave pending an investigation of the community

complaints. Exh. B (Berger Decl.) ¶ 19.

       588.    He also asked for a meeting with Dr. Waggel to be arranged so that he could

investigate the community complaints. Exh. B (Berger Decl.) ¶ 20.

       589.    Dr. Catapano then phoned Dr. Waggel and told her that a matter had come to

Dean Berger’s attention that he would contact her about and discuss with her, that he would need




                                            117
         Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 155 of 221



to investigate the matter briefly and in the meantime the decision had been made that she would

be placed on administrative leave effective immediately. Exh. A (Catapano Decl.) ¶ 579.

         590.   Dr. Catapano further told Dr. Waggel that she should continue with all of her

other activities in the training program but that during the administrative leave she was not to

report for any clinical duties, and confirmed that her status in the program otherwise remained

unchanged including all pay and benefits. Exh. A (Catapano Decl.) ¶ 580.

         591.   Dr. Catapano also told Dr. Waggel that she had discussed the issue with Dr.

Crone and the personnel at Inova Fairfax Hospital were aware that she would not be there for

work. Exh. A (Catapano Decl.) ¶ 581.

         592.   Because she knew the matter was related to a community complaint about

possible substance abuse, not Dr. Waggel’s attendance in the program or use of sick leave Dr.

Catapano did not mention or refer to sick leave during the conversation. Exh. A (Catapano Decl.)

¶ 582.

         593.   Dr. Waggel responded to the request by suggesting that they meet several days

later, which Dr. Berger found to be quite unusual given that she had been placed administrative

leave. They eventually agreed to meet on November 18, 2015. Exh. B (Berger Decl.) ¶ 21.

         594.   Dr. Catapano also notified Dr. Emejuru, the Chief Resident, and the

administrative team that Waggel would be “put on administrative leave with pay effective

immediately, pending an investigation of a complaint against her.” Exh. C (Emejuru Decl.) ¶

229; see also Exhibit 63 thereto, Email, dated November 10, 2015 at 6:28 p.m., Dr. Catapano to

Ms. Crawford et al.




                                          118
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 156 of 221



       595.     Dr. Waggel then texted Dr. Emejuru “I request your return phone call as soon as

you can please.” Exh. C (Emejuru Decl.) ¶ 230; see also Exhibit 64 thereto, Screen shot of text

message beginning November 10, 2015 at 8:06 p.m.

       596.     Dr. Waggel then sent emails at 8:09 p.m., 8:50 p.m., and 9:27 p.m., to Dr.

Catapano, Ms. Anderson and Dr. Emejuru stating she was sure that whatever was going on “has

a good explanation, however, I would appreciate further communication on it.” Exh. C (Emejuru

Decl.) ¶ 232; see also Exhibit 65 thereto, Emails, dated November 10, 2015 at 8:09 p.m., 8:50

p.m., and 9:27 p.m., Dr. Waggel to Dr. Catapano et al.

       597.     In the email at 9:27 p.m. asserted that Dr. Catapano had told Dr. Waggel that she

was “being investigated by the ‘deans’ for taking medical leave multiple times.” Exh. C

(Emejuru Decl.), Exhibit 65.

       598.     This was false as there had been no discussion of removing Dr. Waggel from the

Inova Fairfax rotation because of leave she had taken during the rotation. Exh. C (Emejuru

Decl.) ¶ 234.

       599.     At no point did Dr. Catapano, or any other member of the administrative team, or

anyone else ever discuss the administrative leave in terms of Dr. Waggel’s attendance or sick

leave at the Inova Fairfax rotation. Exh. C (Emejuru Decl.) ¶ 236.

       600.     Dr. Waggel was scheduled for a November 11, 2015, follow-up appointment with

Dr. Siegel to discuss the results of her October 20 CT scan, but she did not appear for that

appointment, presumably to Dr. Siegel, because she had already received the favorable results.

Exh. J (Siegel Decl.) ¶ 14.

       601.     Dr. Waggel attended therapy with Dr. Kecmanovic on November 11, 2015. See

Exh. U at p. 000002.



                                           119
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 157 of 221



       602.    On November 11, Dr. Catapano sent an email to Dr. Waggel with a third Letter of

Deficiency related to the August 25 call shift incident, the substance of which she noted they had

previously discussed during a meeting on October 1 and Dr. Waggel had also discussed during

her prior meeting with Dr. Norris and Dr. Gandhi. Exh. A (Catapano Decl.) ¶ 584; see also

Exhibit 143 thereto, Email dated November 11, 2015 at 11:54 a.m., Dr. Catapano to Dr. Waggel,

and Exhibit 144 thereto November 11, 2015, Letter of Deficiency.

       603.    On November 11, 2015 at 2:15 p.m., Dr. Waggel responded by email. Exh. A

(Catapano Decl.), Exhibit 143 thereto.

       604.    Dr. Waggel’s email contained a series of statements with which Dr. Catapano

disagreed and which confirmed the ongoing concern for Dr. Waggel’s lack of self-observation

and ability to acknowledge her deficiencies as well as her failure to understand that efforts at

remediation were intended for her benefit, not as punishment or an attack on her. Exh. A

(Catapano Decl.) ¶ 586.

       605.    In the last paragraph of her email, Dr. Waggel contended that her current

“buddies” had “no desire to help me” and “[t]hey try to leave or actually do leave in the middle

of the night with no explanation as to were they are going, and they do not return.” She also

stated that these individuals, “[T]o cover for themselves, they lie to you about the call shift in

emails knowing full well you will not ask for or listen to what I have to say – which you indeed

haven’t.” Exh. A (Catapano Decl.) ¶ 587; see also Exhibit 143 thereto.

       606.    A review of the email reports received from the residents, all of whom were doing

well in the Program and were well respected, and in fact had been selected because it was

thought they would be most helpful as training mentors for Dr. Waggel, it did not seem likely

they had engaged in the dishonesty described by Dr. Waggel. Exh. A (Catapano Decl.) ¶588.



                                           120
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 158 of 221



       607.   The charges, however, were obviously concerning and Dr. Catapano asked Dr.

Kels and the two Chief Residents to investigate the claims. Exh. A (Catapano Decl.) ¶ 589.

       608.   Dr. Emejuru followed up and confirmed with the other residents that they had not

left the hospital except Dr. Linda Ojo, who had provided a detailed report of the shift and noted

herself that she had left about a half hour early when she received a telephone call that her

daughter had missed the school bus. She clearly did not leave “in the middle of the night” and

“with no explanation as to where” she was going. Exh. A (Catapano Decl.) ¶ 590.

       609.   The statement by Dr. Waggel directly accusing her professional colleagues of

lying and a lack of professionalism was clearly false. Exh. C (Emejuru Decl.) ¶240.

       610.   On November 15, 2015 at 9:20 p.m., Dr. Catapano received a detailed email

report from Dr. Thomas B. Shaver providing a very favorable report of his buddy call with Dr.

Waggel on November 8 which appeared to provide confirmation that the buddy call remediation

could be effective for Dr. Waggel with her cooperation. Exh. A (Catapano Decl.) ¶ 591; see also

Exhibit 146 thereto, Email Dr. Shaver to Dr. Catapano, et al. (including Dr. Waggel).

       611.   On November 17, 2015, an attorney named Gregory Care emailed Dr. Berger

with notice that he had been retained to represent Dr. Waggel. Exh. B (Berger Decl.) ¶ 22.

       612.   On November 18, 2015, Dr. Catapano emailed the members of the CCC to notify

us that she was preparing a new LOD for Dr. Waggel regarding the fact Dr. Waggel had failed

two didactics courses, Introduction to Psychodynamic Theory with Dr. Cheryl Collins, and

Neuroscience with Dr. James Griffith. Exh. M (Dyer Decl.) ¶ 71; see also Exhibit 10 thereto.

       613.   The email noted that Dr. Waggel had failed two exams in the Neuroscience course

with a score of 33% on each. It also noted that Dr. Collins felt that Dr. Waggel had not




                                           121
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 159 of 221



progressed enough in her understanding in the course to be able to start with a therapy patient the

next month as expected. Exh. M (Dyer Decl.) ¶ 72.

       614.    Dr. Catapano further noted that another faculty member, Dr. John Zinner, did not

allow a resident who did not have a therapy patient assigned to take his course in Psychodynamic

Psychotherapy which would run the entire rest of the current year because it is case-based. Exh.

M (Dyer Decl.) ¶ 73.

       615.    Both Dr. Collins and Dr. Griffith commented that tardiness, absences, and failure

to do assigned work outside of class contributed to Dr. Waggel’s poor performances. Exh. M

(Dyer Decl.) ¶ 74.

       616.    Dr. Catapano suggested that if Dr. Waggel returned to work that month or next,

that she not be allowed to participate in PGY2 didactics for the rest of the year as they all build

upon each other as the year goes forward and she had not learned enough in the first quarter of

the year for her to be able to learn what she needed in the latter part of the year. Exh. M (Dyer

Decl.) ¶ 75.

       617.    If that were to occur, Dr. Catapano further noted that since Dr. Waggel would not

be participating in the protected didactic time which was conducted all day each Thursday, she

would be expected to report for clinical work on those days. Exh. M (Dyer Decl.) ¶ 76

       618.    Finally, Dr. Catapano noted to the CCC that Dr. Waggel had already been

informed that she would not be promoted to the PGY3 year the next July (2016) as the result of

these deficiencies and she would be required to start the PGY2 didactic curriculum from the

beginning the next year. Exh. M (Dyer Decl.) ¶ 77.




                                           122
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 160 of 221



       619.    Dr. Dyer responded to Dr. Catapano’s email noting that there were two issues –

(1) Dr. Waggel’s deficiencies, and (2) what she would be allowed to do if she were to return to

work. Exh. M (Dyer Decl.) ¶ 78

       620.    As to the deficiencies, Dr. Dyer suggested that they be documented in the LOD

and that the Program Director, the CCC, the GME dean, and the university counsel then

determine a response to the repeated deficiencies, the fact that Dr. Waggel continued to fail to

acknowledge that she had a problem, and the fact that Dr. Waggel had refused to comply with

the remediative efforts already presented to her. Exh. M (Dyer Decl.) ¶ 79

       621.    As to return to clinical rotations, Dr. Dyer stated that he did not see how she could

be allowed to see patients independently or what could happen to make that a possibility. Exh.

M (Dyer Decl.) ¶ 80.

       622.    On November 18, 2015, Dr. Berger met with Dr. Waggel along with the Director

of Graduate Medical Education, Mary Tucker. Dr. Waggel brought her father to the meeting at

the suggestion of her attorney, but Dr. Berger was uncomfortable with him being part of the

discussion and asked that he wait outside, which he agreed to do Exh. B (Berger Decl.) ¶ 23.

       623.    Dr. Berger informed Dr. Waggel of the complaints from her neighbor and his

concern regarding her behavior. She stated that she had a party, but it was not out of control and

the neighbors only complained because they did not like her. She assured him that she did not

have a substance problem. Exh. B (Berger Decl.) ¶ 24.

       624.    As he did not have any further information to go on, he accepted her explanation.

Id.

       625.    In the meeting, Dr. Berger and Dr. Waggel discussed the other issues that Dr.

Waggel had been having in the program up to that point. She contended that she was not being



                                           123
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 161 of 221



allowed to take time off to get follow up appointments after her kidney surgery and Dr. Berger

suggested that she go to University’s Office of Equal Employment Opportunity to get an official

accommodation if she felt her condition required it as the Program could not simply make

special arrangements for her if she did not do so. Exh. B (Berger Decl.) ¶25.

       626.    Mary Tucker, who was also present in the meeting, followed up on this with an

email providing Dr. Waggel with instructions on how to contact the EEO office to inquire about

getting an accommodation for a disability. See Exhibit BB, Email dated 2:58 p.m., November

19, 2015, from Mary Tucker to Dr. Waggel et al (Plaintiff Supp. Prod (Oct) 249 of 466).

       627.    They also discussed the LODs she had received and that she was not on track to

complete PGY2 year on time. She complained that she was not getting the assistance she needed

to address the remediation plans the LODs and he offered to assist her with finding a new faculty

mentor to work with on those issues. Exh. B (Berger Decl.) ¶ 26.

       628.    Dr. Berger explained to Dr. Waggel that the purpose of a Letter of Deficiency is

to help a resident identify an issue, improve upon that issue, and move on in the program and

assured Dr. Waggel that the Program’s goal was for her to complete her training. Exh. B (Berger

Decl.) ¶ 27.

       629.    Dr. Waggel acknowledged this and stated that she was constantly seeking

feedback and appreciated the LODs because they address a problem and suggest how to fix it.

Exh. B (Berger Decl.) ¶ 28.

       630.    Dr. Berger also suggested to Dr. Waggel, that she might consider taking a leave of

absence until the following July to take care of her health issues if they were affecting her ability

to do her best in the Program. He went on to add that might be a good option considering the fact

that, at the very least, she was going to be required to repeat some portions of her PGY2 year



                                            124
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 162 of 221



given the time she had missed. He stressed to her that the goal was for her to complete her

training, and that she should not worry about doing so “on time.” Exh. B (Berger Decl.) ¶ 29.

       631.    Dr. Berger expressed to Dr. Waggel that by extending her training so that she

could have whatever time she needed to take care of herself and still be able to finish her training

was the Program’s way of investing in her as it was a financial investment for the University to

extend her training because the United States government pays for resident training only for a

certain portion of time and once the resident exceeds that amount of time, the cost of training

goes to the Program and the University. Exh. B (Berger Decl.) ¶ 30.

       632.    Extension of training for residents that miss time is not uncommon. Residency is

not a regular job – it is job training. There are certain skills that a resident must master before he

or she can move on to the next level of practice and it is the Program’s responsibility to ensure

that a resident has those skills. If a resident is unable to learn and master those skills, then the

residency training time can be extended. Exh. B (Berger Decl.) ¶ 31.

       633.    According to Dr. Berger, when he has had conversations with other residents in

the past about extending training, it was met with acceptance and Dr. Waggel’s refusal to

acknowledge that she had any issues or that the Program was only trying to help was truly

confusing to him. Exh. B (Berger Decl.) ¶ 32.

       634.    During this meeting, Dr. Berger also discussed with Dr. Waggel the possibility of

transferring to another program where she could have a fresh start if she felt that her training

could not continue at George Washington University. Exh. B (Berger Decl.) ¶ 33.

       635.    Following the meeting, Dr. Berger prepared a short memorandum summarizing

the meeting and sent it to Dr. Catapano with a list of next steps to help Dr. Waggel. Exh. B

(Berger Decl.) ¶ 35; see also Exhibit 8 thereto, Dr. Berger’s memo.



                                             125
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 163 of 221



       636.     In his summary, Dr. Berger encouraged Dr. Catapano to reiterate to Dr. Waggel

that the Program was committed to her success and the goal was for her to complete her

residency training, and to reiterate to Dr. Waggel that prolonging her training was an investment

of time and money that the Program was making in her. Exh. B (Berger Decl.) ¶ 35.

       637.     Dr. Waggel also provided a summary of the meeting to Dr. Catapano by email,

which made clear that she had misunderstood or misinterpreted points of our conversation Exh.

B (Berger Decl.) ¶¶ 36 – 37.

       638.     Despite the clear discussion that she would need to extend her training, Dr.

Waggel stated that it was her goal to graduate “on time” and that she would have her attorney

investigating that issue. Exh. B (Berger Decl.) ¶ 39.

       639.     This was counter to the discussion held, and moreover, counter-productive to

facilitating a relationship of trust and cooperation moving forward. Id.

       640.     It was not constructive for Dr. Waggel to state that “her lawyer” had any role to

play in the Program’s assessment of her academic performance, educational objectives achieved,

Milestones not met, need for remediation, and length of time in training. Exh. A (Catapano

Decl.) ¶ 605.

       641.     Dr. Waggel went on to state:

                I know there have been residents who have taken time off for medical
                reasons and have graduated on time. I also am still confused as to why I
                would have to repeat an entire month due to taking a licensing exam I was
                approved for and taking sick days I followed the protocol for and had
                doctor’s notes.

Exh. A (Catapano Decl.) ¶ 597.

       642.     These statements reflected Dr. Waggel’s ongoing misunderstanding of

information she had been provided. Exh. A (Catapano Decl.) ¶ 598.



                                            126
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 164 of 221



       643.    It is true that some residents take time off for medical reasons and graduate on

time, when the time off is not so prolonged as to disqualify them for training time requirements.

Exh. A (Catapano Decl.) ¶ 599.

       644.    Residents are entitled to take allotted vacation and personal time, and whatever

sick leave is required as documented by their medical providers and approved by Benefits

Administration and/or the EEO Office. Exh. A (Catapano Decl.) ¶ 600.

       645.    But following procedures for and taking approved leave – whether administrative

time to take an exam, sick leave for medical care and treatment, or vacation or other personal

leave time for any another other reason – is not a substitute for mandatory training time. Exh. A

(Catapano Decl.) ¶ 601.

       646.    Despite stating that she appreciated LODs because it gave her feedback to

address, Dr. Waggel continued to dispute the contents of the LODs she received. Exh. B (Berger

Decl.) ¶ 40.

       647.    Dr. Waggel stated that she was not to be on buddy call, which was true, but

incorrectly asserted that “[m]y ‘buddies’ are my peers” in that they “seem to have the same

knowledge and experience as me.” Exh. A (Catapano Decl.) ¶ 607.

       648.    The doctors assigned as Dr. Waggel’s buddies were ahead of her by a full year of

clinical training and were all well in advance of Dr. Waggel in medical knowledge,

professionalism, systems-based practice, interpersonal communications, and overall clinical

knowledge and skills. Exh. A (Catapano Decl.) ¶ 608.

       649.    Dr. Waggel again asserted the false claim that her first two buddies, Drs. Ojo and

He, did not offer to help her and left hours before the call shift ended, and went on to state that




                                           127
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 165 of 221



she was told not to disclose the information so they would not get in trouble. Exh. A. Catapano

Decl.) ¶¶ 609 – 610.

       650.    Dr. Berger responded to Dr. Waggel’s email to highlight the areas he found to be

incorrect and/or inappropriate, first noting that the tone of her email was inappropriately harsh

and demanding and that she should soften her tone as she addressed her Program Director. Exh.

B (Berger Decl.) ¶¶ 41 – 42.

       651.    He also told Dr. Waggel that she misunderstood the conversation about the

decision to delay her promotion to PGY III, and identified the steps that she could take if she

wished to appeal that decision. Exh. B (Berger Decl.) ¶ 44.

       652.    Dr. Berger ended by noting that it was everyone’s goal to see her succeed in the

Program and the Program was investing in her by asking her to delay promotion to ensure that

she received all necessary training. Exh. B (Berger Decl.) ¶ 45.

       653.    On the very same afternoon following Dr. Waggel’s meeting with Dr. Berger,

Program Coordinator, Ms. Tori Anderson, forwarded an email transcribing text message screen

shots from a group text in which Dr. Waggel, among other statements, texted: “I love being

unemployed” – “My lawyer just won a case for a surgical resident who sued his program” –

“Ya’ll need to start looking for other jobs this department gunna be out of business soon.” Exh.

A (Catapano Decl.) ¶ 592; see also Exhibit 147 thereto, Email dated November 18, 2015 at 2:12

p.m., Ms. Anderson to Dr. Berger, Dr. Catapano.

       654.    Around this time, Dr. Berger and Dr. Catapano discussed that given Dr. Waggel’s

ongoing struggles, the remediation plan in the original Letter of Deficiency, dated November 11,

could be strengthened further if Dr. Waggel’s level of supervision were changed from buddy call

to attending physician supervision and her work on improving patient clinical presentations be



                                           128
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 166 of 221



changed from Dr. Dyer to the Associate Program Director, Dr. Kels. Exh. A (Catapano Decl.) ¶

612.

       655.     Dr. Catapano had already planned to incorporate those changes – and only those

changes – in a revised Letter of Deficiency and issue that to Dr. Waggel. Exh. A (Catapano

Decl.) ¶ 613.

       656.     On November 19, 2015, Dr. Catapano met with Dr. Waggel late in the afternoon

and provided her with a revised Letter of Deficiency to replace the November 11 version. Exh. A

(Catapano Decl.) ¶¶ 614 – 615; see also Exhibit 149 thereto, an email memorandum of the

meeting, and Exhibit 150 November 19 Letter of Deficiency (Revised version).

       657.     The points discussed with Dr. Waggel during this meeting included:

                (a)    Dr. Waggel’s performance in the courses taught by Dr. Griffith and

                Dr. Collins was unsatisfactory, she may be required to repeat them the

                next year, she might not proceed with the rest of PGYII didactics, and she

                should meet with Dr. Griffith and Dr. Collins, finish any outstanding work

                with them, and finalize her evaluations for the courses;

                (b)    Dr. Kels and Dr. Catapano would work with Dr. Waggel to

                establish a detailed plan regarding extra supervision by her attending

                physician for each call and also make appropriate changes to have Dr.

                Waggel on solo call with attending supervision by telephone);

                (c)    Dr. Catapano would correct her earlier misimpression as to the

                time of the meeting Dr. Waggel had had with Dr. Norris and Dr. Gandhi

                concerning a review of the RCA;




                                            129
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 167 of 221



               (d)     Dr. Waggel had requested more information concerning the RCA

               and I suggested she contact Dr. Norris for that purpose, and

               (e)     Dr. Waggel was to return to clinical rotation on Geriatrics the next

               day.

       658.    Dr. Catapano closed the email: “Take good care of yourself, and as we discussed,

let’s plan to meet right after Thanksgiving next week.” Id.

       659.    On November 19, 2015, Dr. Waggel went to Dr. Griffith’s office to discuss her

performance in his class during which she asked if she could “retake” the first two exams. Exh.

N (Griffith Decl.) ¶ 63.

       660.    Dr. Griffith said no. Exh. N (Griffith Decl.) ¶ 64.

       661.    He then explained very clearly to Dr. Waggel that the first segments of the

Neurosciences course establish the basic foundation for the residents’ knowledge of

psychopharmacology that must be applied throughout the year-long course and the remainder of

their psychiatry residency training. Exh. N (Griffith Decl.) ¶ 65.

       662.    He also noted that the material from each segment of the course is a building

block for the next segment so it was necessary to master each segment in sequence to move

through the course successfully. Exh. N (Griffith Decl.) ¶ 66.

       663.    He told her that she would not be allowed to simply “retake” the first two exams

because she had received such low scores that it was clear she did not understand the material.

Exh. N (Griffith Decl.) ¶ 67.

       664.    He further told her that she had to repeat at least those two segments of the

course, if not more, to ensure that she had learned the material. Exh. N (Griffith Decl.) ¶ 68.




                                            130
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 168 of 221



       665.    Following her meeting with Dr. Griffith, Dr. Waggel walked down the hall to Dr.

Catapano’s office and said that he had told her that the exams in his course are “cumulative” so

that if she did well enough on the upcoming exam she could successfully complete the course

and she was excited about that. Exh. A (Catapano Decl.) ¶ 618.

       666.    Based on prior experience with residents who had to repeat portions of Dr.

Griffith’s course, Dr. Catapano did not believe Dr. Waggel’s contentions to be correct, so when

Dr. Waggel left she immediately walked the short distance to Dr. Griffith’s office, told him what

Dr. Waggel had just said about the exams being cumulative and she could pass his course, and

asked him if that were true. Exh. A (Catapano Decl.) ¶¶ 619 – 620.

       667.    Dr. Griffith responded immediately and without hesitation that that was

absolutely untrue – he had not said that to Dr. Waggel, but in fact had told her the exact opposite

– that she would have to repeat at least the two segments she had failed and probably should

repeat the whole course. Exh. A (Catapano Decl.) ¶¶ 621 – 622.

       668.    This was an instance of blatant lying. Dr. Waggel asked Dr. Griffith a

straightforward yes/no question and he gave her a straightforward no answer. There was no room

for misunderstanding in our conversation. Exh. N (Griffith Decl.) ¶ 72.

       669.    Dr. Griffith was not singling Dr. Waggel out for different treatment than any other

resident who had so clearly shown that they had not understood and absorbed the important

information in this course. Exh. N (Griffith Decl.) ¶ 83.

       670.    This was consistent with what other residents had been required to do in the past

when they did not show evidence of having learned the material. Exh. N (Griffith Decl.) ¶ 82.




                                            131
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 169 of 221



       671.    On November 18, 2015, Dr. Waggel was scheduled to have her one-on-one

feedback session with Dr. Collins regarding her most recent formulation in the class, but she did

not attend the session or contact Dr. Collins to cancel in advance. Exh. I (Collins Decl.) ¶ 38.

       672.    Dr. Waggel did not show up despite having confirmed with Dr. Collins by email

on November 8, 2016, that she would do so. Id.

       673.    Based on her earlier communication with Dr. Catapano about Dr. Waggel’s

training being extended, Dr. Collins emailed Dr. Waggel suggesting that she repeat the

Psychodynamic Thought course as she was unable to master the essential concepts covered in

class due in large part to her many absences. Exh. I (Collins Decl.) ¶ 45.

       674.    Following the email, Dr. Collins spoke to Dr. Waggel on the phone and reiterated

her position that Dr. Waggel should repeat the course, particularly in light of the fact that she

was likely going to need to extend her training. Exh. I (Collins Decl.) ¶ 46.

       675.    Dr. Waggel responded that she would not be repeating PGY2 and that having to

repeat Dr. Collins’ course would be the sole reason for her being held back. Exh. I (Collins.

Decl.)¶ 47.

       676.    On November 19, 2015 at 9:24 p.m., Dr. Collins emailed Dr. Catapano reporting

she had sent an email to Dr. Waggel suggesting she repeat Dr. Collins’s Psychodynamics course

and they had then talked on the phone. Exh. A (Catapano Decl.) ¶ 630; see also Exhibit 153

thereto, Email Dr. Collins to Dr. Catapano.

       677.    Dr. Collins reported that Dr. Waggel was stating that “she is not repeating the 2nd

year and that if she has to repeat my course it will hold her back.” Exh. A (Catapano Decl.),

Exhibit 153 thereto.




                                              132
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 170 of 221



       678.    Dr. Collins stated further, “(I feel in the middle of something that perhaps I

shouldn’t be.) Optimally I think she should repeat the course however if you think that getting

her a supervisor to remediate the course i [sic] sufficient, I will ask Rosa if she will do that. I will

call you tomorrow – just wanted to give you a heads up.” Id.

       679.    At 10:00 p.m., Dr. Waggel emailed Dr. Catapano stating that in the last feedback

from Dr. Collins she had been told she would be assigned a supervisor soon and said she had not

heard otherwise from Dr. Collins until about an hour ago. Exh. A (Catapano Decl.) ¶ 633; see

also Exhibit 154 thereto, Email dated November 19, 2015 at 10:00 p.m., Dr. Waggel to Dr.

Catapano, et al.

       680.    Dr. Waggel said she had asked Dr. Collins what had changed and Dr. Collins had

stated she did not know if Dr. Waggel “was going to be in class and was upset that I did not

inform her of my recent absences and I also missed class prior.” Exh. A (Catapano Decl.),

Exhibit 154 thereto.

       681.    Dr. Waggel went on to state that she hoped it could be explained that her

absence was FMLA time and her more recent one was “very complicated.” Id.

       682.    Dr. Waggel also claimed her understanding was that the need to repeat this class

would result in her “going on technically as a PGY3 but redo the rotations of PGY2,” she wanted

to know if this was correct, and hoped very much this could be sorted out. Id.

       683.    Dr. Waggel made this contention despite the fact that the November 19 Letter of

Deficiency that she and Dr. Catapano had discussed earlier that afternoon stated explicitly that

Dr. Waggel would not be promoted to the PGY3 year for the reasons stated in the letter – her

conduct during the August 25 call shift involving deficiencies in Patient Care, Interpersonal




                                             133
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 171 of 221



Communications Skills, and Systems-Based Practice with ongoing need for “buddy call” and

then attending physician supervision for her on call shifts. Exh. A (Catapano Decl.) ¶ 637.

       684.    Dr. Catapano specifically discussed that with Dr. Waggel that afternoon and had

made it very clear that decision had been made. Exh. A (Catapano Decl.) ¶ 638.

       685.    Further, Dr. Waggel had received written feedback from Dr. Collins telling Dr.

Waggel that she did not understand psychodynamic concepts. Exh. A (Catapano Decl.) ¶ 639.

       686.    It was not truthful for Dr. Waggel to tell Dr. Collins that she was going to be

promoted to PGY3. Exh. A (Catapano Decl.) ¶ 640.

       687.    There was no discussion with Dr. Waggel that she would be “going on technically

as a PGY3” – she had been told she would not be promoted to PGY3. Exh. A (Catapano Decl.) ¶

643.

       688.    It was not truthful for Dr. Waggel to tell Dr. Collins that if Dr. Waggel had to

repeat Dr. Collins’ course it would hold her back. Exh. A (Catapano Decl.) ¶ 641.

       689.    Dr. Waggel continued to take the position that FMLA leave was a substitute for

obtaining required medical knowledge and training. Exh. A (Catapano Decl.) ¶ 642.

       690.    On November 20, Dr. Catapano spoke with Dr. Collins about the fact that a

decision had been made for reasons related to Dr. Waggel’s lack of preparedness for independent

call duty and general failure to meet Milestones that she would not be promoted to PGY3 and it

would make sense for Dr. Waggel to repeat the Psychodynamics course to be sure she learned

the material. Exh. A (Catapano Decl.) ¶ 647.

       691.    Dr. Collins then emailed Dr. Waggel to let her know that the decision had been

made that she would be required to repeat the course the following year and directed her to

contact Dr. Catapano with any further questions. Exh. I (Collins Decl.) ¶ 49.



                                           134
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 172 of 221



       692.    On November 20, in response to a previous earlier assertion by Dr. Waggel that

an attending at Inova Fairfax, Dr. Aditi Malik had made statements to two other residents

indicating that Dr. Malik had seen an evaluation Dr. Waggel had submitted on Dr. Malik and Dr.

Waggel had actually reported to Dr. Catapano that Dr. Malik had stated that Dr. Waggel’s

evaluation was the only negative evaluation she had received, Dr. Berger sent an email

confirming that the evaluations remained confidential and that Dr. Waggel had actually never

submitted an evaluation of Dr. Malik. Exh. A (Catapano Decl.) ¶ 649; see also Exhibit 157

thereto, Email dated November 20, 2015 at 5:07 p.m., Dr. Berger to Dr. Waggel, et al.

       693.    On November 25, 2015, Dr. Catapano advised Dr. Waggel by email it was

definite that she would not be ready to progress to PGY3 on July 1, 2016, as stated in the Letter

of Deficiency of November 19 (and as had been stated in the earlier version of the letter, dated

November 11, which had been given to her previously). Exh. A (Catapano Decl.) ¶ 652; see also

Exhibit 151 thereto, Email dated November 25, 2015 at 10:34 a.m., Dr. Catapano to Dr. Waggel.

       694.    Dr. Catapano also noted that she had received an email from Dr. Collins stating

that she would have to retake that course. Exh. A (Catapano Decl.) ¶ 652; Exhibit 151 thereto.

       695.    Dr. Catapano then pointed out that she did not know if Dr. Waggel had received

anything in writing from Dr. Griffith, but based on her communication with him, it was her

understanding was Dr. Waggel would need to retake that course as well. Id.

       696.    Dr. Catapano agreed that she would work on a system for her absences that would

not include last minute absences, which would remain her responsibility, that she would work on

that and they would talk again the following week. Id.

       697.     At 11:20 a.m., on November 20, Dr. Waggel sent an email to Dr. Waggel and Dr.

Griffith, purporting to set forth her understanding of the conversation she had with Dr. Griffith in



                                            135
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 173 of 221



his office on November 19 when he had told her clearly that she would have to retake at least the

two segments of the Neurosciences course she had failed. Exh. A (Catapano Decl.) ¶ 656; see

also Exhibit 158 thereto.

        698. In the email, Dr. Waggel stated:

                   After my meeting on Thursday, Nov 19th with Dr. Catapano, I stopped
                   by your office around 5pm and asked if I could make up the previous
                   exams in your neuroscience class. My understanding is that you stated
                   that that was not necessary and that I should focus on doing well on
                   the December exam as it is built on the prior material. As the tests are
                   cumulative, doing well on the December exam would give me the
                   chance to show I went back to build on information from the
                   beginning. Has there been any change to this since we last spoke?

Exhibit N (Griffith Decl.), Exhibit 11 thereto.

       699.    Dr. Griffith responded by email at 4:03 p.m., with a cc to Dr. Catapano stating:


               Stephanie, that is not what I said. I'll clarify and explain & also cc to Dr.
               Catapano so there won't be confusion. The first section of the year-long
               clinical neurosciences seminar provides the basic science foundation not
               only for psychopharmacology, but for much of what you will be taught
               during residency about use of language and relationships in psychotherapy
               in several other seminars. You missed many of those sessions and also
               scored 33 on each of the two examinations, which indicated you did not
               acquire the needed level of knowledge needed to move forward. You need
               to repeat the course next year, which is consistent with what residents
               have been required to do in the past when they did not show evidence of
               having learned the material.

               The fundamental issue is one of accountability to your future patients. You
               need to demonstrate that you have the knowledge and skills needed to
               provide competent and effective care for your future patients. This is why
               it matters that you learn this material. It likely is something you will later
               appreciate for you to re-do the course and learn the material well. It is
               okay for you to take the Dec 17 exam on psychotic disorders and their
               treatment, but that does not mean you should not re-take at last the
               summer section next year and possibly the course as a whole.

               Best wishes,
               Griff

Exh. A (Catapano Decl.) ¶ 657; see also Exhibit 158 thereto.

                                            136
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 174 of 221



       700.      Barely one half hour later, on November 25, 2015 at 4:39 p.m., Dr. Waggel sent a

further email to Dr. Catapano responding to an earlier email of 10:34 a.m. that day stating:

               During our meeting on Thursday Nov, 19 you mentioned I speak with Dr.
               Griffith about my progress in his class. I stopped by his office before leaving
               the MFA and he said that as the exams are cumulative, I can demonstrate my
               neuroscience understanding by doing well on the next exam which is
               December 17. I remember sharing my excitement about this with you before
               leaving the MFA. Has something changed since then?


Exh. A (Catapano Decl.) ¶¶ 658 – 659; see also Exhibit 151 thereto, at p. 500.

       701.      Dr. Waggel further said: “My specific time-sensitive question about Dr. Collin’s

[sic] class is, have I officially failed it despite being notified one week prior that I was passing

and that Dr. Collin’s [sic] has not graded my final paper?” Exh. A (Catapano Decl.) ¶ 660.

       702.      This was false, as at no point did Dr. Collins indicate to Dr. Waggel that she was

‘passing’ the class, or even that her performance was satisfactory in any way. Exh. I (Collins

Decl.) ¶ 37.

       703.      Dr. Waggel had already been told unambiguously that she was required to repeat

Dr. Collins’s course. Exh. A (Catapano Decl.) ¶ 662; see also Exhibit 156 thereto, Email dated

November 20, 2015, Dr. Collins to Dr. Waggel.

       704.      Dr. Catapano had already confirmed in an email earlier that day that Dr. Waggel

would have to repeat Dr. Collins’s course. Exh. A (Catapano Decl.) ¶ 663; see also Email at

10:34 a.m., Dr. Catapano to Dr. Waggel.

       705.      Dr. Waggel had just been told, again, by Dr. Griffith that she would have to repeat

his course. Exh. A (Catapano Decl.) ¶ 664.

       706.      Dr. Catapano responded on November 30, 2015 as follows:

                 Regarding Dr. Griffith's course, what he told me after he spoke to you on
                 November 19, and what he reiterated in his email to you today, is that he

                                              137
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 175 of 221



               is allowing you to take the Dec 17 exam, but because you failed the first
               two exams, you will need to at least retake the first section of his course.
               He will have to decide, after the next exam, whether you will continue in
               his course for the rest of this year.

               Regarding Dr. Collins's course, her email from November 25 states that
               you did not pass her course, and will have to retake it next year. This
               means you will not get a supervisor or therapy patient this year, and
               cannot take Dr. Zinner's course or T-group.

               Just to make sure everything's clear regarding your didactic schedule, for
               the next few weeks you will continue to be in Dr. Griffith's course, and
               continue in the Global Mental Health course.

               Regarding your meeting with Dr. Kels, I understand that you attempted to
               contact her last week, and got a response from her on Wednesday.
               Although you were not able to meet with her within one week I know that
               you made a significant effort and that she got back to you to say she got
               your message. You will not be penalized for the fact that you have not met
               with her yet.

               Please let me know if you have any questions about any of the above.

               Take care

Exh. A (Catapano Decl.) ¶ 665.

       707.    Dr. Waggel attended therapy with Dr. Kecmanovic on December 3, 2015. See

Exh. U at p. 000002.

       708.    On December 3, 2015, Dr. Waggel requested a Review of a Reportable Action

related to her failure of an Introduction to Psychodynamic Theory course taught by Dr. Cheryl

Collins for which she would be required to repeat the course the following year. Exh. B (Berger

Decl.) ¶ 46.

       709.    On December 10, 2015 at 1:03 p.m., Dr. Catapano confirmed by email that Dr.

Waggel would not be “punished” for missing the first session of Dr. Zinner’s class since she had

already been told that she was not allowed to participate. Exh. A (Catapano Decl.) ¶ 666; see

also Exhibit 159 thereto, Email Dr. Catapano to Dr. Waggel.

                                           138
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 176 of 221



       710.     On December 10, 2015, Dr. Waggel received a fourth Letter of Deficiency. Exh.

A (Catapano Decl.) ¶ 667; see also Exhibit 160 thereto.

       711.     The LOD noted the earlier November 19 Letter of Deficiency had informed Dr.

Waggel that based on insufficient competencies in Patient Care, Interpersonal Communication

Skills, and Systems-Based Practice she would not be promoted to the PGYIII year on July 1,

2016. Exh. A (Catapano Decl.) ¶ 668.

       712.     The LOD further noted that Dr. Waggel had not demonstrated sufficient

competency in Dr. Collins’s Psychodynamic Theory course to pass it and to progress to having

an individual psychotherapy patent assigned so she would not move on to Dr. Zinner’s

Psychodynamic Psychotherapy course. Exh. A (Catapano Decl.) ¶ 669.

       713.     The LOD went on to note that Dr. Waggel had received failing grades of 33 on

the first two exams and Dr. Griffith had stated Dr. Waggel had not acquired the needed level of

knowledge to move forward. Exh. A (Catapano Decl.) ¶ 670.

       714.     The LOD further stated that Dr. Waggel would be required to repeat Dr. Collins’s

Psychodynamic Theory course the next year and, if successful, would be assigned a

psychotherapy patient and a supervisor. Exh. A (Catapano Decl.) ¶ 671.

       715.     The LOD further stated that Dr. Waggel would be required to repeat at least the

first part of Dr. Griffith’s course the next year and could continue in the course to take the next

exam in December before Dr. Griffith made a determination whether Dr. Waggel could continue

in the class this year or withdraw and repeat it in its entirety the next year. Exh. A (Catapano

Decl.) ¶ 672.




                                           139
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 177 of 221



       716.    Finally, the LOD set forth other terms and conditions related to the remediation

set forth in the letter and noted that Dr. Waggel had a right of appeal and the time frames within

which to appeal. Exh. A (Catapano Decl.) ¶ 673.

       717.    On December 11, 2015, Dr. Waggel noted an appeal of these decisions and sent

Dr. Catapano a confirming email.

       718.    Upon receiving Dr. Waggel’s request for a review of the Program’s decision,

pursuant to the GME Academic Improvement Policy, Dr. Berger contacted Dr. Anne Cioletti, to

serve as an independent physician reviewer to review Dr. Waggel’s appeal of the decision to

deny her credit for both didactics classes and to delay her promotion to the PGY3 year in July

2016. Exh. B (Berger Decl.) ¶ 48.

       719.    Dr. Cioletti was an Internal Medicine physician at George Washington University

Hospital at the time. She had no connection to the Psychiatry Residency Training Program or Dr.

Waggel. She was chosen precisely because she had no involvement with any of the events

relating to the reportable action and could thus provide a truly independent review. Exh. B

(Berger Decl.) ¶ 49.

       720.    Dr. Berger informed Dr. Waggel that Dr. Cioletti had been assigned to her appeal

on December 11, 2015. Exh. B (Berger Decl.) ¶ 50; see also Exhibit 13 thereto.

       721.    Dr. Waggel attended therapy with Dr. Kecmanovic on December 15, 2015. See

Exh. U at p. 000002.

       722.    The third Clinical Neurosciences exam was given on December 17, 2015. Dr.

Waggel scored 82. Exh. N (Griffith Decl.) ¶ 87; see also Exhibit 13 thereto, a copy of the score

distribution reflecting her grade.




                                           140
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 178 of 221



        723.   On December 23, 2015, Dr. Waggel submitted a formal letter to Dr. Cioletti

requesting a review of a reportable action. See Exhibit Q, Declaration of Anne Cioletti, M.D., ¶

8.

        724.   Dr. Waggel’s letter sought to appeal the LOD from November 11, 2015, (later

amended on November 19, 2015) related to her unsatisfactory performance on a call-shift on

August 25, 2015, and informing her that as a result of the deficiencies noted, and her need for

extra attending supervision on her call shifts, she would not be promoted to the PGY3 year on

July 1, 2016. Exh. Q (Cioletti Decl.) ¶ 9.

        725.   The letter contended: (1) The decision to delay her promotion was inconsistent

with the feedback she had received prior to receiving the LOD, (2) the LOD was allegedly based

on a meeting that had not taken place at the time the letter was written and without her

participation in a Root Cause Analysis meeting (“RCA”) related to the August 25 event, and (3)

the decision to delay her promotion was made without providing her an opportunity to cure in

violation of the GME Academic Improvement Policy. Exh. Q (Cioletti Decl.) ¶ 10.

        726.   In late December 2015, because Dr. Waggel had not made progress in the

remediation plan set forth in her third Letter of Deficiency concerning call duty, a decision was

made that she would be removed from the call pool until there was satisfactory proof of progress

in the remediation. Exh. A (Catapano Decl.) ¶ 675.

        727.   It was expected that Dr. Kels would convey this information to Dr. Waggel and

that Dr. Emejuru would adjust the call schedule to arrange for the remaining residents to provide

coverage for the dates Dr. Waggel would otherwise have been on duty. Exh. A (Catapano Decl.)

¶ 676




                                             141
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 179 of 221



       728.    Unfortunately, Dr. Emejuru sent an email to the other residents concerning the

revised call schedule before Dr. Kels had spoken with Dr. Waggel so Dr. Waggel first learned

about this change from a fellow resident. Exh. A (Catapano Decl.) ¶ 677.

       729.    On December 29, 2015 at 11:17 a.m., Dr. Waggel sent an email to Dr. Catapano,

Dr. Kels, Ms. Anderson and me concerning the fact there had been multiple emails regarding the

change in call shift on which she had not been copied, requesting information why she had been

taken out of the call pool, and why she had found out about this through a classmate. Exh. C

(Emejuru Decl.) ¶ 254; see also Exhibit 73 thereto (Plaintiff Bates 529 – 533, at 529), Email, Dr.

Waggel to Dr. Catapano et al.

       730.    On December 29, 2015 at 12:32 p.m., Dr. Kels emailed Dr. Waggel noting that

Dr. Emejuru had updated the call schedule for January and February and that Dr. Waggel had not

been scheduled for call pending completion of her remediation outlined in the Letter of

Deficiency dated November 19, 2015. Emejuru Decl.), Exhibit 73 thereto at p. 530 – 531.

       731.    Dr. Kels also noted that she had discussed the Letter of Deficiency with Dr.

Waggel during their meeting earlier in the month. Id.

       732.    On December 30, 2015 at 3:46 p.m., Dr. Kels sent Dr. Waggel a further email

concerning Dr. Waggel’s remediation of the November 19 Letter of Deficiency. Exh. C

(Emejuru Dec.); see also Exhibit 74 thereto (Plaintiff Bates 540), Email, Dr. Kels to Dr. Waggel.

       733.    In the email, Dr. Kels further noted that she had met with Dr. Waggel on

December 10 including the specific details of a report that Dr. Waggel was to prepare addressing

management for patient aggression in the inpatient setting and addressing disorganized and

incomplete clinical presentations on call with a template for consistency and also practice

presentations. Exh. C (Emejuru Dec.); Exhibit 74 thereto.



                                           142
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 180 of 221



       734.    Dr. Kels further noted that she and Dr. Catapano would assess Dr. Waggel’s

readiness to return to the call pool based on feedback from Dr. Gandhi who would be working

with her on the remediation plan. Id.

       735.    On December 30, 2015 at 3:51 p.m., Dr. Kels sent a further email to Dr. Waggel

apologizing that the updated call schedule had been distributed before she had received

notification from Dr. Kels concerning the fact she had not been included in the updated call

schedule for January and February. Exh. C (Emejuru Decl.) ¶ 260; see also Exhibit 75 thereto

(Plaintiff Bates 534), Email, Dr. Kels to Dr. Waggel et al.

       736.    In the email, Dr. Kels noted that it was her intention that Dr. Waggel would know

about the change before the updated schedule was posted. Exh. C (Emejuru Decl.)¶ 261.

       737.    While this was a serious mistake, there was no intent to harm Dr. Waggel in any

way. Exh. C (Emejuru Decl.) ¶ 253.

       738.    Dr. Waggel attended therapy with Dr. Kecmanovic on December 29, 2015. See

Exh. U at p. 000002.

       739.    At 7:58 p.m. on January 5, 2016, Dr. Waggel submitted her essay to Dr. Gandhi

in which the third Letter of Deficiency had called upon her to write a “description of

management strategies and alternatives for management of patient aggression in the in-patient

setting.” Exh. A (Catapano Decl.) ¶ 679; see also Exhibit 162 thereto, Email, Dr. Waggel to Dr.

Gandhi.

       740.    On January 5, 2016, Dr. Catapano received a telephone call from Dr. Babak

Sarani, M.D., Director of Trauma and Acute Care Surgery, GW Hospital and GW – MFA, who

was a designated ombudsman for the GW SMHS residency training programs. Exh. A (Catapano




                                            143
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 181 of 221



Decl.) ¶ 680; see also Exhibit 163 thereto, Email memorandum summarizing call dated January

5, 2016 at 2:59 p.m., Dr. Waggel to Dr. Griffith et al.

       741.     The ombudsmen are attending staff physicians who agree to be advocates for

residents in matters where there may be disputes, disagreements, or misunderstandings between a

resident and program administration, hospital administration, or other components of the training

program. Exh. A (Catapano Decl.) ¶ 682.

       742.     Dr. Sarani reported that Dr. Waggel had gone to the ED at the GW Hospital

presenting with panic symptoms and was seen by Dr. Colleen Roche and had told Dr. Roche that

her symptoms had been precipitated by the email about being taken out of the call schedule in

the context of having been provided no information that there were any concerns about her

clinical performance. Dr. Roche advised her to speak to Dr. Sarani as an ombudsman, and when

they met, Dr. Waggel repeated the information to him. Exh. A (Catapano Decl.) ¶ 682.

       743.     Dr. Sarani further said Dr. Waggel had told him she had received no formal

feedback or anything in writing (such as a Letter of Deficiency) letting her know where she

stands and she was anxious about this because she might be held back next year and she did not

know why. Exh. A (Catapano Decl.) ¶ 683.

       744.     Dr. Catapano informed Dr. Sarani that Dr. Waggel had received four Letters of

Deficiency over the last six months and that she was in the process of appealing one of them.

Exh. A (Catapano Decl.) ¶ 684.

       745.     Dr. Catapano also informed Dr. Sarani that Dr. Waggel had had multiple meetings

with me and with Dr. Berger, and in the process of the appeal, the GME office had reviewed all

of the Program’s records and communication with and regarding Dr. Waggel. Exh. A (Catapano

Decl.) ¶ 685.



                                            144
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 182 of 221



       746.    Dr. Sarani stated that his next step would be to confirm this information with

Dean Berger, and if he were satisfied that the Program had followed the appropriate process for

informing Dr. Waggel of her deficiencies, he would drop the matter from his end. Exh. A

(Catapano Decl.) ¶ 686.

       747.    On January 7, 2016, Dr. John Zinner reported an incident involving Dr. Waggel in

which she claimed, despite the fact that her fourth Letter of Deficiency from December 10, 2015

had stated clearly in writing that she would not be allowed to progress to Dr. Zinner’s course,

that Dr. Catapano had told her that it would be left it up to Dr. Zinner to decide whether she

could take his seminar. Exh. A (Catapano Decl.)¶ 687.

       748.    Dr. Catapano corrected Dr. Waggel’s false statement and made clear to Dr. Zinner

that she had not told that to Dr. Waggel and had not indicated in any fashion that Dr. Waggel

would be permitted to take his course. Exh. A (Catapano Decl.) ¶ 688.

       749.    Dr. Waggel not only claimed that Dr. Catapano had told her she could take the

course if Dr. Zinner agreed, which was false, she had also contended that because she was on a

list of attendees for the class that that somehow authorized her to take the course despite all of

the contrary discussion around and leading up to the December 10 Letter of Deficiency. Exh. A

(Catapano Decl.) ¶ 689.

       750.    On January 13, 2016 at 8:33 a.m., Dr. Catapano emailed Dr. Waggel to let her

know that Dr. Gandhi had reviewed the essay she had submitted and was preparing his response

which he would go over with her as soon as it was complete. Exh. A (Catapano Decl.) ¶ 690; see

also Exhibit 165 thereto (Plaintiff Bates 566 – 568, at 566), Email Dr. Catapano to Dr. Waggel.




                                           145
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 183 of 221



       751.    Dr. Waggel thanked Dr. Catapano for her reply and then said she hoped this could

be addressed soon “as I have been trying to complete this assignment for 8 weeks.” Exh. A

(Catapano Decl.), 165 thereto (Plaintiff Bates 566 – 568, at 566)

       752.    Dr. Catapano responded that the situation was being addressed as quickly as

possible, “but, just to be clear, you only handed in the assignment last week.” Id. at 567.

       753.    That same morning, at 9:44 a.m., Dr. Sarani emailed Dr. Waggel concerning an

email he received from Dr. Waggel in which she claimed there had been a two-week delay in

following up on the assignment she had submitted. Exh. A (Catapano Decl.) ¶ 693; see also

Exhibit 165 thereto, Email dated January 13, 2016 Dr. Sarani to Dr. Griffith, Dr. Catapano.

       754.    Dr. Catapano replied that she had already emailed Dr. Waggel earlier that

morning to assure her the assignment was being reviewed and that Dr. Gandhi would meet with

her to discuss it. Exh. A (Catapano Decl.) ¶ 694.

       755.    Dr. Waggel attended therapy with Dr. Kecmanovic on January 12, 2016. See Exh.

U at p. 000002.

       756.    On January 13, 2016, Dr. Waggel sent Dr. Berger an email asking him to add a

note to her appeal file that she received a grade of 82% on her cumulative final in Dr. Griffith’s

Neuroscience class, which was one of the highest grades in the class. Exh. B (Berger Decl.) ¶ 51.

       757.    Dr. Berger forwarded the email immediately to Dr. Griffith to confirm Dr.

Waggel’s assertion. Exh. B (Berger Decl.) ¶ 52; see also Exhibit 15 thereto.

       758.    Dr. Griffith wrote back to Dr. Berger stating: “Jeff, this is not an honest

portrayal.” Exh. N (Griffith Decl.) ¶ 92; see also Exhibit 14 thereto, Email from Dr. Griffith to

Dr. Berger.

       759.    Dr. Griffith then clarified Dr. Waggel’s false statement by adding:



                                            146
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 184 of 221



                   I’ve attached the exam grades for the whole class for you to see
                   where Stephanie’s fits. Stephanie’s grade on the last exam was
                   middle of the class, with all the grades clustered (class average
                   was 80, Stephanie made 82). This was not a cumulative exam,
                   but an exam on a single section of a course -- the third of
                   probably six exams over course [sic] of the year. I have not
                   prevented her from sitting in the class, but think she should re-
                   do the whole course, which we did with a similar analogous
                   situation with a different resident last year.

Exh. N (Griffith Decl.), Exhibit 14 thereto (emphasis added).

       760.    Dr. Waggel attended therapy with Dr. Kecmanovic on January 19, 2016. See Exh.

U at p. 000002.

       761.    On January 20, 2016, the independent physician reviewer, Dr. Cioletti met with

Dr. Berger, Dr. Catapano, Dr. Kels, and Mary Tucker to discuss Dr. Waggel’s appeal. Exh. Q

(Cioletti Decl.) ¶ 11; see also Exhibit 4 thereto, of a summary report of this meeting prepared by

Ms. Tucker.

       762.    Prior to the meeting she had been given the Program’s entire file on Dr. Waggel.

Exh. Q (Cioletti Decl.) ¶ 26.

       763.    She was informed that Dr. Waggel had requested appeal of two decisions: (1) The

denial of credit for two Psychiatry courses, and (2) the decision to delay promotion to PGY3 due

to clinical deficiencies. Exh. Q (Cioletti Decl.) ¶ 12.

       764.    Dr. Berger began the meeting by noting that the GME Academic Improvement

Policy required that a physician independent of the Program provide a neutral review of the facts

surrounding the reportable action to determine whether Dr. Waggel was afforded due process

under University policy. Exh. Q (Cioletti Decl.) ¶ 13.




                                             147
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 185 of 221



       765.    In this regard, due process required that: (1) Dr. Waggel be notified of a

deficiency; (2) Dr. Waggel be given an opportunity to cure the deficiency, and (3) the Program’s

decision was reasonably made. Exh. Q (Cioletti Decl.) ¶ 14.

       766.    During the meeting, Dr. Catapano provided Dr. Cioletti insight into the two

didactics classes that Dr. Waggel failed – Dr. Griffith’s Neuroscience course and Dr. Collins’

Psychodynamic Thought course. Exh. Q (Cioletti Decl.) ¶ 15.

       767.    Dr. Catapano noted that failure of Dr. Griffith’s course did not necessitate

repeating the entire PGY2 year, but failure of Dr. Collins’ course did. Exh. Q (Cioletti Decl.) ¶¶

16 – 17.

       768.    Dr. Catapano advised Dr. Cioletti that departmental policy requires 70%

attendance at didactics sessions over the course of the semester, this was known to the residents,

and that Dr. Waggel failed to meet that standard. Exh. Q (Cioletti Decl.) ¶¶ 18 – 19.

       769.    Dr. Cioletti was also advised of Dr. Waggel’s health issues and that she had a

health condition that required surgery for which she took approved medical leave. Exh. Q

(Cioletti Decl.) ¶ 23.

       770.    Dr. Catapano stated that the Program tried to be supportive of this and offered Dr.

Waggel the opportunity to take extended time off to tend to her health without affecting her

studies, but she declined. Dr. Catapano noted that Dr. Waggel did, however, take approved

medical leave from July 20 to August 3, 2015, FMLA leave from October 26 to October 30,

2015, two weeks leave in May 2015, had been placed on administrative leave for three days in

November 2015, took intermittent days at random for medical appointments, and attended

psychotherapy and had genetic counseling as well. Exh. Q (Cioletti Decl.) ¶ 22.




                                           148
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 186 of 221



       771.    Dr. Waggel’s difficulties in patient care and overall clinical performance were

discussed with Dr. Cioletti. Exh. Q (Cioletti Decl.) ¶ 23.

       772.    Dr. Waggel’s numerous issues with professionalism were covered with Dr.

Cioletti. Exh. Q (Cioletti Decl.) ¶ 24.

       773.    Dr. Catapano also discussed the issues with untruthfulness that Dr. Waggel had

displayed. Exh. Q (Cioletti Decl.) ¶ 25.

       774.    Dr. Catapano stated that despite Dr. Waggel being counseled regarding the

criticisms of her performance on multiple occasions, she did not seem to believe that she had any

problems and believed that all of her evaluations were positive. She thought any criticism of her

was unfair and was very defensive to any feedback. Exh. Q (Cioletti Decl.) ¶26.

       775.    The following day, January 21, 2016, Dr. Waggel met with Dr. Cioletti to discuss

her appeal, along with Dr. Berger and Ms. Tucker. Exh. Q (Cioletti Decl.) ¶ 28.

       776.    The discussion began with the failure of Dr. Griffith’s course in Neuroscience.

Dr. Waggel said that the course requirements did not state that a certain score was needed to pass

the exams, so she did not study to prepare for the exams. Dr. Waggel also said she took one of

the exams following an overnight on-call shift. She felt that if she had taken time to study, she

would have done better on the first two exams. Exh. Q (Cioletti Decl.) ¶ 29.

       777.    Dr. Waggel claimed that she was told by the Residency Coordinator that the exam

scores did not count and she was under the mistaken impression that the final exam was

cumulative. Exhibit Q (Cioletti Decl.) ¶¶ 30 – 31.

       778.    At that point Dr. Berger informed Dr. Waggel that the Program was requiring her

to repeat Dr. Griffith’s course because of the failed exams, but the failure in that one course did

not affect her promotion to the next level of residency. Exhibit Q (Cioletti Decl.) ¶¶ 32.



                                            149
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 187 of 221



       779.    Dr. Waggel told Dr. Cioletti that she that she was under the impression that she

was performing well in Dr. Collins’ class and was surprised to receive an email on November 19,

2015, stating that she had failed the class because she had been told on November 7, that she was

going to be assigned a supervisor for the class, which she believed to be an indicator that a

student was passing the class. Exhibit Q (Cioletti Decl.) ¶ 33.

       780.    Dr. Waggel also contended that the 70% attendance requirement was never

communicated to the students and that several other students also missed several class sessions.

She also contended that despite being prepared and submitting satisfactory work product, Dr.

Collins refused to let her speak in class and refused to grade her final assignment. Exhibit Q

(Cioletti Decl.) ¶ 34.

       781.    They next discussed Dr. Waggel’s performance in patient care. Dr. Cioletti noted

that there were concerns from many of her attendings about her decision-making and patient

care. Dr. Waggel responded that she felt she was fully capable and had not gotten clear feedback.

Exhibit Q (Cioletti Decl.) ¶ 35,

       782.    Dr. Berger then stated that the issues with her performance had been identified in

evaluations over the previous two years and her Milestones were at scores of 1-2 in August 2015,

which is below expected level and taking her off track to advance. Exhibit Q (Cioletti Decl.) ¶

36.

       783.    Dr. Waggel stated that she was under the impression that scores of 1-2 were

appropriate for where she was in the program. Dr. Waggel also stated that she felt she was doing

her part in her remediation, but the program was not helping her. Exhibit Q (Cioletti Decl.) ¶ 37.

       784.    At the end of the meeting Dr. Cioletti asked Dr. Waggel if there were any

extenuating circumstances that she should consider in addition to her medical condition, leaves



                                           150
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 188 of 221



of absence, time off for physician appointments and also asked her if there were any issues

involving drugs or alcohol. Dr. Waggel responded no. Exhibit Q (Cioletti Decl.) ¶ 37.

       785.    On January 20, 2016, Dr. Gandhi completed his review of the essay that Dr.

Waggel had written as part of the remediation plan outlined in the November 19, 2015 LOD, and

provided written and verbal feedback to Dr. Waggel. Exh. A (Catapano Decl.) ¶¶ 700 – 701; see

also Exhibit 169 thereto (GWU 001799 – 001801), Dr. Gandhi’s written feedback.

       786.    Dr. Gandhi’s feedback noted that while the first paragraph reasonably set the tone

for the essay, and the second paragraph was reasonably organized, the remainder of the essay

was deficient in significant respects, but most importantly, it failed to discuss the key issue the

Letter of Deficiency had directed Dr. Waggel to address, i.e., “deficits in management of code

strong on a particular call night – essay should include ways resident could improve personal

approach to agitation management.” Exh. A (Catapano Decl.), Exhibit 169 at p. GWU 001801.

       787.    The essay Dr. Waggel submitted had no discussion of the events of August 25,

her participation in the events, the mistakes she had made, how she could have handled the

situation better, and what she would do to assure she would perform better in future similar

circumstances. Exh. A (Catapano Decl.) ¶ 704.

       788.    On January 21, 2016 at 7:54 a.m., in light of this development, Dr. Catapano

emailed Dr. Waggel that they needed to meet to discuss next steps and that “you will not be put

back in the call schedule right now . . . .” Exh. A (Catapano Decl.) ¶ 705; see also Exhibit 170

thereto (Stephanie Waggel Supp. Prod. [Oct.] 380 – 382 of 466, at 380), Email, Dr. Catapano to

Dr. Waggel.

       789.    Dr. Waggel’s response was to agree to meet that afternoon and to threaten Dr.

Catapano “and the rest of the faculty in the department and hospital administrators” with her law



                                           151
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 189 of 221



firm – “They specialize in resident cases so I have faith that if the psych department doesn’t

come through for me, my law firm certainly will.” Exh. A (Catapano Decl.) ¶ 706; see also

Exhibit 170 thereto at p. 381.

       790.    Dr. Catapano and Dr. Kels met with Dr. Waggel for a half hour at 4:30 p.m. that

day to discuss the essay and Dr. Waggel’s remediation. Dr. Catapano prepared a synopsis of the

meeting, which all parties reviewed and agreed to before the meeting ended. Exh. A (Catapano

Decl.) ¶ 707; see also Exhibit 171 thereto (Plaintiff Bates 686 and GWU 001778), the written

synopsis.

       791.    Coming out of the meeting, Dr. Catapano told Dr. Waggel that she would review

Dr. Gandhi’s comments on her essay with the CCC and get back to her within 10 days regarding

their recommendations. Exh. A (Catapano Decl.) ¶ 708.

       792.    Dr. Waggel attended therapy with Dr. Kecmanovic on January 27, 2016. See Exh.

U at p. 000002.

       793.    On February 1, 2016, Dr. Catapano was informed of a situation in which Dr.

Waggel had refused to turn over a Children’s National Medical Center pager she had carried

while on duty there in December 2015 and was insisting that people go out for drinks with her

before she would turn it over. Exh. A (Catapano Decl.) ¶ 709; see also Exhibit 172 thereto

(GWU 001750 – 001754), Email dated January 31, 2016 at 11:07 a.m., Dr. Emejuru to Dr.

Catapano et al. and attached text messages.

       794.    In late January – early February 2016, given the various issues that had arisen, Dr.

Dyer, as Chair of the CCC, began preparing a summary of Dr. Waggel’s entire residency for the

CCC to use in evaluating her status in the Program and determining the next steps to take in light

of those circumstances. Exh. M (Dyer Decl.) ¶ 82.



                                           152
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 190 of 221



       795.     He reviewed hundreds of pages of documentation related to Dr. Waggel’s tenure.

Exh. M (Dyer Decl.) ¶ 83.

       796.     He then synthesized that material along with the information he had obtained in

his role as Chair of the CCC, his direct interactions with Dr. Waggel, and his interactions with

other faculty and Program personnel into a document entitled “Clinical Competency Committee

Performance Review of Dr. Stephanie Waggel” (the “Performance Review”) dated February 9,

2016. Exh. M (Dyer Decl.) ¶ 84; see also exhibit 11 thereto (GWU 1112 – 1117), the

Performance Review.

       797.     After compiling the summary of all of the events of Dr. Waggel’s residency,

including the Program’s efforts to assist her in remediation, it was Dr. Dyer’s opinion the

Program had exhausted attempts to help Dr. Waggel address these multiple and serious concerns,

that it was not safe to let her see patients independently, that she was not progressing toward

promotion, and therefore her employment and training should be terminated. Exh. M (Dyer

Decl.) ¶ 105.

       798.     Given Dr. Waggel’s pattern of unprofessional conduct, Dr. Catapano drafted a

Notice of Concerns of Unprofessional Conduct, dated February 15, 2016, to be pursued under

the GW Resident Misconduct Policy. Exh. A (Catapano Decl.) ¶ 710; see also Exhibit 173

thereto (GWU 000964 – 000966), a copy of the Notice.

       799.     The Misconduct Notice, dated February 15, 2016, identified four issues of

unprofessional conduct on Dr. Waggel’s part:

                (a)     Lying to Dr. John Zinner about being allowed to take his Psychotherapy

                class after failing the prerequisite class taught by Dr. Collins and being told that

                she could not advance to Dr. Zinner’s class. This was in addition to the lie she



                                            153
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 191 of 221



               told Dr. Berger about her grade in Dr. Griffith’s class being the “highest

               cumulative” grade, lying to the Hospital ombudsman about being removed from

               the call pool without ever having being given any prior feedback or any written

               warning, although the truth was she had received four letters of deficiency, and

               lying to Dr. Collins that failing her course was the only thing holding Dr. Waggel

               back from being promoted [to PGY3 the next July 1].

               (b)     Failing to identify her supervising physicians in the student evaluation

               program, MedHub, despite repeated reminders and directions to do so which had

               resulted in a lack of clinical evaluations.

               (c)     Failing to comply with the academic improvement plan she had been

               given as part of a Letter of Deficiency related to a June 10, 2015 incident where

               she did not show up for a shift in the Emergency Department, and failing to

               complete an annual legally mandated medical clearance exam before the original

               deadline, and even a subsequently extended deadline. The latter events had led to

               a further Letter of Deficiency.

               (d)     Engaging in disruptive behavior such as sending hostile text messages and

               emails to the Program Director and her classmates threatening to “bring down the

               program.”

Exh. N (Griffith Decl.) ¶ 98.

       800.    On February 16, 2016, Dr. Griffith met with Dr. Waggel to discuss the contents of

the Misconduct Notice. He conducted the meeting because Dr. Catapano was out of town at a

conference, and the Chair of the CCC, Dr. Allen Dyer, had recused himself as he had been

involved in drafting the notice. Exh. N (Griffith Decl.) ¶ 99.



                                            154
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 192 of 221



       801.     The point of the meeting was to present Dr. Waggel with the notice, provide an

opportunity for any initial response on her part, and advise her that she had a further right to

respond to the memo and address it to GME – Dr. Berger. Exh. N (Griffith Decl.) ¶ 100.

       802.     Dr. Waggel disagreed with every point in the memo. Exh. N (Griffith Decl.) ¶

101.

       803.     She stated that she thought the letters of deficiency were “fraudulent” (with the

exception of the letter for failing to complete her annual medical clearance on time) but

otherwise the points were all “he said she said” and “gossip.” Exh. N (Griffith Decl.) ¶ 102.

       804.     She attempted to justify her communication to Dr. Berger about her grade in Dr.

Griffith’s class by stating that she said she had received “one of the highest in the class,”

completely ignoring the fact that she had referred to the exam as cumulative. Exh. N (Griffith

Decl.) ¶ 103.

       805.     The other matters discussed during the meeting are summarized in the

memorandum and at the end of the meeting Dr. Griffith again suggested to Dr. Waggel that she

should draft a response to the memo and send it to Dr. Berger. Exh. N (Griffith Decl.) ¶ 104.

       806.     Later in the afternoon of February 16, Ms. Anderson emailed Dr. Waggel a draft

version of the meeting minutes for her review, approval, or edits. Exh. N (Griffith Decl.) ¶ 105;

see also Exhibit 18 thereto, a copy of Ms. Anderson’s notes.

       807.     Dr. Waggel made edits that Dr. Griffith reviewed and accepted and a final draft

was created. Exh. N (Griffith Decl.) ¶ 106.

       808.     Following Dr. Griffith’s February 16, 2016 meeting with Dr. Waggel, Dr. Berger

was notified of the Misconduct Notice and he instituted a Full Inquiry into the events outlined in

the Notice. Exh. N (Griffith Decl.) ¶ 107.



                                              155
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 193 of 221



       809.    Dr. Waggel attended therapy with Dr. Kecmanovic on February 16, 2016. See

Exh. U at p. 000002.

       810.    On February 22, 2016, after a month of reviewing Dr. Waggel’s case, Dr. Cioletti

issued her findings to Dr. Waggel. Exhibit Q (Cioletti Decl.) ¶ 39; see also Exhibit 6 thereto, a

detailed summary of Dr. Cioletti’s review.

       811.    In her report, Dr. Cioletti noted that as the independent physician reviewer, it was

her role to determine not whether the Program made the correct decision in taking the actions

under review, but rather that the decisions were reasonably made. Exh. Q (Cioletti Decl.) ¶ 40.

       812.    Dr. Cioletti noted with regard to Dr. Waggel’s performance in Dr. Griffith’s

Neuroscience class, her scores were significantly lower than the other students in the class on the

first two exams. Exh. Q (Cioletti Decl.) ¶ 41.

       813.    Dr. Cioletti felt that as the exam scores exist as feedback for performance, Dr.

Waggel was aware of her deficiency in the class, and Dr. Waggel stated in her interview that she

knew her grades on the two exams were below expectations. Exh. Q (Cioletti Decl.) ¶ 42.

       814.    She found that in Dr. Collins’ class, records showed that Dr. Waggel attended

approximately 58% of the class sessions. Other students at lowest attended 76 – 82% of the

classes. Exh. Q (Cioletti Decl.) ¶ 43.

       815.    Dr. Cioletti also noted Dr. Waggel’s evaluated work product in Dr. Collin’s

course demonstrated a below average comprehension of the subject material. This was made

clear to Dr. Waggel in a five-page written feedback document provided to her by Dr. Collins.

Exh. Q (Cioletti Decl.) ¶ 44.

       816.    As such, Dr. Cioletti found no appearance of bias in Dr. Collins’ feedback. Exh.

Q (Cioletti Decl.) ¶ 45.



                                             156
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 194 of 221



       817.    Based on those considerations, Dr. Cioletti had no difficulty determining that Dr.

Waggel had not demonstrated the requisite knowledge to have mastered the subject matter and

the decision for the failure of the course was reasonably made. Exh. Q (Cioletti Decl.) ¶ 46.

       818.    With respect to Dr. Waggel’s patient care issues, Dr. Cioletti noted that there were

documented areas of concern in Dr. Waggel’s intern year well before the first formal Letter of

Deficiency. Exh. Q (Cioletti Decl.) ¶ 47.

       819.    Dr. Cioletti noted that she had reviewed the four LODs and the efforts at

remediation and also noted there were many additional ongoing deficiencies documented in

multiple emails in addition to the specific deficiencies raised in the LODs. Exh. Q (Cioletti

Decl.) ¶ 48.

       820.    Dr. Cioletti also found that there were well documented struggles in

professionalism with respect to Dr. Waggel as well. Exh. Q (Cioletti Decl.) ¶ 50.

       821.    She also observed that those issues continued into Dr. Waggel’s PGY II year.

Exh. Q (Cioletti Decl.) ¶ 53.

       822.    Dr. Cioletti took into account the extenuating circumstance related to Dr.

Waggel’s need to get treatment for her medical condition and her medical leave. Dr. Cioletti

stated that she did not identify any other extenuating circumstances in the meeting with her and

did not find any evidence that Dr. Waggel had requested or received any type of accommodation

related to her medical condition. Exh. Q (Cioletti Decl.) ¶ 56.

       823.    Dr. Cioletti felt that it was apparent that the decision to delay Dr. Waggel’s

promotion was made based on concerns about her inability to meet the competencies required of

a resident of her level before advancement and while her missed time was certainly considered

by the program, it was not the driving factor in the decision regarding her need for a prolonged



                                            157
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 195 of 221



residency and that there was genuine concern by the Program regarding Dr. Waggel’s abilities.

Exh. Q (Cioletti Decl.) ¶ 57.

       824.    She also noted that those concerns had been shared with Dr. Waggel through

informal verbal feedback, written evaluations, and the Letters of Deficiency and that as of

August 5, 2015, Dr. Waggel had been made aware that further action, or even termination, was

possible if the articulated issues were not addressed. Exh. Q (Cioletti Decl.) ¶¶ 57 – 58.

       825.    Dr. Cioletti further noted that there were recorded reports of the ACGME required

semi-annual meetings, Dr. Waggel and Dr. Catapano as the Program Director and that the semi-

annual milestones reports to the ACGME noted that Dr. Waggel was rated below the standard for

multiple Milestones her post-graduate year. Exh. Q (Cioletti Decl.) ¶ 60.

       826.    Dr. Cioletti commented that the CCC minutes showed lengthy discussion about

Dr. Waggel. Exh. Q (Cioletti Decl.) ¶ 61.

       827.    For all of those reasons, Dr. Cioletti, the independent physician reviewer,

concluded that the Program was adequately providing oversight of Dr. Waggel and the actions it

took regarding Dr. Waggel were reasonably made. Exh. Q (Cioletti Decl.) ¶¶ 62 – 63.

       828.    She also determined that the Academic Improvement Policy was appropriately

followed. Exh. Q (Cioletti Decl.) ¶ 64.

       829.    Dr. Waggel was notified of Dr. Cioletti’s decision by letter from Dr. Berger on

February 25, 2016. Exh. B (Berger Decl.) ¶ 63; see also Exhibit 20 thereto, Letter, Dr. Berger to

Dr. Waggel.

       830.    Dr. Waggel attended therapy with Dr. Kecmanovic on February 25, 2016. See

Exh. U at p. 000002.




                                            158
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 196 of 221



       831.   On March 1, 2016, a further episode involving occurred in which Dr. Mary

Chappelle, a very experienced and respected psychotherapist, had observed in an interaction

between Dr. Waggel and a patient and family members in a complicated case of a young man

with a serious self-injury requiring involvement of multiple surgical and medical teams. Exh. A

(Catapano Decl.) ¶ 712.

       832.   Dr. Chappelle was asked to be involved in the case to perform beside

psychotherapy. When she and Dr. Waggel were going to the patient’s room together, Dr. Waggel

entered first in a very abrupt manner and spoke to the patient’s mother in an elevated voice with

an abrasive tone. Exh. A (Catapano Decl.) ¶ 713.

       833.   When Dr. Waggel excused herself from the room, the patent’s mother said she

had requested that the psychiatry residents not visit her son anymore. Exh. A (Catapano Decl.) ¶

714.

       834.   Dr. Chappelle reported that Dr. Waggel’s way of interacting with this family at

what Dr. Chappelle considered to be an incredibly vulnerable point in their hospital experience

and lives was a matter of concern. Exh. A (Catapano Decl.) ¶ 715.

       835.   When this situation was brought to the attention of the attending psychiatrist, Dr.

Gandhi, who had recently worked with Dr. Waggel on her December 10 Letter of Deficiency

essay, he decided to make the case “attending only” because he was concerned that Dr. Waggel

could potentially say something damaging to the therapeutic rapport in this delicate case. Exh. A

(Catapano Decl.) ¶ 716.

       836.   On March 9, 2015, Ms. Tucker emailed the LOA Program Administrator, Ms.

Vanlewen advising that Dr. Waggel had sent an email the evening of March 8 stating that she

had been approved for FMLA leave beginning March 9. Exh. O (Vanlewen Decl.) ¶ 21.



                                          159
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 197 of 221



       837.   Ms. Vanlewen responded to Ms. Tucker notifying her that Dr. Waggel had

applied for leave on March 8 to begin the following day, but that her application was still

pending. Exh. O (Vanlewen Decl.) ¶ 22.

       838.   Dr. Waggel’s leave was retroactively approved on March 18, 2016, for the period

March 9 – 16, 2016. Exh. O (Vanlewen Decl.) ¶ 23; see also Exhibit 8 thereto, March 18

approval email.

       839.   Dr. Waggel also applied for and was granted intermittent FMLA leave for the

period March 8, 2016 – September 7, 2016. Exh. O (Vanlewen Decl.) ¶ 24; see also Exhibit 9

thereto, March 18 approval email.

       840.   Intermittent leave is FMLA leave taken in separate blocks of time for a single

illness or injury. It is designed to allow employees a reduced work schedule to deal with a

“serious health condition” that renders the employee unable to perform his or her job. Exh. O

(Vanlewen Decl.) ¶ 25.

       841.   Dr. Waggel was granted leave of 2 times per month for 8 hours per day during the

requested time period. Exh. O (Vanlewen Decl.) ¶ 26.

       842.   Intermittent leave is available to all eligible employees and was available to Dr.

Waggel at all times after she became eligible for FMLA leave on June 16, 2015. Exh. O

(Vanlewen Decl.) ¶ 17.

       843.   Once Dr. Waggel became eligible for leave under the FMLA, every request she

submitted for FMLA leave was granted. Exh. O (Vanlewen Decl.) ¶ 30.

       844.   In total, Dr. Waggel took 11 days FMLA leave during the 2015 – 2016 academic

year. Exh. O (Vanlewen Decl.) ¶ 29; see also Exhibit 10 thereto, LOA summary report of Dr.

Waggel’s leave.



                                         160
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 198 of 221



       845.    On March 9, 2016, Dr. Waggel had a routine post-operative follow-up office visit

with her urologist, Dr. Jarrett, in which he noted that the CT Scan done in October 15, 2015,

showed no evidence of recurrent or residual disease, and the genetic testing showed no evidence

of any genetic abnormality. Exh. H (Jarrett Decl.) ¶ 21.

       846.    Dr. Jarrett concluded the visit by directing Dr. Waggel to come back in October

2016. The entire office visit lasted approximately 15 minutes. Exh. H (Jarrett Decl.) ¶22.

       847.    Dr. Jarrett reported that at no point during the period in or around the March 9,

2016 visit, or at any time for that matter, did he ever have any thought that Dr. Waggel’s cancer

had spread elsewhere in her body. Exh. H (Jarrett Decl.) ¶ 31.

       848.    Likewise Dr. Siegel, Dr. Waggel’s oncologist, reported that he never had any

concern that Dr. Waggel’s cancer had spread, including but not limited to the period February –

March 2016. Exh. J (Siegel Decl.) ¶30.

       849.    Dr. Jarrett agreed with Dr. Siegel’s assessment that the July 20, 2015 surgery was

“curative” of any cancer that Dr. Waggel had. Exh. H (Jarrett Decl.) ¶ 29.

       850.    Dr. Jarrett did not order any further workup (imaging or otherwise) for Dr.

Waggel in the February – March 2016 timeframe and certainly did not order any further workup

in that timeframe out of a concern that her cancer may have spread. Exh. H (Jarrett Decl.) ¶ 32.

       851.    Likewise Dr. Siegel did not order any additional workup during the February –

March 2015 timeframe out of a concern that the cancer had spread, or for any other reason. Exh.

J (Siegel Decl.) ¶ 31.

       852.    There was never any disagreement between Dr. Siegel and Dr. Jarrett regarding

the appropriate workup for Dr. Waggel’s during the February – March 2016 time period, or at

any time before or thereafter. Exh. H (Jarrett Decl.) ¶ 30; Exh. J (Siegel Decl.) ¶29.



                                            161
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 199 of 221



       853.   Dr. Waggel attended therapy with Dr. Kecmanovic on March 10, 2016. See Exh.

U at p. 000002.

       854.   On March 10, email notification was sent to Dr. Richard Simons, the Senior

Associate Dean for M.D. Programs at GW SMHS, that Dr. Waggel wished to appeal the decision

to delay her promotion to PGY III year beyond the end of the 2015-2016 academic school year.

See, Exhibit R, Declaration of Richard Simons, M.D., ¶ 4.

       855.   As the Senior Associate Dean for M.D. Programs, it was Dr. Simons’ role to

determine whether the process set forth in the Academic Improvement Policy was followed with

respect to the way that the decision was made. Exh. R (Simons Decl.) ¶ 4.

       856.   Dr. Simons had no involvement in the operation, management, or administration

of the Program. He was not involved in the medical training of Dr. Waggel in any way Exh. R

(Simons Decl.) ¶ 3.

       857.   The purpose of Dr. Simons’ review was only to determine whether the required

process for delaying promotion under the Academic Improvement Policy was followed. It was

not his role to examine the substance or the merits of the Program’s decision. It was a purely

procedural review and he did not look into whether the Program’s decision was justified. Exh. R

(Simons Decl.) ¶ 5.

       858.   Along with her request for an appeal, Dr. Waggel sent Dr. Simons a 15-page letter

she had prepared to accompany her request. Exh. R (Simons Decl.) ¶ 6.

       859.   Dr. Waggel’s letter acknowledged that the appeal was based on her contention

that Academic Improvement Policy was not followed, however, it did not identify or allege any

deviation from the required process, but instead focused on Dr. Waggel’s allegations of

mistreatment by the Program’s faculty. Exh. R (Simons Decl.) ¶ 7.



                                          162
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 200 of 221



        860.   In addition to Dr. Waggel’s letter, Dr. Simons reviewed the several LODs from

the Program Director, the independent review report prepared by Dr. Anne Cioletti regarding Dr.

Waggel’s appeal of the decisions regarding failure of two courses and non-promotion to PGY3,

the residency evaluations from the Program attending physicians, the documentation from Dr.

Waggel’s semi-annual reviews with the Program Director, and the minutes of the CCC meeting

on October 23, 2015 during which the decision for the course failures and non-promotion was

made. Exh. R (Simons Decl.) ¶ 8.

        861.   On March 14, 2016, Dr. Simons had a 45-minute telephone call with Dr. Waggel,

at which time she stated why she felt the decision not to promote her to PGY3 was unfair and

how she felt mistreated by her program. Exh. R (Simons Decl.) ¶ 9.

        862.   During this conversation, Dr. Waggel did not state or even mention that her

performance in the program was in any way affected by an illness, medical condition, or any

other extenuating circumstances. Exh. R (Simons Decl.) ¶ 10.

        863.   Following the call with Dr. Waggel, Dr. Simons had a 30-minute phone call with

Dr. Catapano, wherein the two discussed the numerous areas of clinical and professional

deficiency Dr. Waggel had exhibited throughout her residency. Exh. R (Simons Decl.) ¶ 11.

        864.   Dr. Simons next met with Dr. Dyer as Chair of the CCC, to discuss the process

that the CCC undertook to reach its decision not to promote Dr. Waggel. Exh. R (Simons Decl.)

¶ 12.

        865.   After conduct those interviews, Dr. Simons determined that the Program did not

follow the procedural guidelines of the Academic Improvement Policy in reaching the decision

that Dr. Waggel would not be promoted to PGY3. He reached this decision because he did not

identify a point in the meeting minutes, or from his conversation with Dr. Dyer, at which the



                                          163
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 201 of 221



CCC had made an actual recommendation to the Program Director, Dr. Catapano, to delay Dr.

Waggel’s promotion. Exh. R (Simons Decl.) ¶ 13.

       866.    The Academic Improvement Policy requires that the Program Director consult

with the CCC before making a decision on non-promotion and the CCC formally recommends

such action. Id.

       867.    Based on his review, Dr. Simons determined that the decision not to promote Dr.

Waggel was not made in accordance with the required procedures and referred the matter back to

the Program with the instruction that the CCC needed to meet and conduct a formal review of

Dr. Waggel’s performance and make a formal recommendation to Dr. Catapano in order to

determine whether Dr. Waggel would be allowed to progress to the next level of training. Exh.

R. (Simons Decl.) ¶ 14.

       868.    Dr. Simons issued a letter to Dr. Waggel on March 25, 2016, with his decision.

Exh. R (Simons Decl.) ¶ 15.

       869.    The letter made clear that he did not review or make a determination on the merits

of the Program Director’s decision. Exh. R (Simons Decl.) ¶ 16.

       870.    He also made clear in the letter that it was still within the CCC’s discretion to

recommend that Dr. Waggel not be promoted to PGY3 after meeting and conducting a formal

evaluation of her performance. Exh. R (Simons Decl.) ¶ 17.

       871.    There was nothing in the letter to suggest that Dr. Simons’ decision was in

anyway a final determination on the merits as to whether the Program Director was justified in

the decision not to promote. Exh. R (Simons Decl.) ¶ 18.

       872.    On March 16, as part of his investigation in the Notice of Unprofessional Conduct

Dr. Waggel had received on February 16, Dr. Berger called Dr. Zinner to discuss the incident



                                          164
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 202 of 221



involving Dr. Waggel in his class on January 7, 2016. Exh. B (Berger Decl.) ¶ 64; see also

Exhibit 21 thereto, a summary of this phone call.

       873.    Dr. Zinner stated that prior to beginning his Psychodynamic Psychotherapy class

that day, he asked Dr. Waggel to leave the classroom because she was not in the class. It was his

understanding that she was not to attend the class because she had failed Dr. Collins’

Introduction to Psychodynamic Theory class the previous semester. Exh. B (Berger Decl.) ¶ 64.

       874.    Dr. Waggel stated that Dr. Catapano had told her that she could stay in the class

as long as Dr. Zinner said that it was okay. Dr. Zinner did not believe Dr. Waggel’s claim to be

truthful and asked her to leave the class. Exh. B (Berger Decl.) ¶ 65.

       875.    Dr. Zinner confirmed with Dr. Catapano after the class that Dr. Waggel had lied

about this and that she was going to be required to take Dr. Collins’ class in the fall of 2016

before she could take his class. Exh. B (Berger Decl.) ¶ 66.

       876.    Dr. Berger also called Dr. Cheryl Collins on March 16, 2016, to discuss Dr.

Waggel’s performance in her class. Exh. B (Berger Decl.) ¶ 68; see also Exhibit 22 thereto, a

brief summary of this phone call.

       877.    Dr. Collins told Dr. Berger that she felt despite her efforts to help Dr. Waggel

learn the material, she did not master enough of the material and that she would need to repeat

the course instead of progressing to the next step of taking Dr. Zinner’s class. Exh. B (Berger

Decl.) ¶ 70.

       878.    Dr. Collins told Dr. Berger that she communicated this to Dr. Waggel, who stated

that if she had to repeat the class she would have to repeat the entire PGY2 year. Exh. B (Berger

Decl.) ¶ 71.




                                            165
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 203 of 221



       879.    Dr. Collins told Dr. Berger that she then followed up with Dr. Catapano about Dr.

Waggel’s claim and learned that Dr. Waggel was incorrect and was going to have to repeat her

PGY II year for several other reasons in addition to her performance in Dr. Collins’ class. Exh. B

(Berger Decl.) ¶ 72.

       880.    On March 17, 2016, Dr. Berger met with Dr. Waggel to discuss his investigation

into the issues identified in the Notice of Unprofessional Conduct. Exh. B (Berger Decl.) ¶ 74.

       881.    He began the meeting by asking Dr. Waggel about her health as she had alluded

to what she called a “life-threatening” situation so he wanted to make sure that she was

physically capable and comfortable meeting with me that day. She stated that she was

comfortable moving forward. Id.

       882.    Dr. Waggel then stated that her doctors thought that her cancer had possibly

spread and that her oncologist and her urologist were disagreeing on what type of workup she

needed as a result. Dr. Berger expressed sympathy and offered to do whatever he could to be

supportive. Exh. B (Berger Decl.) ¶ 75.

       883.    Dr. Berger let Dr. Waggel know that it was his goal to be a support and a mentor

to her, but that it was more difficult to do so because she had retained an attorney and made

multiple comments about taking the program down. Exh. B (Berger Decl.) ¶ 76.

       884.    With regards to Dr. Zinner’s class, Dr. Waggel contended that it was a

misunderstanding. She admitted being told that she could not take the class, but contended that

she asked Dr. Catapano if she could simply sit in and was told that was Dr. Zinner’s decision.

Exh. B (Berger Decl.) ¶ 77.




                                           166
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 204 of 221



       885.    She contended On January 7, she saw her name was on the class sign-in sheet so

she thought she could stay. She only found out later that the sign-in sheet was a mistake. Exh. B

(Berger Decl.) ¶ 78.

       886.    With regards to Dr. Collins’ class, she contended that she had received an email

from Dr. Collins that she had not demonstrated competency in the course to have an individual

patient assigned to her and that she understood that to mean she would have to repeat PGY2

year. Exh. B (Berger Decl.) ¶ 79.

       887.    When Dr. Berger questioned Dr. Waggel about the issue regarding Dr. Griffith’s

class and that she had misled him to believe that the grade on the last final was cumulative, she

responded by saying she told me that she got “one of” the highest grades in the class, but not the

highest. She also contended that she thought the test was cumulative because there were some

questions from the first and second test. Exh. B (Berger Decl.) ¶ 80.

       888.    Dr. Berger found that Dr. Waggel continued her common refrain that she did not

think she had any fault in creating the situation that she was in. She stated the LODs did not

make sense. She alleged that all of her faculty evaluations were good, and as such, she thought

she was doing well in the program. Exh. B (Berger Decl.) ¶ 81.

       889.    Dr. Waggel also noted that she had been reaching out to other programs about a

potential transfer. She was concerned that her chances of transferring would be damaged by the

LODs. Exh. B (Berger Decl.) ¶ 82.

       890.    Dr. Berger agreed to assist her in the transfer process if that was what she wanted

to do. He told her that he would have to speak with Dr. Catapano and other Program about a

recommendation as well. Id.




                                           167
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 205 of 221



       891.    Dr. Berger agreed to help Dr. Waggel in the process of transferring because he

wanted to support her. He did not, however, make any judgment as to whether transferring was a

good decision or the best course of action for Dr. Waggel. Exh. B (Berger Decl.) ¶ 85.

       892.    Dr. Berger concluded the meeting by letting Dr. Waggel know that he would

review everything from his investigation into the Notice of Misconduct and provide his findings

to Dr. Catapano. Exh. B (Berger Decl.) ¶ 83; see also Exhibit 23 there, a summary of the

meeting prepared for Dr. Waggel’s file.

       893.    Without Dr. Berger’s knowledge, Dr. Waggel surreptitiously recorded the March

17, 2016 meeting, Exh. B (Berger Decl.) ¶ 84; see also Exhibit Z, a transcript of the recording.

       894.    As part of his efforts to assist Dr. Waggel in transferring, Dr. Berger spoke to the

Program Director for the Adolescent Psychiatry Program at Carillion Virginia Tech about Dr.

Waggel after getting a release from her attorney to do so. In that conversation he did not mention

the LODs, the Notice of Misconduct, or the community complaints. Exh. B (Berger Decl.) ¶ 86.

       895.    In later discussing the transfer issue, however, Dr. Catapano expressed to Dr.

Berger that she, the Program Director directly responsible for Dr. Waggel’s training, could not

recommend Dr. Waggel to another program because of serious concerns about her truthfulness

and her insight into her deficiencies. Dr. Berger deferred to Dr. Catapano’s judgment on whether

she or the Program would attempt to facilitate a transfer for Dr. Waggel as he was not involved

in Dr. Waggel’s day-to-day training to make a determination on her fitness to continue on in

another program. Exh. B (Berger Decl.) ¶ 87.

       896.    By this point in March 2016, the consensus within the Program was that Dr.

Waggel was not able to provide an appropriate quality of patient care. Exh. N (Griffith Decl.) ¶

109.



                                           168
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 206 of 221



       897.    Dr. Griffith had received reports from multiple attending physicians that they did

not think Dr. Waggel was capable of providing safe patient care and that she represented a

danger to patient safety. Exh. N (Griffith Decl.) ¶ 110.

       898.    This was important as the faculty and residents in the Program are called upon to

attend to some of the most complicated and challenging patients in any psychiatry practice

setting. Exh. N (Griffith Decl.) ¶ 114.

       899.    A not atypical patient presenting to the GW Hospital ED would include a member

of a minority population with a history of military service, Post Traumatic Stress Disorder, other

psychiatric conditions, substance abuse issues, homelessness and inter-current medical illnesses.

Exh. N (Griffith Decl.) ¶ 115.

       900.    For those reasons, as the Chair of the Department, Dr. Griffith made the decision

to remove Dr. Waggel from patient care unless and until the concerns about her professionalism

and patient care abilities could be addressed. Exh. N (Griffith Decl.) ¶ 118.

       901.    On March 17, 2016, Dr. Catapano and Dr. Griffith met with Dr. Waggel to notify

her of this decision. Exh. N (Griffith Decl.) ¶ 119.

       902.    Dr. Griffith informed her that he had made the decision as the Chair of the

Department because it is his responsibility to ensure that faculty and residents can safely provide

patient care. Exh. N (Griffith Decl.) ¶ 120

       903.    Dr. Griffith noted that these matters had been presented to Dr. Waggel in the

Letters of Deficiency and the Misconduct Notice as well as multiple meetings with Dr. Catapano

and various meetings with Dr. Berger and that at least until Dr. Berger had addressed the Notice

of Unprofessional Conduct issues through GME, he believed it was his duty both for patient care




                                              169
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 207 of 221



and for Dr. Waggel’s protection to remove her from patient care duties. Exh. N (Griffith Decl.) ¶

121.

       904.    Dr. Waggel stated that she did not know what the concerns were and Dr. Griffith

pointed out that they had been presented to her in writing. He went on to tell her that her during

the meeting when she kept claiming she did not understand why the action was being taken that

the fact that she still claimed to have no understanding of her deficiencies was a part of the

reason she should be removed from patient care. Exh. N (Griffith Decl.) ¶ 124.

       905.    During the meeting, Dr. Waggel contended that she had consistently been

evaluated by her supervisors at the level of a 3rd or 4th year resident. Dr. Griffith knew that to be

incorrect and told her so. Exh. N (Griffith Decl.) ¶ 125

       906.    Unbeknownst to everyone else in the meeting, Dr. Waggel also surreptitiously

recorded this meeting on her cell phone without their knowledge or consent. Exh. N (Griffith

Decl.) ¶ 127; see also Exhibit AA, a transcript of this secret recording.

       907.    Dr. Waggel attended therapy with Dr. Kecmanovic on March 17, 2016. See Exh.

U at p. 000002.

       908.    Dr. Waggel attended therapy with Dr. Kecmanovic on March 24, 2016. See Exh.

U at p. 000003.

       909.    Dr. Waggel attended therapy with Dr. Kecmanovic on March 31, 2016. See Exh.

U at p. 000003.

       910.    On April 5, 2016, Dr. Catapano provided Dr. Dyer, as head of the CCC, with a

memorandum “to highlight the most concerning issues” that had occurred following a

misconduct memo regarding Dr. Waggel which had been presented by Dr. Griffith as Chair of

the Department, stated that she intended to present her memo at the next CCC meeting, and



                                            170
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 208 of 221



invited my comment regarding the memo. Exh. M (Dyer Decl.) ¶ 110; see also Exhibit 14

thereto a copy of Dr. Catapano’s email and attached memorandum to Dr. Dyer.

       911.   In the memo, Dr. Catapano identified three concerns: (1) Dr. Waggel had to be

removed from a patient’s care on March 1, 2016, because a psychotherapist found her interaction

with the patient and his family to be odd and potentially damaging to them in their vulnerable

circumstances, (2) a continuing pattern of dishonesty involving an episode in which Dr. Waggel

had made multiple untruthful statements and misrepresentations to a number of individuals

regarding her inability to meet with Dr. Berger because she was ostensibly on FMLA leave for

medical reasons, and (3) Dr. Waggel’s continued lack of insight into her deficiencies and lack of

effort to remediate them, most clearly demonstrated in her essay for Dr. Gandhi on patient safety

involving the August 25 on-call shift. Exh. M (Dyer Decl.) ¶ 111.

       912.   On April 8, 2016, the CCC conducted a regularly scheduled meeting to review the

residents in the Program. Present for the meeting were Dr. Catapano (ex officio), Dr. Khin Khin,

Dr. Crone, Dr. Norris, Dr. Dyer, and the Program Coordinator, Victoria Anderson. Exh. M

(Dyer Decl.) ¶ 112; see also Exhibit 15 thereto, official minutes of the April 8, 2016 CCC

meeting.

       913.   The meeting focused on a review of Dr. Waggel’s performance in the Program.

Exh. M (Dyer Decl.) ¶ 113.

       914.   Based on Dr. Waggel’s clear deficiencies and her refusal to acknowledge or

address them, the group felt that it would no longer be possible to remediate Dr. Waggel. Exh.

M (Dyer Decl.) ¶ 118.

       915.   Dr. Khin Khin then moved to recommend to the Program Director that Dr.

Waggel be dismissed from the Program. The motion was seconded and passed unanimously. The



                                          171
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 209 of 221



Program Director attended the meeting ex officio and did not vote on the motion. Exh. M (Dyer

Decl.) ¶ 119.

       916.     Dr. Crone then moved that it was the consensus of the group that Dr. Waggel not

be returned to clinical duties for the remainder of her time in the Program and should have no

further contact with patients. The motion was seconded and passed unanimously, again the

Program Director not voting. Exh. M (Dyer Decl.) ¶ 120.

       917.     The CCC took painstaking effort to review all aspects of Dr. Waggel’s

performance and the issues that she had created. The Committee devoted approximately 1 hour

50 minutes to reviewing and discussing Dr. Waggel at this meeting. This was more than the time

spent reviewing the remainder of the residents in the entire Program. Exh. M (Dyer Decl.) ¶ 121.

       918.     On April 7, 2016, Dr. Berger prepared a letter report to Dr. Waggel and Dr.

Catapano regarding the findings of my investigation into the Notice of Misconduct. Exh. B

(Berger Decl.) ¶ 88; see also Exhibit 24 thereto, a copy of Dr. Berger’s letter.

       919.     In the letter Dr. Berger outlined the steps he took in his review of the Notice of

Misconduct, the materials that were reviewed, and the information that was considered. Id.

       920.     He found that Dr. Waggel’s failures to report her supervisors in MedHub, obtain

health clearance, and comply with the academic improvement plans were evidence of a lack of

professionalism, but did not rise to the level of misconduct. Exh. B (Berger Decl.) ¶ 89.

       921.     He found that the complaints of her neighbor regarding her behavior in her

condominium building did not constitute misconduct in the GW learning environment, but

advised Dr. Waggel of the importance of minding her behavior outside of work as she represents

the Program and the University as a whole. Exh. B (Berger Decl.) ¶ 90.




                                            172
      Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 210 of 221



       922.     Finally, he found that Dr. Waggel’s four instances of misrepresentations

represented misconduct. Likewise her threatening texts and emails misrepresented misconduct.

Exh. B (Berger Decl.) ¶ 91.

       923.     Dr. Berger notified Dr. Waggel that she would be receiving a LOD with an

improvement plan designed to address these behaviors. Exh. B (Berger Decl.) ¶ 92.

       924.     Dr. Waggel attended therapy with Dr. Kecmanovic on April 7, 2016. See Exh. U

at p. 000003.

       925.     Dr. Waggel attended therapy with Dr. Kecmanovic on April 14, 2016. See Exh. U

at p. 000003.

       926.     On April 14, 2016, Dr. Catapano emailed Dr. Waggel to set up a meeting with

herself and Dr. Dyer on April 18 to discuss the recommendations of the CCC. Exh. M (Dyer

Decl.) ¶ 122.

       927.     Dr. Waggel responded and stated that she would like to have her lawyer present

for the meeting. Exh. M (Dyer Decl.) ¶ 123.

       928.     Dr. Catapano agreed to this and advised that counsel for the University would be

present as well. Exh. M (Dyer Decl.) ¶ 124

       929.     The meeting scheduled for April 18, 2016, did not take place. Exh. M (Dyer

Decl.) ¶ 125

       930.     On April 17, 2015, the CCC met to discuss the Milestone evaluations of each

resident. There was a 4-minute discussion of Dr. Waggel to address concerns expressed by one

of her previous supervising physicians at Inova Fairfax Hospital, Dr. Aditi Malik. As the

committee had already made a decision about Dr. Waggel, the conversation was brief. Exh. M

(Dyer Decl.) ¶ 126; see also Exhibit 17 thereto, Minutes of the April 17 CCC meeting.



                                           173
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 211 of 221



        931.    On April 19, 2016, Ms. Vickie Fair, the Assistant Vice President of the Office of

Equal Employment Opportunity and Employment Relations at The George Washington

University, was forwarded an email Dr. Waggel had sent to the Interim Vice President of Human

Resources for GW, Dale McLeod, in which she alleged she was the victim of discrimination by

the University’s Psychiatry Department. Per Mr. McLeod’s directions Dr. Waggel contacted Ms.

Fair directly, and they scheduled a time to meet to discuss her complaints. Exh. P (Fair Decl.) ¶¶

2, 8.

        932.    By April 27, 2016, Dr. Berger had prepared the LOD corresponding to the April 7

report, but the LOD was never provided to Dr. Waggel, because following the April 7 report the

Psychiatry Residency Training Program Clinical Competency Committee met and made a

recommendation to Dr. Catapano that Dr. Waggel be terminated. Exh. B (Berger Decl.) ¶93.

        933.    Because he felt that the judgment of her direct clinical supervisors as to her

remediability and ability to continue in the program superseded his ability to address these

misconduct concerns, Dr. Berger did not oppose the decision of the Program. Exh. B (Berger

Decl.) ¶ 94.

        934.    On April 28, 2016, the Residency Coordinator, Victoria Anderson, emailed Dr.

Waggel and requested that she meet with Dr. Catapano and Dr. Dyer on May 2. Exh. M (Dyer

Decl.) ¶ 127.

        935.    Dr. Waggel again refused to meet without her attorney. Id. (GWU 003041). Exh.

M (Dyer Decl.) ¶

        936.    Because Dr. Waggel refused to meet, on May 2, 2016, Ms. Anderson sent Dr.

Waggel a letter by email and first class mail notifying her of the recommendation of the CCC,

which Dr. Catapano as Program Director had agreed with and decided to accept, so a decision



                                           174
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 212 of 221



had been made for her dismissal from the Program. Exh. M (Dyer Decl.) ¶ 129; see also Exhibit

18 thereto, Email from Ms. Anderson to Dr. Waggel attaching Letter of Dismissal.

       937.    On April 28, 2016, Dr. Waggel met with Vickie Fair of the EEO Office. Prior to

the meeting, Dr. Waggel requested that her lawyer be present for the meeting, but Ms. Fair

refused her request because she did not feel it was appropriate within the University’s review

process. Exh. P (Fair Declaration) ¶ 9.

       938.    During the meeting, Dr. Waggel stated that the administration of the GW

Psychiatry Residency Program began discriminating against her after she had surgery to remove

a cancerous tumor from her kidney in July 2015. Id.

       939.    Dr. Waggel stated that she found out she had a cancerous tumor on her kidney

that required removal in the spring of 2015. She stated that she applied for FMLA leave at that

time, but was deemed ineligible because she had not been employed for a full year. Exh. P (Fair

Decl.) ¶ 10.

       940.    Ms. Fair pointed out to her that she should have and could have come to the EEO

Office and requested time off as an accommodation under the ADA. Id.

       941.    Dr. Waggel went on to say that she had surgery to remove a portion of her kidney

in July 2015, which required her to miss 10 days of work. She contended that once she returned

from medical leave her department discriminated against her by not allowing her to take time off

to attend follow-up medical appointments. Exh. P (Fair Decl.) ¶ 11.

       942.    She stated that she had requested two days off per month, but her department

would not allow her to take the time off because there were “issues” with most or all of the days

she requested. She did not elaborate on what the alleged issues were. Exh. P (Fair Decl.) ¶ 11.




                                           175
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 213 of 221



       943.    Dr. Waggel made this claim despite Dr. Waggel having applied for and been

granted intermittent FMLA leave of two days per month, 8 hours per day for the period March 8,

2016 – September 7, 2016. Exh. O (Vanlewen Decl.) ¶ 24; see also Exhibit 9 thereto.

       944.    Following up on Dr. Waggel’s allegation that she was not allowed to take off time

for a purported disability, Ms. Fair reviewed The EEO Office’s records for anything related to

Dr. Waggel to determine if she had ever sought accommodation under the ADA. Exh. P (Fair

Decl.) ¶ 12.

       945.    Her search did not identify any record of any request of any kind by Dr. Waggel.

There was no record of Dr. Waggel ever seeking an accommodation such as flexible leave or a

modification of her schedule through the EEO Office. There were no requests for time off at all.

Id.

       946.    Likewise, there was no record of Dr. Waggel having ever gone to the EEO Office

to report that she had a disability of any kind. Id.

       947.    Dr. Waggel never sought any protection under the ADA through the EEO Office

at any point during her tenure at GW. Exh. P (Fair Decl.) ¶ 13.

       948.    According to Dr. Waggel’s urologist, at no time after Dr. Waggel’s surgery on

July 20, 2015 and the brief two-week post-operative recovery period followed by return to work

for light duty for another two weeks which allowed Dr. Waggel to return to her Psychiatry

Residency Training Program beginning early August 2015, did her cancer diagnosis and

treatment create any disability or impose any impediment to her pursuit of her further training or

the performance of her duties within the Psychiatry Residency Training Program. Exh. H (Jarrett

Decl.) ¶ 33; see also Exh. J (Siegel Decl.) ¶ 33.




                                             176
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 214 of 221



       949.    There was no adjuvant therapy of any kind was required such as chemotherapy or

radiation therapy, and there were no physical or psychological limitations arising from the

diagnosis and treatment that would have interfered with her training and duties within the

program. Id.

       950.    Dr. Waggel never raised any issues related to her residency training program or

any difficulties she may have been having in the program with her oncologist, Dr. Siegel.

Specifically, Dr. Waggel never raised or discussed that she had any physical, mental, or

emotional problem related to her cancer diagnosis and treatment that was in any way affecting

her performance in the program or for which she needed consideration for an accommodation to

continue participating in her residency training. Exh. J (Siegel Decl.) ¶ 32.

       951.    On May 12, 2016, Dr. Waggel attended a therapy session with Dr. Kecmanovic

where “she reported feeling stronger and indicated that she does not need to come to weekly

sessions any more.” Exh. U at p. 000003.

       952.    On May 15, 2016, Dr. Waggel notified Dr. Berger that she wished to appeal the

decision to dismiss her from the Program. Exh. B (Berger Decl.) ¶ 96.

       953.    Upon receipt of Dr. Waggel’s appeal, Dr. Berger contacted Dr. Raymond Lucas,

an Emergency Medicine physician at George Washington University Hospital, to serve as an

independent physician reviewer. Dr. Lucas had no involvement or connection to the Psychiatry

Department or its Residency Training Program. Exh. B (Berger Decl.) ¶ 97.

       954.    Dr. Berger also alerted Dr. Lucas to Dr. Waggel’s health issues prior to his

review. See Exhibit S, Declaration of Raymond Lucas, M.D., ¶ 6.




                                            177
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 215 of 221



       955.    As the independent reviewer, Dr. Lucas was ultimately tasked with making a

determination whether the resident received notice and an opportunity to cure, and the decision

to take the Reportable Action was reasonably made. Exh. S (Lucas Decl.) ¶ 7.

       956.    Dr. Lucas reviewed Dr. Waggel’s entire resident file, which included but was not

limited to, relevant GME policies on sick leave and academic discipline, four Letters of

Deficiency received by Dr. Waggel, the minutes of the meetings of the Residency Program

Clinical Competency Committee, milestones and evaluations of Dr. Waggel, documentation of

issues arising on some of Dr. Waggel’s call shifts, and all of the documents related to Dr.

Waggel’s multiple appeals. Exh. S (Lucas Decl.) ¶ 8.

       957.    Dr. Lucas also reviewed an appeal letter prepared by Dr. Waggel in which she

disputed each of the points in the Letter of Dismissal and asserted that a breach of protocol

occurred in the decision to dismiss her. Exh. S (Lucas Decl.) ¶ 9.

       958.    Dr. Lucas then met with Dr. Catapano and discussed (1) what feedback the

program administration had received about Dr. Waggel’s performance; (2) whether the specifics

of the negative feedback had been communicated to Dr. Waggel; (3) whether remediation had

been proposed and implemented, and (4) whether any extenuating circumstances existed. Exh. S

(Lucas Decl.) ¶ 10.

       959.    During that meeting, Dr. Catapano advised that Dr. Waggel had struggled in the

program for the entirety of her residency, but her difficulties apparently significantly increased

following her kidney surgery in July 2015. Upon returning from medical leave for the surgery,

Dr. Waggel noted that she would need periodic time off to attend medical appointments. The

program had encouraged her to go to the EEO Office and get an official accommodation for her

schedule needs, but she chose not to. Id.



                                            178
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 216 of 221



       960.    Dr. Lucas next met with Dr. Waggel, along with Dr. Berger and Ms. Tucker, to

discuss her side of the story. Prior to the meeting she asked if her attorney could attend, but Dr.

Lucas declined. Exh. S (Lucas Decl.) ¶ 11.

       961.    Dr. Waggel contended that she was excelling in the program until she got sick and

then the program turned against her. Dr. Lucas attempted to ask her about her understanding of

the many specific instances of alleged misconduct contained in her file, but she was unwilling to

engage on those topics and dismissed them simply as vindictive actions by the faculty. Likewise

she did not wish to discuss the many efforts the program had made to address her issues, but

focused instead solely on what she considered the failures of the Program faculty in facilitating

her remediation. Id.

       962.    Dr. Lucas noted that it became apparent during his meeting with Dr. Waggel that

she was unable to recognize her role in causing the situations that led to her dismissal, and felt

that fault lay entirely with the Program. Id.; see also Exhibit 3 thereto, a summary of the meeting

prepared by Mary Tucker.

       963.    At the conclusion of the meeting, Dr. Lucas asked Dr. Waggel if there was

anyone else that she would like for him to speak with. She did not provide him with any names.

Exh. S (Lucas Decl.) ¶ 13.

       964.    Based upon his review of the file, Dr. Lucas reached the determination that the

decision to dismiss Dr. Waggel from the Psychiatry Residency Program was reasonably made

and should be upheld. I provided my findings to Dr. Berger by letter on July 6, 2016. Dr. Lucas

stated the following regarding his decision:

               It was very evident that Dr. Waggel had significant deficiencies in the
               areas of patient care, medical knowledge, professionalism, and
               interpersonal communication. She also failed two didactics courses.
               Furthermore, despite her contentions to the contrary, she was rated below

                                             179
Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 217 of 221



      expectation in nearly all of her milestone evaluations. She received notice
      of her deficiencies through continued verbal and written feedback from
      multiple sources throughout her training, both during clinical rotations and
      in frequent meetings with Program staff, including the Program Director
      and Associate Director. The amount of formal evaluative feedback she
      received was limited, however, by her failure to input the names of her
      supervising faculty members into the program’s student evaluation system
      as required by her program. Dr. Waggel acknowledged that she had
      received the feedback identified herein.

      Dr. Waggel was given ample opportunity to cure the deficiencies
      identified by her supervisors over the course of her residency. She
      received multiple LODs with remediation plans included therein, she was
      placed on buddy-call for overnight call shifts so that more senior residents
      could help her organize her workflow and provide guidance, she was
      assigned a faculty mentor to assist with professionalism, and she was
      given assignments designed to help her learn how to deal with the types of
      situations in which she was struggling with. Dr. Catapano also worked
      with faculty at Dr. Waggel’s off-campus clinical training rotation sites to
      adjust her schedule and responsibilities so that she would have more
      opportunities for observation and feedback. Finally, despite having failed
      two didactics courses, Dr. Waggel was given the opportunity to repeat that
      portion of her PGY2 year to learn the missed material with the opportunity
      for early promotion to PGY3 year.

      I noted that there were genuine issues with the faculty members meeting
      with Dr. Waggel in a timely fashion to facilitate parts of her remediation
      plans. I pointed out that the program faculty should have done a better job
      in that area. I did not feel, however, that those issues created a barrier to
      Dr. Waggel recognizing and curing the many deficiencies which had been
      clearly presented to her.

      While Dr. Waggel’s health problems were entangled with her clinical
      performance problems, professionalism problems and misconduct, it did
      not appear that they were the source of any bias against her, and they
      certainly did not explain all the facts and circumstances related to her
      behavior and multiple deficiencies that led to the decision for her
      termination from the program. I also believed that the Program had taken
      her health issues seriously and based on the information available had
      made reasonable effort to assist Dr. Waggel and accommodate her needs
      to the extent that it could. Dr. Waggel complained of not being allowed to
      take medical leave to attend follow-up appointments, but a review of the
      file did not identify a single instance where she was prevented from
      attending a medical appointment because of the demands of the program.
      She was given information on how to take FMLA leave and did so
      successfully. Given the demands of scheduling in a residency program, the

                                  180
Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 218 of 221



      Program faculty asked her to give timely advance notice of the need to
      attend medical appointments. I found that request to be reasonable and
      easy to be complied with. There also seemed to be significant problems
      with Dr. Waggel unexpectedly calling in sick and/or not showing up for
      work without ensuring that she got proper coverage per the Program’s
      protocol. Dr. Waggel was also provided information on how to seek
      accommodations under the ADA, but opted to forego that option.
      Ultimately, Dr. Waggel’s health issues were an extenuating circumstance,
      but were not a contributing factor nor an excuse or explanation regarding
      her difficulties in the program. These issues did not cause the multiple
      instances of lack of professionalism, failure of didactics courses,
      significant deficiencies in the areas of patient care, medical knowledge,
      interpersonal communication, and patient safety, and lack of insight into
      her deficiencies and failure to remediate.

      From my review, it was clear to me that Dr. Waggel lacked the insight
      necessary to properly participate in the remediation process that would
      have been necessary to reinstate her to the program. She did not exhibit
      any insight into any of the very clear issues she had with professionalism,
      patient care, medical knowledge, and communication. For whatever
      reason, Dr. Waggel believed that the program was ‘out to get her’ because
      she had an illness and required accommodation in going to medical
      appointments. From my review of her file, I did not find evidence to
      support this claim. The offer to Dr. Waggel to repeat her PGY2 year was a
      genuine offer designed to help Dr. Waggel move past the issues that had
      plagued her for the entirety of her residency and try to move forward in
      the program. I believe that it would have truly been her best chance to
      attempt to remediate at least some of her deficiencies and ultimately
      succeed in her training. Unfortunately, Dr. Waggel saw this offer as
      punishment and refused to accept it. She then continued in behaviors that
      were unprofessional and a decision was ultimately made by the CCC
      recommending her dismissal.

      Based on the ample evidence of significant deficiencies in multiple key
      areas, the well-documented issues with performance throughout her
      residency, 5 LODs (something I have never seen by one resident in one
      academic year in my more than 20-year career as a medical educator), her
      documented issues with truthfulness, and her skeptical and oppositional
      attitude towards the program, the Psychiatry Residency Program Clinical
      Competency Committee (“CCC”) had sufficient reason to recommend Dr.
      Waggel’s dismissal to the program director. I was satisfied by the April 8,
      2016 meeting minutes that the CCC had given ample consideration to all
      issues related to Dr. Waggel’s performance to make that recommendation.
      As such, the result of my review was the decision to dismiss was to be
      upheld.



                                  181
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 219 of 221



Exh. S (Lucas Decl.) ¶ 15; see also Exhibit 1 thereto, Letter dated July 6, 2016, Dr. Lucas to Dr.

Berger.

          965.   Dr. Waggel was scheduled for a visit with her oncologist, Dr. Siegel, on May 23,

2016, at 11:30 a.m., but she did not show up. Exh. J (Siegel Decl.) ¶ 15.

          966.   Dr. Berger provided Dr. Waggel with notice of Dr. Lucas’ decision upholding the

decision to dismiss her from the Program by letter dated July 13, 2016. ¶ Exh. B (Berger Decl.) ¶

100; see also Exhibit 27 thereto, Letter from Dr. Berger to Dr. Waggel.

          967.   On July 22, 2016, Dr. Richard Simons again received noticed of Dr. Waggel’s

request for a review of the decision to dismiss her from the Program. Exh. R. (Simons Decl.)¶20.

          968.   His role was once again to determine whether the procedural guidelines of the

Academic Improvement Policy had been followed. Exh. R (Simons Decl.) ¶ 21.

          969.   Along with the notice of appeal, Dr. Waggel submitted a written submission. As

with her earlier letter of appeal, the written submission failed to identify a procedural deficiency

on the Program’s part and simply outlined the ways in which she felt that she had been treated

unfairly. Exh. R (Simons Decl.) ¶ 22.

          970.   Dr. Simons reviewed Dr. Waggel’s appeal by examining copies of Dr. Waggel’s

evaluations, the numerous Letters of Deficiency Dr. Waggel had received, the minutes from the

April 8, 2016 meeting of the CCC during which her dismissal was discussed and a formal vote

was taken (Dr. Catapano not participating as she attended the meeting ex officio) to recommend

dismissal to the Program Director, and documentation of events related to Dr. Waggel’s

performance issues. Exh. R (Simons Decl.) ¶ 23.

          971.   Dr. Simons also reviewed Dr. Lucas’ report. Exh. R (Simons Decl.) ¶ 25.




                                            182
       Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 220 of 221



       972.    Dr. Simons noted that the materials he was provided and reviewed clearly showed

that Dr. Waggel had received feedback on numerous occasions regarding unsatisfactory

performance issues both verbally and in writing. Exh. R (Simons Decl.) ¶ 26.

       973.    He further noted that the April 8, 2016 CCC meeting minutes outlined numerous

performance and misconduct issues and there was a unanimous decision to recommend to the

Program Director that Dr. Waggel be dismissed from the program. Exh. R (Simons Decl.) ¶ 28.

       974.    Dr. Simons further noted that, per the Academic Improvement Policy, Dr. Waggel

had received a formal review by an experienced and highly respected faculty member who had

determined that the decision to dismiss was reasonably made and that on July 13, 2016, Dr.

Waggel had received notification of Dr. Lucas’ decision. Exh. R (Simons Decl.) ¶ 30.

       975.    Based on his review, Dr. Simons’ concluded that both the program and the GME

office had followed appropriate procedures outlined by the Academic Improvement Policy for

the dismissal of Dr. Waggel from the program and therefore decided to uphold the program’s

decision to dismiss Dr. Waggel from the program. Exh. R (Simons Decl.) ¶ 31.

       976.    Dr. Waggel was provided with a report on Dr. Lucas’ findings in writing on

August 10, 2016. Exh. R (Simons Decl.) ¶ 32; see also Exhibit 5 thereto (GWU 2461 – 2462),

Dr. Simon’s letter.

       977.    On August 12, 201, Dr. Berger sent Dr. Waggel a letter formally terminating her

from the Program effective August 10, 2016. Exh. B (Berger Decl.) ¶ 127.




                                          183
        Case 1:16-cv-01412-CKK Document 34 Filed 01/02/18 Page 221 of 221



Dated: January 2, 2018                       Respectfully submitted,


                                             JACKSON & CAMPBELL, P.C.

                                             _/s/ Nicholas S. McConnell
                                             Nicholas S. McConnell (# 167742)
                                             Jackson & Campbell, P.C.
                                                     th
                                             1120 20 Street, N.W., Suite 300 South
                                             Washington, D.C. 20036
                                             (T) (202) 457-1600
                                             (F) (202) 457-1678
                                             nmcconnell@jackscamp.com
                                             Counsel for Defendant




                            CERTIFICATE OF SERVICE
        I hereby certify that a copy of the foregoing was served by the court’s electronic filing

system [OR: by first class mail, postage prepaid, and via email] on this 2nd day of January, 2018,

upon:

                              Jason H. Ehrenberg, Esq.
                              Peter K. Tompa, Esq.
                              Bailey & Ehrenberg PLLC
                              1015 18th Street, N.W.
                              Suite 204
                              Washington, D.C. 20036
                              jhe@becounsel.com
                              pkt@becounsel.com
                              Counsel for Plaintiff

                                              /s/ Nicholas S. McConnell




                                           184
